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                                                                   FILED b             D.C.

                           UN ITED STATES DISTRICT COURT            FEB 12 2218
                           SOUTHERN DISTRICT 0F FLORIDA
                                                                    STEVEN M LAR#MORE
                                                                     CL
                                                                      sED.
                                                                       .
                                                                         RKofS,yè2,D-!sTXMI
                                                                                      MI cT.


  DR.KURT M ARIN,M AURICE SYM ONETTE,ALFRED DAVIS
  CLYDEMCPHATTER,JAMESBUCKMAN AND JERIMIAH PARHAM
  Plaintiffs

                                             CNSE:



  DADE COUNTY,DA DE COUNTY EVICTION
  SHERIFFS DEPT,DADE COUNTY CLERK 0F
  COURT,CITY 0F NORTH M IAM IBEA CH,
  N ORTH M IAM IBEACH POLICE DEPT,THE
  CITY 0F NORTH M IAM IBEACH BUILDING
  AND ZON IN G DEPT,W ASHINGTON M UTUAL
  BANK F.A .,W ASHINGTON M UTUAL BANK,
  JPMORGAN CHASE BANK,MIAMI,JUDGE
  BARBAM A RECES,SHAPIRO FISHM AN and
  GAC'E LAW FIRM .

  Defendantts)
                                   /

                              COM PLAINT



                                1).VIOLATION 0FSECGAAPRULES
                                2).VIOLATION 0FTHE 1964CIVILRIGHTS
                                   ACTAND EQUALPROTECTION CLAUSE OF
                                  THE 14TH AM ENDM ENTOF THE
                                  AM EN DM ENT 0F THE US CON STITUTION.
                                3).RESPA AND TILA VIOLATIONS
                                4).Vl0LATI0N 0FBANKRUPTCY
                                SI.VIOLATION 0F7TH& 8THAMENDMENT
                                6I.VIOLATION 0FOBAMA'S PROTECTING
                                  TENANTS AT FORECLOSURE ACT OF 2009
                                '
                                ZI.FIIAUD AND CONCEALMENT
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                                  8I.W RONGFULFORECLOSUREIN VIOLATION
                                     0F FLORIDA'S BILL 87
                                  9).N0 STANDINGT0 FORECIOSE
                                 10).FIRST CAUSE 0FACTION AGAINST CLERK
                                     F0R DESTRUYING FILE IN VIOLATION 0F
                                     FL.STATUE 119.11(4)
                                  11).VI0LATI0hl0lrDUEPROCESSSERVICE
                                    AND DEPRIVATION 0F RIGHTS AND
                                    PERJURY GENERALLY UNDER COLOR
                                    LAW BY VIOLATIN G 0F FLA.LAW BY
                                    VIOLATING 0F FLA.STAT.82 & 83.
               1

  Jury trialrequested

      IN DEX
  PARTIESAND JURISDITION
  JURY TRIAL REQUESTED
  DEM AND CLAIM 0F RELIEF
  FACTS

  FIRST CAUSE O F A CTIO N-VIOLATION 0F SEC GM P/RULES
  SECOND CAUSE OFACTION-VIOLATION 0FTHE 1964 CIVILRIGHTSACT ANDEQUAL
  PROTECTION CLAUSE OF TH E 14TH AM ENDM ENT 0F THEA M EN DM ENT 0F THE U.S.
  CONSTITUTION IN AN EFFORT T0 KEEP BLACK PEOPLE OUTOF A W HITE NIGHBORHOOD
  THIRD CAUSEOFACTION-RESPAAND TILA VIOLATIONS:15 U.S.C.A.jj1640
  (a)(1)(2)(a)(i)
  FOURTH CAUSE OFACTION-VIOLATION 0FBANKRUPTCY 11U.S.Codej362(a)
  (1)(2)(3)(4)(54(6)(7(8)
  FIFTH CAUSE O F A CTIO N-VIOLATION 0F 7TH AND 8T'IAM EN DM ENT AN D
  DEPRIVATION 0F RIGHTS AND PERJURY GENEM LLY UNDER COLOR OF LAW BY
  VIOLATION 0 F FLORIDA LAW BY VIOLATING 0F FLORIDA STATUE 82 & 83.
  SIXTH CAUSE OFACTION-ISVIOLATION 0F OBAMAS PROTECTING TENANTSAT
  FORCLOSURE ACT 0F 2009.
  SEVENTH CAUSEOFACTION-FM UD AND C0NCEALMENT:475.25 (b)(d1)
  EIGH TH CAUSE OF A CTIO N-W RON GFUL FORECLOSURE IS IN VIOLATION 0F
  HOUSE RULE 87
  N INETH CAUSE OF ACTIO N-NO STANDING T0 FORECLOSE IN VIOLATION 0F
  FED ERAL 3.1 STANDING RULE
  TENTH CAUSEOFACTION-ISVIOLATION 0F FLOFIDA STATUE119.11(4)
  ELEVENTH CAUSE OFACTION-VIOLATION 0F DUE PROCESS 0F SERVICE :FLA.RULES
  OFCIVILPROCEEDURE 1.070(A)(b)(c)(d)(e)(M(g)(h)(i)

                                                                               2
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  PARTIESAND JURISDITION



  1).PlaintiffKurtMarin isaresidentofMiamiDadeCounty and the priorownerof the single
     Family residence located at3320 NE 165thst Mlam i,Dade County,in the state ofFlorida
     the legaldescription is:Eastern Shores 1 Addn PB 65-39 lot 8 BLK 6 lot size Irregular or
     20413 4142 05 2002 1 coc 25872-3682 08 2007 4 or 28094-4012- 0809-11 parcel
     Identification Num ber:07-2210-001-0080

  2).DefendantJPM has operationsin MiamiDade County Florida And otherstates Defendant
     JPM a New York Corporation License to do Business in Florida,is in Aquire of certain
     assets and liabilities ofW AMU from the FederalDeposit lnsurance corporation (''FDIC)
     acting as receiver and chase claim s to be the, Note Holder beneficiary or servicer for
     investmenttrustOfaloan W hich istheSubjectofthiscomplaintPlaintiffAlfred Davisisa
     residentofDade County and priortenantofsald property at3320 NE 165th st.Miam iFla.
     33160.Jerimiah Parham isa ResidentofDadeCounty and a PriorTenantofsaid property
     at320 NE 165thst.M iam iFla.33160.

  3).PlaintiffClydeMcphatterisaresidentofDadecountyand priorownerProperty at3320 NE
     165th street M iam i Fl. 33160. Defendant North M iam i Beach police Dept. is located at:
     16901 N.E.19th Ave.North M iam iBeach.Defendant North M iam i8 Beach Building and
     Zoning Dept. is Located at 17050 N E 19th Ave. North M iam i Beach Fl. 33162 and is a
     Governm entalOrganization.

 4).PlaintiffMaurice Symonette is a residentofMiamiDade County Florida and Also prior
    ownerofsaid property at3320NE 165thstMiami,Fl.33160.4Al.plaintiffJamesBuckman
     isa residentofMiam iDade County Floridaand &nd a priortenantofsaid property at3320
     N E 165thstM iam i,t1.33160.

 5).Shapiro Fishman& Gach'eLLP,areAttorneysforJpMorgan ChaseBankand alsoW ashington
     M utualBank FA,and W ashington M utualBank and they have a office that
     Islocated at24424 North FederalHW Y.Suite360 BocaRaton Floridan33431



               JURY TRIALDEMANDED


 6).Plantiffrequestsajurytrialon allissues


            D EM A ND CLAIM O F RELIEF


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  7).Plaintiff's brings this action.against JPM and W ashington MutualBankfor S.E.C.Fraud,
     Violation of Bankruptcy Stay and W rongful Foreclosure by fraudulently selling Plaintiffs
     property at a Foreclosure sale know ing that the./ don't have standing and know ing that
     they sold the NOTE on the Stock m arket and attem pting to Evict Plaintiffs to deprive
     Plaintiff's oftheir residence W ithoutany law fulclaim to the Property and againstthe Clerk
     of the Court for assitsting JPM'S fraud by deliberately and illegally Destroying the File
     andtheCOPY oftheN0TE thatJPM Filed to hide JPM'Sfraud in Violation ofFloridaStatue
      119.11(4) andforClerkoftheCourtsViolationofBankruptcyStay.


                                         FACTS


     ThenJPM ORGAN hereinaftercalled (JPMs)Bankused SEC Fraud bysellingNOTEon
      the M arket thereby getting paid off for the NOTE and then illegally foreclosing and
     trying to Quickly Evictusto hide theirSEC FRAUD using discrim ination and racism
      w ith the excuse of keeping Blacks out of a W hite neighborhood to illegally evict us
      because JPM Rep.Barry Gam elsaid we are NIGGERS w ho w illtake the property vaîue
     down.Three daysbeforethe racistincident,Barry Gam ela realtorwho claimed heworked with
     JPM Chase Bank drove by 3320 N.E.165th St.m y i
                                                   nouse,and said to M aurice, AI,Clyde and
     Jam es ''you Niggers are an insult,NIGGERS bring dow n the property value,your m aking it hard
     for usto sellproperty here''Gam elalso said ''yourbank has foreclosed on you and I'm going to
     get you NIGGERS out, because NIGGERS bring the property value dow n.' Then on or about
     01/27/11 Barry Gamelwas out watching as representatives of thecity of MiamiZoning
      Departm ent accom panied by 11 police officers w ith rifles and guns out,bullet proof vest on,
      ram m ed ourfrontdoorat3320 N .E.165thSt.N.M iam iBeach FL.33160 afterpolice hitthe door
     w hicb M aurice opened and police pointed guns at M aurice saying get on the ground,w ent in
     the house and the yacht w ithout a w arrant,gotthq yachtw orkqrs outthrough the house and
      outofthe house ordered them dow n on the ground handcuffed them checked som e ofour lD's
     w ithout any probable cause,w hile Gam elIaughed w ith zoning person GillRosenkaufand High
      Fiveing police w hile neighbors w atched.Iasked the police sergeant w hy,he said the bank has
                                                                                                  4
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       foreclosed on this house and he said w e are notsupposed to be in the house w ith ow nerClyde
       M cphatter,M aurice Sym onette said the house isin bankruptcy, see exb.(11 lneverforeclosed,
      no Judge ordered eviction and only a Sheriff not a regular police can evict. Then the sergeant
      said w e'lltalk to the Building Departm ent person GillRosenkauf w ho w e saw talking to Barry
      Gamelbefore police raided the house. Rosenkauf inform ed Plaintiffs that w e had to vacate the
      prem ise because the house was a dangerand uninhabitable since Plaintiffs did not receive city
      w ater.Plaintiffs hom e w as using w ellw ater, Iike other hom es in the com m unity are already
      doing but no law has been brought up       Against people having w ell        w ater but the
                                                                                                       y are
      chargingusa$250.00fineeverydayfornotusingCitywaterseeexhibit



  # (12).Rosenkaufordered Plaintiffstovacatethepropertywithoutprobable cause. After

  asking forthe City Hallrule in w riting, Rosenkaufstated Chapter8,Section 5 on the back of

  hiscity planning businesscard. He then posted a red notice on the doorto condem n the

  propertytsee exhibit13.1.The police searchedthe residenceand ordered aIItheoccupants

 to Ieave the hom e.The Police then Iocked the doors. Plaintiffs w ere forced to leave their

 Vehicles and w alk on foot.-rhe next day, Gamelwas seen atthe residence with anothechaseBank
 realtor.They w ere changing the locks on the doors. AnotherChase Bank person w as seen rem oving
 property from the residence Ioading it on the Chase Bank Realtor's truck.plaintiffs approached the
 JPM Bank Rep.and inquired as to w here they w ere going w ith Plaintiffs property. They said they
 w ere instructed to rem ove the property by JPM Bank. They show ed docum ents that show ed the
 banks nam e.M aurice Sym onette asked him forhis card. He said hold on a second and w entto the
 truckto getanothercard,because something waswritten on hiscard. Hejumped into thetruckand
 sped off.Defendants stole over $600,000.00 ofequipment The next day after the Iocks w ere
                                                                ,


 changed Florida Powerand Light(FPL)wasobserved ttqù-ningoffthe poweratthe ResidenceTheir          .


 reason w as that the North M iam iBeach Zoning departm ent ordered FPL To cut the pow erto the
 because the house was a ''grow house''for M arijuana, an illegally controlled substance W hen .


 Plaintiffswentto the police departm entto com plain aboutthem calling ourhouse a marijuana grow
 house the police.were em barrassed and said afterw e have been evicted out ofourhouse for3 days
                                                                                               5
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 that w e were allow ed to go back in because there was no eviction and no Judges order and they
  wereappalled becausethey(police)searchedthewhole housethedayofthe incidentand saw no
  marijuana,just beautifulfurniture. And so therefore we are not going to allow the Zoning
  departm entto yourhouse.And w hile protesting w ith the help ofTea Party,the police chiefsaid w e
  should sue M iam iBeach. Now the Zoning departm entand police chiefno longerw orkw ith the City
  of North M iam iBeach.plaintiffs did not grow mari
                                                   juana at the premises and no evidence was
  discovered to counterthis allegation.The rem ovalofelectricity,w hich caused the generatorin our
  yachtto stop pum ping outw aterfrom the boat.The )4 foot 4 story yachtsank and w as a totalloss.
  The dockw as also dam aled w hile police kept Plaintiffs aw av from the prem ises. See YouTube
  Svm onettepalace bad3-Defendants com m itted an illegal self-help eviction. The actions of the
  Defendants caused great harm and stress.On orabout July 23,2010 Plaintiffs son Jerim iah Parham
  w ho Iived in the house w as brought up on false charges for firing a firearm w hile defending his
  hom e from intruders at 3320 N.E.165st.M iam iFI.33160 aIIin an effortto getus Black people outof
  this W hite neighborhood.plaintiff and his son w ere arrested because of the incident.W as racially
  m otivated and prejudicial in violation of fourteenth amendment that preserves therights of a
  defendant in state court. States the follow ing: because they don't w ant Blacks in their w hite
  neighborhood. A Police Officer hit the door w hich M aurice opened and police pointed guns at
  M aurice saying get on the ground,w entin the house antlthe yachtw ithouta w arrant,gotthe yacht
  w orkersoutthrough the house and outofthe house ordered them dow n on the ground handcuffed
  them checked som e of our ID's w ithout any probable cause,w hile Gam el Iaughed w ith zoning
  person GillRosenkauf and High-Fiving police w hile neighbors watched.lasked the police sergeant
  w hy, he said the bank has foreclosed on this house and he said w e are not supposed to be in the
  house, Isaid the house is in bankruptcy,never foreclosed, no Judge ordered eviction and only a
  Sheriffnota

  regular police can evict.Then the sergeant said w e'lltalk to the Building Departm ent person Gill
  Rosenkaufw ho w e saw talking to Barry Gam elbefore police raided the house.M ade us Ieave the
  nouse on foot.Then the nextday we caughtthe JPM Reps.Changing the Iocks then they sped aw ay
  withaIIofourstuffintheirJPM TruckJPM Bank W ascaughtstealing$700.000.00 in propertyand
  recording equipm entoutofthe house and changing Iocks to Iock us outof ourhouse w ith no court
  O rder. W e w ant our property replaced or the m oney back tripled. On or about July 25th 2012
                                                                                               6
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 detectives Ied by Detective Catlin searched our house And Plaintiffs bedroom w ithout a search
 warrant.W hile pretending to search Alfred Davis room to further harass us and to force us out of
 the w hite neighborhood on July 26th 2012 and they were obviously Iooking for m oney to take and
 detectivesaidtoAlfredDaviswhereisyourmoneywithwitnessessee(exhibit14&15)allinquestto
 steal and run black people out of the w hite neighborhood.M aurice Sym onette w as driving his
  M ercedes Benz,in North M iam inear Biscayne Blvd.Police Officers saw M aurice and recognized his
 face as he drove by them they then turned their Car around and m ade him pullover on a traffic
  stop,atthe time ofthe stop theofficerhad no Objecti'rely reasonablesuspicionthatSymonettew as
  engaging in any crim inalactivity,after he Stopped the vehicle officer M arin ordered Sym onette out
  ofthe vehicle,in w hich he did, officer Catlin searched the vehicle w ithout Sym onette's consent ,
  officerCatlin entered the vehicle and Seized a fire arm that he had found in the glove com partm ent
  and he Iied and said he found iton The Passengerseat underneath som e paperwork,and Ihave 5,
  w itnesses w ith afidavits that said They saw Detective Catlin take the gun from out of the glove
  com partm ent seè exb.#16,17,18,19,& 20. The Code and Zoning Departm ent is trying to run us out
  oftow n because ofthe w atersituation the Zoning Dept.They say It is illegalto have wellwater in
  ourareasee exhibit# (12 ) butthere are people in thisneighborhood thathave wellwaterand
  they also said that ourgate w as to high over5 feet but Iots ofW hite and m ostly East lndians gates
  are w ellover 5 feet high .They're Acted out Racism arhd Discrim ination to kick us Blacks out of a
  W hite Neighborhood also asan ExcuseTo evictusillegallywiththe help ofRacism and SEC Fraud,as
  a result of Said extrem e and outrageous conduct by defendants and each of them , Plaintiffs has
  suffered Severe emotionaldistress.lpM Bank was caught stealing $700.000.00 in property and
  recording equipm ent out ofthe house and changing Iocksto Iock us out ofour house w ith no court
  Order.W e wantourproperty replaced orthe money backtripled.And also in 8/6/2015 plaintiffs
  w ere arriving hom e attheir address again,at the 3320 NE 165thnst.to find that there house had
  been broken into bypeoplefrom thebankJpMorgan ChaseBank)theywerestillinthe house,and
  the police wasthere w ith them also,they had changed the Iockszon see exhibitvideo 2b.godsz-com
  ofpolice and bank athouse and said thatthey w ere from the Bank and w ere there to evict us,but
  w e w ere stillin Bankruptcy at the tim e and there they had taken som e of the our property out,
  som e from each room ,and put a cover over the poolw e show ed them the Bankruptcy and told
  them w e w ere not evicted yet, and they had already Ioaded som e ofour stuffin a truck thatthey
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  drove to the house in. One of the ow ners of the house told them the bank they had to Ieave
  because the house w as stillunder bankruptcy and they would be in a Iot oftrouble if they tried to
  take the house w ithout a w rit orsheriffthen they left after being show n the bankruptcy and still
  had plaintiffspropertyontheirtruckfullofourpossessionsand toolstotalingin over$100,000.00
  aIlthis done w ith SEC FRAUD.




             FIRST CAUSE OF A CTION :VIO LATION OF SEC GAAP RULES




 According to the SEC Screen Shots in the corner oftlle this page this NOTE is now and stillon
 the Marketasa security/bond/stock asofJan.6.2016 exhibit#7pg.6.According to the GAAP
 FASB FAS 140 Rule says thatw hen a NOTE issold ()n tlle M arketas a Security the NOTE m ustbe
 burned and Destroyed and can never be used as a foreclosure instrum entbecause thatis SEC
 Fraud because the IRS has W ritten the Destroyed loss off,then the insurance paid the loss off
 and then the Bank sold the Note on the M arketso the bank gotthe m oney ow ed to them by Kurt
 Marin threetim e'
                 splusallthethe differenttimesthey sold the Noteon the Marketlllegally w hile
 the GAAP Rules say you cannot foreclose on aNote that's SOLD on the M arket they foreclose
 anyway withoutbeing PUNISHED they arejustopenly taking property thisisW AR againstthe
 W HITE PEOPLE and BLACK PEOPLE in AMERICA by CAINAAN and ISHMAEL. (M CISTS
 CHEROKEES)theBANKSTERS/INDIAN GIVERSagainstMoraandBIBLELAW Proverbs22:27-28
 don'tbe a m ean man who loans M oney and when notpaid back take the bed from under our
 back (PROPERTY)AT THE SEVENTH YEAR JUBILEE Y0U FORGIVE THE LOAN (TAX W RIGHTE
 0FF ASA LOSS)Y0U CAN'T TAKE THEIR PROPERTY THE BANK G0T THERE PAY 0FFand the
 JudgesareallowingthisPiratcy Nehemiah5:1-8 ohKingsREPENT.


 That'swhy the FDIC P&A (Purchase &AssumptionAgreementlpagel; article 3 sec.3.3 saysthat
 forJPM toowntheNOTE (andgiveJPM standingtoboreclose)theFDIC must

                                                                                                  8
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sign (endorse)the NOTE overto JPM.Before they CAN foreclose and JPM.Nevergotthe Note
signed over them from the FDIC so JPM.is juststealing our property and don't use we are
 deadbeathom e ow ners asyour righteousindignatiousway to say you don'tthen you give your
 houseto JPM.ILLEGALLY!And in righteousnessit'swrong forJPM.to take thehouse because
 they borrowed and didn'tpay.ln the KJV.Bible Proverbs 22:26-29 don'tbe a mean man and
 take the bed from under m y back because I didn't pay. am azingly you can't foreclose on
 CHEROKEE Indians and your notsupposed to foreclose on Am erican Citizens w hose properties
 are Hom esteading Plaintiffs state that they have been beset by continuous bankruptcies,
 frivolous and ipappropriateMotion by appellants.JpMorgan and it's ATTORNIES Shapiro
 Fishm an and Gach are the Lying thieves w hocallgood eviland evilgood ISAIAH 5:20 because w e
 are good guys helping people w w m am ericangala.com and are notDead BeatHom eow ners
 seeking to live for free because.w e w ere m aking our paym ents on tim e then suddenly they
 (W AMulstopped taking our payments without us knowing filed foreclosure al1without our
 knowledge weasked forthe NOTE (to make the corr.zctpaymentsafter finding outby accident
 w hile checking on another case thatW AM IJ filed a Cornplaintagainstus for this property 3320 ne
 165st M IAM I Fl.Even though w e w ere actually paying on tim e but w ith no Notice to us on the
 Com plaint.Butw hen w e contacted them by phone W AM U TOLD usw e w ere rightand itw ould be
 corrected,thensùddenlythey sentourpaymentsbackandJPM tookoverandallwithoutnoticeto
 usandgotaJudgementandsentourmoneyback.ThenJpMorgan senttheNMB policebyand
 evicted,arrested and handcuffed us on the ground in front of the neighbors at that house and
 m ade us walk and leave our cars and then a day after illegalEviction Police 1et us back to the
 houseafterthey found outthatIpMorganliedandwesaw who identified themselvesasJPM Reps.
 Changing our locks and they had stole alm osteverything out of our house w ow !And they callus
 wrong GOD help uswe have actually no rightsseeexhibits #11.A1lthisdone 01/27/11 exhibit
 #13 without the foreclosure sale happening yet or a COURT ORDER and while w e w ere in
 BANKRUPTCY 11/19/10 through 08/08/11.See exhibit#11.JPM doesnothavestandinginany
 partofthis property to m ake any claim s or dem ands forany paym ents ofany sort,because lnow
 have absolute Proof that JPM committed fraud on the court, as now proof from
 Certifiedsecuritization   Auditor. that is qualizied      and   experienced    to   providethe
 necessaryprofessional service that is trained to navigate and perform searches on the
 Bloomberg term inalin regards to the autom atic traciling and determ ination ofm ortgage and
 loan related docum ents and inform ation asseen on exhibit 7#.An affidavitfrom ExpertW itness
                                                                                             9
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 Eliyshuwa ShaphatYisraela certified SEC/CFLA AUDITOR explaining and proving with the
 Prospectus Screen Shots on Stock M arket the transakrtions that tookplace on said propery at
 3320 NE l6sthstreet M ia.Fl.33165 ofa1lthe screen shots that took place with the securities
 transactions during the tim e the property W assold to owner KurtM arin up untilthe present
 timesee exhibit7,pgs.2-5,andaLicensed BloombergMortgagesecuritizationAuditortsEc)of
 the CFLA.see exb.#7,ppl.rlahis shows thatW ashington MutualBank Aa/k/a FederalSavings
 exhibit7zppz Banksold noterightaftertheclosingoftheproperty07/14/06toW AMU Capital
 Corp,whoon pg.oneoftheScreen ShotSold NOTE on Marketasa Security 09/26/06 with US
 BANK NationalAssociation asTrukteeExhibit# 7pg.6 ThisprovesthatW ashington M utualBank
 FA sold the Note asa Security 09/26/06 &afterselling the NOTE oneyearlaterApril25.2007
 w ithoutnoticing us filed a notice oflis Pendens exhibit A.Then W AM U w as taken over by the
 FDIC Sept25 2008 and allW AMU assetsto JpMexhibit4..Butthis did notinclude ourNOTE
 because our NOTE w as already sold as a security on the M arket exhibit7pg.6 and according to
 theSEC Screen Shotsin thecornerofthe this page thisNOTE isnow and stillon the Marketasa
 security/bond/stock as ofJan.6.2016 exhibit#7pg.6.A ccording to the GAAP FASB FAS 140
 Rule says that w hen a NOTE is sold on the M arket as a Security the NOTE m ust be burned and
 Destroyed and can never be used as a foreclosure inrtrum entbecause thatis SEC Fraud because
 the IRS has written the Destroyed lossoff, then the insurance paid the lossoffand then sold it
 on the Market.That's why the FDIC P&A (Purchase &AssumptionAgreementlpage 17 article 3
 sec.3.3saysthatforIPM toown theNOTE (and give!PM standingtoForeclose)theFDIC must
 sign (endorse)theNOTEovertoJPM.
      A1. 0n page 17 ofthe Purchase & Assumption Agreementbetween the FDIC and JPM
 article 3
    section 3.3saysJPM cannotowntheNOTEfrom theFDICthatcamefrom W ashington Mutual
 Bank,theFDICmustPossesstheNOTEandsigntheNOTE overtoJPM beforewhichJPM cannot
 ow n,saleorforeclose on the NOTE.And ourNOTE wasneverpossessed by theFDIC and the
 FDIC neversigned the NOTE overto JPM sothereforeJPM doesnotow n ourNOTE and isnotthe
 Servicer,w hy?
      A.     Because W ashington M utual Bank FA w hich is FederalSavings Bank to w hom
      Plaintiffs signed the NOTE w ith see exhibit 5& 6,got Paid offwhen they sold the NOTE
      toW ashington M utualBank a differententity w hich isalm ostthe sam e nam e butwithout
      the letters FA atthe end oftheir name see exhibit (6)This is also in violation ofdue
                                                                                        10
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      process of the law of the 5th and 14th Am endm ent of the United States Constitution
      because the TILA Violation ofM ortgage Servicing Rules 12-C17R-1026.39 says thatthe Bank
      m usttellOw ner w hen they Transfer the NOTE butto Com m itt Fraud they hid the transfer
      to hide the fact that they w ere putting the NOTE on the M arket that's w hy W ashington
      M utualBank is the FORECLOSER on,us notW ashington M utualBank FA.But even in the
      NOTE itselfit says thatthey m ust tellthe ow nerw hen the NOTE is transferred to another
      entity.
     B. Then W ashington M utual Bank sold the NOTE on the M arket through W AM U Capital
          Corp.put the NOTE under the Cusip # 93363N443 see top ofpage 7 ofthe screen shot
          exhibit #7,Page 7llines 3&8 in a poolof104 otherNOTES called W aMu Mortgage
          Pass-Through Certificates Series 2006-4R12 Trustsold for$1,694,778,749 divided by
          404 NOTES in thatpool= $4.194 million m adethatpaid offour 1.9 m illion dollarNOTE
          on the Stock M arket and w ith W ashington M utualBank as Servicer and US Bank NA as
          Trustee(NO W HERE IS JPM SHOW N AS OW NER OR SERVICER ON SCREEN SHOTS
          MARKET SELL W HICH IS STILL TRADING FROM SEPT.2006 UNTIL JAN.2016 ).
          See page 6 atbottom ofSCREEN SHOT exhibit7. SoJPM iscommittingS.E.C.Fraud.
          W hy?
     C.   GM P FSAB FSB Rule 140 says thatonce the NOTE is Traded on M arketthe NOTE m ust
          be Burned & Destroyed becausethe NOTE is paid offand cannotexistatthe sam etim e
          as the NOTE and never be used as foreclosure instrum ent again because that's Double
          Dipping and defrauding the investors who are made to believe thatthe NOTES that is
          now a Bond are perform ing and is SEC Fraud forthem to be investing in NOTES thatare
          in Defaultw ith no hope unknow ingly by investors fora return.
     D. JpMorgan v.Sharone D.W aisom e The JPM and W AMU SchedulerofNOTESExpert
          W itness LARENCE NARDIS said in his Deposition there is absolutely no Ow nership of
          Property NOTESfrom W ashington MutualBank through the FDIC to JPM, so therefore
          JPM has no Standing to foreclose on W ashington MutualBank N0TEs.See in the
          deposition of form er em ployee of W AM U System Analyist Law rence Nardi,taken on
          M ay 9, 2012,Exhibit 9, Law rence Nardi testified in court as seen in Deposition on
          page 261 From this case thatthere w as no assignm ents ofm ortgage,and there w as no
          allonges'
                  ,and in the thousands ofLoans thatw ere a part ofthe purchase he had never

          seenanassignmentofmortgageandthatnoassignmentsexistorallongesoranythi1
                                                                               nr
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        transferring ownership from W AMU toJPM from the FDIC. In factin thewhole P&A
        Agreementbetween the FDIC and JPM from W ashington MutualBank there are no
        m ortgage loans prom isary notes at all.There are only auto notes college loans and
         creditcardsThereforeJPM cannotown anynotesandthereforeJPM hasno standingto
         foreclose on the prom issory notes.
    E. ERIC MAINSV.JPMORGAN andW ASHINGTON MUTUALET AL.ThisFDIC
    ExpertW itness and form er Em ployee ofthe FDIC,responsible for closing W AM U and acting
         asthe failed WAMU'SReceiver.seepage 6 pargraph 26 ofERIC MAINS v.JPM,15-CV-
         00036SEB-W GH,Com plaint,Eric Mainswasiî7charge ofRobert C.Schoppe oftheFDIC
         who signed the Operation ofLaw DocumentthatJPM usesin Courtto falsely prove
         OwnershipofNOTESlikein0urCaseseeexhibit(4).ERIC MAINSsaysthatJPM doesn't
         0W N the W ashington M utualBank N OTES.
    F. Can'toWn NOTE through Operation ofLaw see JAVAHERIV.JPM and KIM v. JPM ,
       JudgeO.H.EATON in FloridaBrevard County)say JPM admitsthatthey can'town the
       Noteby operation oflaw.exhibit# 8.(acase thatJpMorgan ishiding).and theFlorida
         4tbDCA GAINUSW RIGHY 111 V.JPM,JPM vs.Gary S.Snyder,andJaneSnyder,Fiorito
         v.JPM Chase Bank NationalAssociation 4th DCA says you can't own the Note by
         operation oflaw l!You m ustgetthe note signed overto you to the FDIC and you m ust
         filethe note with theclerk ofthecourtto havestanding to foreclosure.
         The sale ofW ashington M utualBank Assets from the FDIC to JPM was neverfinished
         while JPM wasforeclosingon usin Sept.25.2008 withoutowningthe NOTE because
         JPM asked formore time to close thesale up untilAugust30.2010 see exhibit (10)
         anduntilthisday (2016)salehasnotclosed.SothatevenifW AMU wouldnothavesold
         theNOTE on the Stock Marketthey were anvlare foreclosing w ithoutSTANDING.
    H. Mcleanv.JPM Floridasaysyou can'tforecloseonaNOTE beforeyouown itsoJPM has
         no standing to Foreclose.
 1. H OUSE BILL 87 Florida'sGovernorRick Scott, Sighed anew foreclostlrebillinto


    Law on 6/07/2013called ''HouseBill87'5Requireslenderto produce thenote with 1ts


    complaint andlimitsdeficiencyJudgments.StartingJuly 1,2013(theplaintiff the
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     ownerofthe10> )mustproveitsrighttoforeclosebyfilingadditionalitemsalongwith
     the foreclosure Com plaintincluding'
                                        .


    1.A certification thatthe plaintiffis in possession ofthe originalprom issory N ote.
    2.iftheNotehasbeen lost,alostnote affidavitwith a clearchain ofofendorsm ents,
    transfersorassignmentsoftheprbm issory Note.andthe NOTE cannotexistatthe
    sam etim e as the Security w hich Is now turned into a BON D exhibit#7pg.l6-l8.

    becausethatisSECSecurityFraudbecausethe/redefraudingintobelievingthat
    thatBOND (NOTE)isperformingwhenit'sactually Defaultedand theyaredouble
    dipping getting m oney foreclosing on Property and Stock M arketm oney from
    investors this is ILLEGAL CRAZY!
   AFFIDAVIT OF EXPERT W ITNESS AND PRIVATE INVESTIGATO R W ILLIA M

      A. J.PAATALO,A.PROFESSJONALLICENSED FQRENSIC INVESTIGATOR WITH
     PROOFTHAT JPMORGAN DOESN0T 0W N THELOAN T0 THISPROPERTY
     Seeexhibit(8B) pages1-18 AFFIDAVIT
     Exhibit# 1 W illiam Paatalo's Resum e,has conducted over900 investigations
     Exhibit# 2 JpMorganChasepressrelease
     Exhibit# 3 Deposition Transcript
     Exhibit# 4 CrystalDavis Deposition
     Exhibit# 5 3270 Explorer:TransferHistory''screen shot
     Exhibit# 6 chase ''investor''disclosure letters
     Exhibit# 7 unrelated''Assignm entofM ortgage''
     Exhibit# 8 Affiliated Business Disclosure
                                     .

     Exhibit# 9 W ashington M utualBank,F.A.



     SECOND CA USE OF ACTION-VIOLATION OF TH E 1964 CIVIL RIGH TS ACT A ND
     EQUALPROTECTION CLAUSE OFTHE 14THAMENDMENT OF THE U.S.
     CONSTII'UTION INAN EFFORT TO STOP BLACK PEO PLE FROM LIVING IN A



                                  W HITE NEIGH BORH OOD


                                                                                           13
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    Al,Clyde and James ''you Niggers are an insult,NIGGERS bring down the property value,your
    m aking it hard forusto sellproperty here''Gam elalso said ''yourbank hasforeclosed on you and
    l'm going to getyou NIGGERS out,because NIGGERS bring the property value dow n.''Then on or
    about01/27/11 Barry Gamelwasoutwatching as representativesofthecity ofMiamiZoning
    Departm ent accom panied by 11 police officers w ith rifles and guns out, bullet proof vest on,
    ram m ed ourfrontdoorat 3320 N.E.165th St.N.M iam i




  Beach FL.33160 afterpolice hitthe doorw hich M aurice opened and police pointed guns at

  M aurice saying geton the ground,w entin the house and the yachtw ithouta warrant,got

  !heyachtworkersoutthroughthe house and outofthe house ordered them down onthe

  ground handcuffed them checked som e ofourlD'sw ithqut any probable cause,w hile

  Gam elIaughed w ith zoning person GillRosenkaufand High Fiveing police w hile neighbors

  w atched.lasked the police sergeantw hy,he said the bank hasforeclosed on this house

  and hesaid we arenotsupposedto be in the housewithow nerClyde M cphatter,M aurice

  Symonettesaidthe house isin bankruptcy,see exb.(11)neverforeclosed,noJudge
  ordered eviction and only a Sheriffnot a regularpolice can evict.Then the sergeantsaid

  w e'lltalk to the Building Departm entperson GillRosenkaufw ho we saw talking to Barry

   Gam elbefore police raided the house.Rosenkaufinformed Plaintiffsthatwe had to vacate

   the premise becausethe housewasadangerand uninhabitable since Plaintiffsdid not

   receive city w ater.Plaintiffs hom e w as using w ellw ater,like otherhom esin the

   com m unity are already doing but no law hasbeen brought up Againstpeople having w ell

   waterbutthey are charging usa$250.00 fine every davfornotusing Citywatersee exhibit
   # (12 ).Rosenkaufordered Plaintiffsto vacate the propertywithoutprobablecause.After
                                                                                                14
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  asking forthe City Hallrule in w riting,Rosenkaufstated Chapter8,Section 5 on the back of

  hiscity planning businesscard.He then posted a red notice on the doorto condem n the

  propertytsee exhibit13.1,The police searchedthe residence and ordered alItheoccupants

  to leavethe home.The Policethen locked thedoors.Plaintiffswere forced to leavetheir

  Vehiclesandwalkon foot.The nextday,Gamelwassaen attheresidence with another

  Chase Bank realtor.They w ere changing the lockson the doors.AnotherChase Bank

  person wasseen rem oving property from the residence Ioading iton the Chase Bank

  Realtor'struck.Plaintiffsapproached the JPM Bank Rep.and inquired asto w here they

  were going w ith Plaintiffs property.They said they w ere instructed to rem ove the property

  by JPM Bank.They show ed docum entsthatshow ed the banks nam e.M aurice Sym onette

  asked him forhis card. He said hold on a second and w entto the truck to getanothercard,

  becausesom ethingwaswritten on hiscard.Hejumped into thetruckand sped of'f.

  Defendantsstoleover$600,000.00 ofequipment.The nextdayafterthe Iockswere changed Florida
       Powerand Light(FPL)wasobserved turningoffthe poweratthe Residence.Theirreasonwas
      thatthe North M iam iBeach Zoning departm ent ordered FPLTo cut the pow erto the because
      the house wasa ''grow house''forM arijuana,an illegally controlled substance.W hen Plaintiffs
       went to the police department to com plain about them calling our house a marijuana grow
       house the police w ere em barrassed and said afterw e have been evicted outofourhouse for3
       days that w e w ere allow ed to go back in because there w as no eviction and no Judges order
       andtheywereappalled becausethey(police)searchedthewholehousethedayoftheincident
       and saw no m ari
                      juana,justbeautifulfurniture. And so thereforewe are notgoingto allow the
       Zoning departm ent to your house.And w hile protesting w ith the help ofTea Party,the police
       chjefsaid we should sue M iamiBeach. Now the Zoning departm entand police chiefno Ionger
       work with the CityofNorth M iamiBeach.Plaintiffsdid notgrow m arijuanaatthe prem isesand
       no evidence w as discovered tp counterthis allegction.The rem ovalofelectricity,w hich caused
       the generator in ouryachtto stop pum ping out waterfrom the boat.The 74 foot 4 story yacht
       sank and was a totalIoss.The dock w as also dam agû'
                                                          d w hile police keptPlaintiffs aw av from the
                                                                                                     15
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      premises. See YouTube Symonettepalace bad3. Defendants comm itted an illegalself-help
      eviction.The actionsofthe Defendantscaused greatharm and stress. On oraboutJuly 23,2010
      Plaintiffs son Jerim iah Parham w ho Iived in the house w as broughtup on false chargesforfiring
      a firearm w hile defending his hom e from intruders at 3320 N .E.165st.M iam iFI.33160 aIIin an
      effortto getusBlack people outofthisW hite neighborhood. Plaintiffand hisson w ere arrested
      because of the incident. W as racially m otivated and prejudicial in violation of fourteenth
      am endm ent that preserves the rights of a defendant in state court. States the following:
      because they don't w ant Blacks in their w hite neighborhood. A Police Officer hit the door
      w hich M aurice opened and police pointed guns at M aurice saying get on the ground, w ent in
      the house and the yacht w ithout a w arrant,got the yacht workers out through the house and
      outofthe house ordered them dow n on the ground handcuffed them checked som e ofourlD's
      w ithout any probable cause,w hile Gam elIaughed w ith zoning person GillRosenkaufand High-
      Fiving police w hile neighbors w atched.Iasked the police sergeant w hy, he said the bank has
      foreclosed on thishouse and he said w e are notsupposed to be in the house, Isaid the house is
      in bankruptcy, never foreclosed, no Judge ordered eviction and only a Sheriff not a regular
      police can evict. Then the sergeant said w e'lltalk to the Building Departm ent person Gill
      Rosenkaufw ho w e saw talking to Barry Gam elbefore police raided the house. M ade us Ieave
      the house on foot.Then the next day w e caught the JPM Reps. Changing the Iocks then they

      spedawaywithaIIofourstuffintheirJPM TruckJPM Bank W ascaughtstealing$700.000.00in
      property and recording equipm ent out ofthe house and changing Iocks to Iock us out of our
      house w ith no court Order.W e w ant ourproperty replaced orthe m oney back tripled. On or
      about July 25th 2012 detectives Ied by Detective Catlin searched our house And Plaintiffs
      bedroom w ithout a search warrant.W hile pretending to search Alfred Davis room to further
      harass us and to force us out of the w hite neighborhood on July 26th 2012 and they w ere
      obviously Iooking for m oney to take and detective said to Alfred Davis w here is your m oney
      withwitnessessee(exhibit14 &15)aIIinquestto stealand runblackpeopleoutofthewhite
      neighborhood. M aurice Sym onette was driving his M ercedes Benze, in North M iam i near
      Biscayne Blvd.Police Officers saw M aurice and decognized his face as he drove by them they
      then turned their Cararound and m ade him pulloveron a traffic stop, at the tim e ofthe stop
      the officer had no Objectively reasonable suspicion that Symonette was engaging in any

                                                                                                  16
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      crim inalactivity, after he Stopped the vehicle officer M arin ordered Sym onette out of the
      vehicle, in w hich he did, officer Catlin searched the vehicle without Sym onette's consent ,
      officer Catlin entered the vihicle and Seized a fire arm that he had found in the glove
      com partm ent and he Iied and said he found it on The Passenger seat underneath som e
      paperwork,and Ihave 5,w itnesses w ith affidavitsthat said They saw Detective Catlin take the
      gun from out of the glove com partm ent see exb.#16.17,18,19,& 20. The Code and Zoning
      Departm ent is trying to run us out of tow n because of the w ater situation the Zoning Dept.
      Theysay lti!illegalto have wellwaterin ourareasee exhibit# (12 ) butthere are people in
      this neighborhood that have wellw aterand they also said that ourgate w asto high over5 feet
      butlotsofW hiteand mostly EastIndiansgatesarewellover5feethighexhibit.The/reActed
      out Racism and Discrim ination to kick us Blacksoutofa W hite Neighborhood also as an Excuse
      To evict us illegally w ith the help of Racism and SEC Fraud, as a result of Said extrem e and
      outrageous conduct by defendants and each of them ,Plaintiffs has suffered Severe em otional
      distress.JPM Bankwascaughtstealing $700.000.00 in property and recording equipmentoutof
      the house and changing Iocks to Iock us out of our house w ith no court Order.W e w ant our
      propertyreplacedorthemoneybacktripled.Andalsoin8/6/2015plaintiffswerearrivinghome
      attbeir address again,atthe 3320 NE 165thnst. to find thatthere house had been broken into
      bypeoplefrom thebankJpMorganChaseBank)theywerestillinthe house,andthepolicewas
      there w ith them also,they had changed the Iocks,on see exhibitvideo 2b.godsz.com ofpolice
      and bank at house and said that they w ere from the Bank and w ere there to evict us,but w e
      w ere stillin Bankruptcy at the tim e and there the/ had taken som e ofthe our property out,
      som e from each room ,and puta coveroverthe poolwe show ed them the Bankruptcy and told
      them w e were not evicted yet, and they had already Ioaded som e ofour stuff in a truck that
      they drove to the house in.One of the ow ners ofthe house told them the bank they had to
      Ieave because the house w as stillunderbankruptcy and they would be in a Iotoftrouble ifthey
      tried to take the house w ithout a w rit or sheirff then they left after being show n the
      bankruptcy and still had plaintiffs property on eheir truck fullof our possessions and tools
      totalinginover$100,000.00aIIthisdonewithSECFRAUD.


           TH IRD CAUSE O F ACT ION:RESPA AND TILLA VIOLATIO NS
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                    ISU.S.C.A.66 1640(A)(1)(2)(A)(1)
  JPM ACCUSEUSOFDELAYING #HECASEW HEN JPM .W ASTHISCASE'SDELAYER
  JPM issayingourm otionsylawsuitsandbankruptcysM/asthereasonthiscaseiso1d an
  were m aking theCasebe prolonged because ourfilingswere done to prolong the Case

  andw rong when they are the oneswho areopenly stealingW hiteand Black people's

  property w ideop.en know ing thatthe Courts w illhelp them .They also know thatour

  filingswere'ntansweredincludingasourQW R thatwereneveranswered ,yetwere
  correctto stop theiropen thievery butthey failto m ?ntion the factifyou go through

  the Docketnone ofourm otions w ere ever answ ered orslow ed the case dow n and only

  one Bankruptcy stopped the progressofthe case and the fact

  is thattheydelayed the case them selves severaltim es w hen they failed To

  appearatahearingthattheythemselvesrequestedahearingon08/07/12 see
  exb.# 21&22,W eshowed up forthe hearing,butJPM did notshow though
  w e talked to them there and askedforproofthey ow ned or had possession ofthe

  NOTE.W efiled m otion fordefaultthrough the Courtseeexihibit#z.butthe Courtdid

  notDefaultJpMorganastheCourtwouldhaveDefaultf
                                              adDefandantsifwewould not
  haveshown upnothingwaseverdone.JPM alsofiledforsecondHearingand when
  w eshowed up again they saw usagain and w ould notcome in to the because we asked

  fortheNOTE agàin.ThenwedidaMotiontoDismissforfailuretoProsecutebutJudge
  refused to answ eragain butnow on third tim eahearing wascalled and w ithout

  provingNOTEownership forasaleDATE from diffel'entludge.Sotherefore
  JPM accuseusDelayingcasewhenthey aretheDeliberateDELAYSandthey
  accuse us ofw rong doings and yetthey have been found guilty offraudon the Courts

  seePocopanniv.JPM.Dirtyhands.
                                                                                        18
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  B . Plaintiffsraisestwo prim ary pointsto establish thatW ashington M utualBank did not

  have standing to file theirCom plaint see FederalPractice M anuel3.1 Standing

  Rule says Standing can be challenged atanytim e during the case including on

  A PPEA L and so as of April26,07. because W ashington M utualBank FA aka

  FederalSavingsàartkseeexhibit#6.soldtheNOTEtoW ashington M utualBank
  which istotally differentfrom W ashington M utualBank FA illegally becauseNotewas

  sold withoutOwner'sorTitleCompanie's knowledgewho then sold theNotethrough
  W aM u AssetAcceptance Col'
                            p asDepositor seeexhibit#% Page 12.who then
  sold the N O TE on the Stock M arketin a poolof404 otherN OTESsee exb.#7,pg.7,

  called W aM uM ortgage Pass--rhrough Certificates,Series2006-A R 12 see exhibit#7.Page

  12 ofthe Prospectusfrom the SEC - CFLA A uditor,see exhibit#5.A sofA pril26,2007
  /               '5
  W ashington M utualBank notW ashington M utualBank FA to w hom D efendant

  D r.KurtM arin signed the N OTES filed its W ashington M utual

  Bank Com plaint see LisPendens exhibit#25& A .Thiscom plaintw hich seeks

  tw o typesof Relief:M ortgage Foreclosure and re-establirihm entof a lostN O TE

   JeetheirComplaintexhibit#25paae (4)Iine18.



          FOURTH CA USE OF ACTION :VIOLATIO N OF BA NKRUPTCY
              IIU.S.CODE:362(A)(1)(2)(3)(4)(5)(6)(7)(80
   onorabout01/27/11BarryGamelwasoutwatchingacrepresentativesof
  the City ofM iam iZoning Departm entaccom panied by 11 police officersw ith rifles and

  gunsout,buIletproofveston,ram m ed ourfrontdoorat 3320 N.E.165thst.N. M iam i

   Beach FL.33160 afterpolice hitthe doorA Police Officerhitthe doorw hich M aurice

   opened and police pointed gunsat M aurice saying geton the ground,went in the house
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  and the yachtw ithouta w arrant,gotthe yachtw orkersoutthrough the house and outof

  the house ordered them dow n on the ground handcuffetlthem checked som e ofourlD's

  w ithoutany probable cause,w hile Gam elIaughed w ith zoning person GillRosenkaufand

  High-Fiving police w hile neighborsw atched.Iasked the police sergeantw hy,he said the

  bank has foreclosed on this house and he said w e are notsupposed to be in the house,I

  said the house is in bankruptcy,neverforeclosed,no Judge ordered eviction and only a

  sheriffnota regularpolice can'tevict.Then the sergeantsaid w elltalkto the Building

  Departm ent person GillRosenkaufw ho w e saw talking to Barry Gam elbefore police raided

  the house M ade us leave the house on foot.Then the nextday w e caughtthe JPM Reps.

  Changing tbe lockstben they sped aw ay with allofourstuffin theirJPM Truck JPM Bank

  W ascaugbtstealing $700.000.00 in propertyand recording equipmentoutoftbe bouse

  and cbanging Iocksto lock us outofourbouse with no courtOrder.W e w antourproperty

  replaced ortbe m oney back tripled.


  on 7/29/2016 anofficerfrom Sheriffdepartmentcarnettlthehomeof
  Defendantswith aw ritofpossession theofficerw asshow n bankruptcy in

  KURT MARIN and BUCKMAN JAM EST andMauriceSymonette'snameandtheofficer
  wasshownacojyofthebankruptcyandcalled inandCancelledtheEvictionandtold
  usthatwehadtogototheJudgetogetaStayReliefandanother24hournoticefrom
  theCircuitJudgethenthey leftThen adifferentofficercameback thenextdaylater
   w ith the sam e cancelled w ritofpossession and forced defendants outofthe house

   withouta new writofPossesion ora 24 hournotice fordefendantsto getOutoftheir

   hom eand whilew ewere stillin Bankruptcy at3320 ne 165thst.M iam if1.33160.They

   broke up ourproperty and threw our property Outthe house and then 1etus back in
                                                                                             20
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  thehouseaftergettiing a phone callfrom theirHeadquarters.0urproperty gotrained

  on bad w etook som e ofthe Property back in thehousethepolice cam e by dayslater

  andsaid JamesBUCKMAN hadtoleaveandthatMauriceSymonettewasnotEvicted
  and lsaid he'sm y guestthe officerssaid ok thisisa CivilMatterandthey leftsee

  exhibitvideo on godsz.com

  0n 7/1/15whileincourt homeownerofthesaidpropertyClydeMcphatterwasin
  theobjection tosalehearing being heard by Judge BarbaraAreces,ClydeM cphatter

  W asin Bankruptcy atthe tim e and JudgeArecesran overClydeM cphatters
  Bankruptcy even though he had been allow ed to file bankruptcy before atanother tim e

  forthesamehousebyJudgeHubbardseeexhibit32A JudgeArecesviolatedthe
  autom atic stay,,butbankruptcy Stay stops al1action on Property,stay m ustbe

  relievedbyFederalbankruptcy Judgefirstbeforethestatecourtcould maketheir
  decision ,see exhibit#32 .Page 13 lines lo-z4transcriptand see Bankruptcy stay

  law 11USC362(a)(3).Andthecourtviolatedpropert-rownerClydeMcphatter's right
  to use hisbankruptcy to stop thetransfer oftheTitleto hishouse even though ithas

  beenshown inthedocketon exhibit #29 on dates07/12/13thru 07/16/13
  Mcphatterhad been grantedtherighttointervenebyJudgeHubbard onoccasionsfor
  thesam e property see exhibit #zg.Attorney'sforAppellee'shad neverfiled an

  AppealtothoseDecisionsbyJudgellubbardsothert-foreClydeMcphattersBankruptcy
  wasright.AndJudge AreceserredwhensheranovertheBankruptcyand mustbe
  overturnedbecauseJudgeAreceshasnorighttorunoverBankruptcywhereinwe
  tried toobjecttoClaim andamountowedandnow theJudgehasrecusedherselfto
  avoidtheappearanceofimpropriety exhibit#33.JudgeArecesdidnotacknowledge
  ThatJpmorgan nevergotthe Notefrom W AM U by operation ofLaw see appealcase
                                                                                          21
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   OnttonielCruzv.JpM organ ChaseBank,and thecourtwassupposedtoejectus
   Andshow clearchainoftitlenotgiveusanevictionsee66.021(4)(5).Andifthe
   verdctis in favorofthe defendantand the balance ofthe assessm entis also in

   In defendantsfavor,ajudgementofcostshallbeenteredagainsttheplaintiffFlastat-
   66.081 and the plaintiffm ustpay the balance in cas'zor m ay give defendanta bond

   w ith surety to be approved by the clerk Fla.Stat.66.091



   FIFTH CAUSE OF AG ION:VIO LATION OF 7TH& 8THAM ENDM ENT AND DEPRIVATION
   OF RIGHTSAND PERJURY GENEM LLY.UNDER COLOR OF LAW BY VIOLATING OF
   FLORIDA STATUTE 82 & 83.


   PlaintiffsdidnotconcenttoanyunconstitutionalJudicialforeclose,becauseaccording
  to the 14thAm endm entofUS Constitution,''No person shallbe deprived oflife,liberty,

   andpropertywithoutdueprocessofLawi'therefore,wedemandajurytraialto
  protectour due process rightsand rightto a fairtrial,in order to settle this issue,

  because the am ountin question exceeds$20.00 USdollars.Accordingto the 7th
  Am endm entofthe US Constitution,iftheam ountexceeds$20.00 dollarsthe righttoa

  jurytrialispreserved.DuetotheunconstitutionalnatureofthesaidJudicial
  foreclosure Notice,this Cease and Desistand Law suite is filed in good faith, because l

  do notunderstand w hy the City ofNorth M iam iBeach Police,Zonning Dept. and Dade

  County Sheriff'sOfficehasw illfully and m aliciously victlated thePlaintiffsdueprocess

  and equalprotection rights,and The Plaintiff's rightto a fair trial,in orderto illegaly

  take,evictand sale the plaintiff's property w ithoutgiving the Plaintifftheirday in court

  firstto proveThe Plaintiff'scase.ThisSheriff'sOffice'sm otiveforwillfully and

  m aliciouslyviolatingThe Plaintiff'sconstitutionalrightsisforpersonalgain and an
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 23 of 233




  easy outofcourtvictory.Thesaid Sheriff'sOffice'sactionswhereindeed w illfuland

  m alicious,because this Sheriff's Office has officersw ho are officersofthe state and are

  presum edto know thelaw ;therefore,thisSheriff'sOffice eitherknew orshould have

  know n neverto try to deprive a person oflife,liberty,and property w ithoutdue

  process oflaw ;especially,in lightofthe factthatthis Sheriff'sOffice has officers w ho

  took a sw orn oath to uphold and defend theUS and FltpridaConstitution beforethey

  can begin professional1aw enforcem ent.Accordingto ArticleVI,Clause 2 oftheUS

  Constitution,Know n as the Suprelnacy Clause,establishes,''The U.S.Constitution and

  treatiesasthesupremelaw oftheland;andthejudgesineverystateshallbebound
  thereby.NThisSheriffsOfficehasacted willfully and m aliciously w ith totaldisregard

  towardsThe Plaintiff'sfederally secured guaranteeû constitutionalrights,becausethe

  said Sheriff'sOffice eitherknew orshould haveknow n thattheUnited States

  Constitution istheSuprem e Law oftheland,in which al1publicofficialsarebound by

  it,because al1public officials took Oaths ofOffice to uphold and defend the Florida and

  US Constitution.-l'he said Judicialforeclosureand eviction initiated by thisSheriff's
  Office is undeniable evidence thatthe officers ofthis Sheriff's Office have breached

  theircontractswiththeStateofFloridabecausetheyhaveperjuredtheiroathsto
  uphold and defend the stateand US Constitution,becausethisSheriff'sOfficeisindeed

  w arring againstthe US Constitution,by evicting,talling and saling our property

   N ithoutpoviding eualprotection ofthe law ,dueprocess oflaw ,and The Plaintiffsright

  to a fairtrial.According to Cohens vs.Virginia,19 U.S.C,Section 2381.Title 5 U.S.C,

   Section 7311(LoyaltyandStriking),whichexplicitly makesitafederalcriminal
   offense(andaviolation ofoathofoffice)foranyoneemployedinth UnitedStates
                                                                                              23
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  Government(includingmembersofcongress)toadvocatetheoverthrow ofour
  constitutionalform ofgovernment.Title18U.S.C,Section lgl8tDisloyaltyand
  AssertingtherighttoStrikeagainsttheGovernment),providespenaltiesforviolation
  ofoathofofficedescribedinitle5 U.S.C,Section7311,whichinclude:(1)removalfrom
  office;an (2)confinem entorafine.TheAlien RegistrationActof1940 (SmeithAct,
  76th United States Congress,3d session,ch.439,54 stat.670,18 U.S.C,Section 2385

  (AdvocatingtheOverthrow ofTheU.S.government.ThisSherrif'sOffice'ssaidJudicial
  Foreclosure underpow erofsale is uncostitutional,because ifeffectively deniesour

  client,''Access to the Courts,ffThisSheriff's Office is attem pting to deny the Plaintiff

  access to the courts by taking The Plaintiffs property aw ay w ithoutdue process ofthe

  law,whichismotlythejudicialprocess,DuetotheamountofmoneyTheplaintiffs
  property isworth,thisissueneedsto bepresented beforeofficersoflaw ,in orderto

  ensureAccessottheCourtsjsothatPlaintiffsconstitutionalrightsareprotected;and
  to ensure thatThe plaintiff's life,liberty and property isnotbeing taken w ithoutdue

  processand equalprotection ofthe law.tx'herighttosue and defend in the courtsis

  one ofthehighestand m ostessentialprivlegesofcitizenship and m ustbe allow ed by

  each Stateto the citizensofa1lotherStatesto the sa.neextentthatitisallow ed to its

  own citizens.''tseeChambersv.Baltimore& O.R.R.,207U.S.142,148(190749Mcknettv.
  St.Louis& S.F.Ry.,292U.S.230,233(19344.''Theconstitutionalrequirementis
  satisfied ifthenonresidentisgiven accessto thecourtsoftheState upon term sw hich,

  in them selves,are reasonable and adequate forthe enforcing ofany rights he m ay

   have,even though they m ay notbetechnically the same asthoseaccorded to resident

   citizens.&(SeeCanadianNorthern Ry.V.Eggen,252U.S.553(1920.''Therightof
   accessto the courts is basicto our system ofgovernm entand itisw ellestablished
                                                                                              24
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 todaythatitisoneofthefundamentalrightsprotectedbytheConstitution.'ftsee
  Rylandv.Shapiro,708 F.2d 967,971(5thCir.1983).
                                               ThisSheriff'sOfficewithits
  unconstitutionalFinalN otice ofEviction and AliasP 'ritofPossession did indeed

  advocatetheoverthrow ofourconstitutionalForm ofGovernm ent,in violation ofthe

  Sm ith Act;thereby,violating their oaths of office,because Accessotthe Courts is

  Com m on Law thatisprotected by the Floridaand US Constitution.
  Them em bersofthisSheriff'sOffice,having taken an oath to supportand defend the

  Florida and the United States Constitution,did w ilfully and know ingly violate said

  oathsby filinga unconstitutionalJudicialFinalNoticeofEviction,W ritofPossession
  anddid evictsomeofusonthe24hournoticetoevicton 08/18/16 and thencancelled
  the eviction and the 24 hournotice to evictw hich m eantby theirrules and Florida

  Statute82 & 83theyw ould have to giveusanother24 hournotice to evictbutthey

  didn't,theheSheriffsandNorthMiamiBeach Policecamethenextday08/19/16 in
  violation ofthe Bankruptcy Stay and Fla.Statute 82 & 83 requiring a 24 hour notice to

  evictsm e ofusand putsom e ofour proprty outin the rain butthen latertold M aurice

  Symonettehewasn'tbeingevicted justJamesBuckrklanisbeingEVICTED somedays
  laterNMB Police cam eby sayingsom eone called them to see aboutthehouse.The

  Officer said he'snotasking m e to leave because ofour Bankruptcy and thisis a Civil

  M atter.The nextdayw hileM auricew asgoneJpM organ stolea11my property outofthe

  property.Andbeforethatonorabout01/27/11 W ashingtonMutualRep.BarryGamel
   w asw ith the representatives ofthe City ofM iam iZoning Departm ent accom panied by 11

   police officersw ith rifles and guns out,bullet proofveston,ram m ed ourfrontdoorat

   3320 N .E.165tbSt.N.M iam iBeach FL. 33160 afterpolice hitthe doorA Police Officerhit

                                                                                             25
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   thedoorwhich M auriceopened and police pointed gunsatM aurice sayinggeton the

   ground,w entin the house and the yachtwithout a w arrant,gotthe yachtw orkers out

   throughthe house and outofthe house orderedthem down on theground handcuffed

   them checked som e ofourID's withoutany probable cause,w hile Gam elIaughed w ith

   zoning person GillRosenkaufand High-Fiving police w hile neighborsw atched.Iasked the

   police sergeantw hy,he said the bank hasforeclosed on this house and he said w e are not

   supposed to be in the house,Isaid the house is in bankruptcy,neverforeclosed,no Judge

   ordered eviction and only a Sheriffnota regularpolice can't evict.Then the sergeantsaid

   welltalkto the Building Departm ent person GillRosenkaufw ho w e saw talking to Barry

   Gam elbefore police raided the house M ade us leave the house on foot.Then the next day

   we caughtthe JPM Reps.Changing the Iocksthen they sped away w ith aIlofourstuffin

  theirJPM TruckJPM Bankwascaughtstealing$700.000.00inpropertyand recording
   equipm entoutofthe house and changing Iocksto lock usoutofourhouse w ith no court

  Order.W e w antourproperty replaced orthe m oney back tripled.see exhibitvideo on
  godsz.com Becausethisistotally contrary to w ell-established Com m on Law ,

  Accessto theviolation ofTitle 18 U.S.C,Section 24.1 - Conspiracy AgainstRights,

  and Title 18 U.S.C,Section 242 - Deprivations ofRights under color ofstate Iaw ;

  and perjuryGenerally.
     Other crim inaland civilcauses ofaction ifthis Sheriffs Office has persisted

  andhasnotceased and desistedwith theirunconstitutionaljudicialForeclosure:
  running an artincialsham ,breach oftrust,extortion,em bezzlem ent,Iaw

  enforcem entm alpractice,officialoppression,RICO,Conspiracy to com m itRICO,

  suppression ofevidence,obstructionofjustice,violationsofthehonestservice
  clause,m isprision oftreason,piracey upon the higizseas,advocating the
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  overthrow ofourconstitutionalform ofgovernm ent,and Insurrection and

  Rebellion!




  SIXTH CAUSE OF ACT ION:VIO LATION OF FEDERAL OBAM AS PROTECTING
  TENANTS A T FORECLOSURE ACT OF 2009

  TenantJamesBuckman'srightswereviolatedwhenheattendedStateCourt in
  Octoberof2015,whenheaskedJudge BarbaraArescescouldhefinishoutthe
  The Lease agreem entin accordance w ith Obam a's protecting tenants atforeclosure

  Actof2009 w hich expired Dec.31,2014,buttenants thatalready had leases before

  Thattim eperiod ended stillwere supposed to beallov/ed to carry outtheirleases

  To the end oftheir lease period as seen on the second page ofthe 2009 foreclosure act

  See exb.#36,The Courtw ould notallow him to finish his lease w hich ends in Dec.31,

  2016,and the C/urtsgavehim 90 daysto vacatethe property asseen in exhibit#35,
  and they did nothonor the protecting Tenantsatforeclosure A ctof2009 thatw as put

  outby the Dodd-Frank W allStreétReform and Consum er Protection A ct,see exb.37.




           SEVENTH CA USE OF ACTION:FRAUD AND CO NCEALM ENT
                     FLA STATUE 475.25 (B)(D1)
  0nJuly14,2006KurtMarinsignedapromissoryNoteforsaidProperty at3320
                                                                                          27
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   NE 165thst.M iam i,Fl.33160. The basisoftheidentification ofLoan in W AM U

   M ORTGAGE PASS-THROUGH CERTIFICATE TRUST î006 AR12w asm ade from the
                                                          -




   Followingfactors/informationthatexactlycorrespondswith KurtMarin Loan
   Docum entsprovided:Loan num ber30102156590979original$2,180,000.00,Fora
   single fam ily hom e. Buton Sept.26,2006,the sam eW ashington M utual

   M ortgage w as sold on the Bloom berg Securities exchange as seen on exhibit#7 pg.6,
                                                                                .



   0n the 15thline from the top butnotto JpMorganw ho claim thatthey own allloans,
  Assets,and aIlloan com m itm ents, ofW ashington M utualFrom an affidavitfrom the

   FDICin Sept.26,2008 claimingJpMorganChasebecameownerbyoperationof1aw
  From this affidavitthatw as neverfinalized, butitsnotpossible forJpM organ to ow n

  The Note since itw as already sold asa security in Sept. 26,2006,rightafter ithad been

  Boughtby KurtMarin in07/14/06. In anotherinstanceoffraudonthissamehouse
   Anobjectionto'
                salewasenteredinthecountycourthouseinMiamiF1for realestate
                                                                       .



  caseno:2007-12402-C401on 02/24/2014,bydefendantsSeeExb.B W hilechecking
                                                                       .



  Therecordsatthecourthouseon.7/17/2014,lookinginthissamecasewefoundnew
  Documentshasbeen entered intothecourtfileon 7/14/2014, they were docum ents
  from JpMorganChaseBank,SeeexhibitA1,thedocumentsthattheyenteredinthe
  courtrecordsOn 7/14/2014wasamotiontitled'fMOTION T0 RATIFY CLERKSSALE
  AND DIRECT ISSUANCE
                .
                      OF CERTIFICATE 0F TITLE''? asstated in the docum entsa

  foreclosuresalewasheld on Feb. 13,2014,the realproperty w assold tothe plaintiff
                                                                                    ,


  anobjectiontosalewasenteredinthefileon2/24/14,JpMorganthenattachedto
  thosedocum entsexhibitA, whichisacopyoftheObjection tosale,uponclose

 examinationoftheDefendantsobjectiontosalethatPtaintiffsEntered intotheCourt
 Docketstheobjection tosalecopy theyentered in 7/14/2014 Differsfrom The
                                                                                           28
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  Originaldocum entsthatw asput'
                               in on Feb. 24,2014,See exhibitA,theCopy they

  (JpMorgan Chase Bank)putinwiththeirm otion hadatleasttwopagesmissingand
  A differentdateon theCertficate ofservicethan theOriginaland som e differentfont

  sizes in the certificate ofservice and also in thatsam e area the on the originalitreads

  On the lastline qn top ofthe signature the w ord is spelled ''M IS''# w hile on the copy of

  theJpMorganitreads''M/S''thedocumentputinthefilebyJpMorgan hasbeen altered
  and isincom plete and is Fraud,w e can never hope to geta fair hearing on this case,

  because these Docum entsare Tam pered w ith by the Plaintiffs , and w hathappened is

  JP M organ Lawyerin theirm otion to Ratify Clerkssaleputin an exhibit''ANsaying

  (Lying)tothejudgethatthisexhibitA wasthe defendantsexhibitA (motiontoobject
  tosale)whichonlyhad 17itemslisted,butthiswastamperedwithfalsedocument
  thatJpMorgan Lawyersmadeupandchangetoescapedefendantspowerfulmotion to
  ObjecttosaleseeourexhibitBwith 29items= redstampedcopyandexibitA =

  Jpmorganfalsecopiesnow JpMorgan haschangethedocketAug.20,2014.Jpm Atty's
  shapiro, fishm an & gach'e and theirassociates Attorney Julie herzlich have dirty hands

  in this case,they have com m ited Fraud and forgery in this case by changing and

  altering our motion to object to saleand forging defendants signatures to illegally

 take our hom e know ingthat Jpm does notow n our Note.




     EIGHTH CAUSE OF ACTIO N:W RO NGFUL FORECLOSURE IN VIOLAT ION OF RULE 87
                                                                      .




    ThisisanunlawfulforeclosurebecauseJPM does/ntowntheNote,they cannotpossibly own
     theNote,readexhibit#8 from Brevard CountyFloridaJudge0,H.Eaton Jr.ordergranting
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      DefendantsMotion forSumm ary Judgmenton ltem 4 saysby Operation ofLaw ,JpMorgan
      adm itted thatitisnotthe ow nerorHolderofthe NOTE.
  So therefore they cannotforeclose on a N ote they don't Ow n.



           NINTH CAUSE O F A CTIO N:NO STA NDIN G TO FO RECLOSE
                   IN VIOLATION 0F 3.1 STA NDING RULE


  JPM doesnothave standing in any partofthisproperty tom akeany claim sor
  dem andsfor any paym ents ofany sort,because lnow have absolute Proofthat

  JPM com m itted fraud on thecourt,asnow prooffrom a Certifiedsecuritization
  Auditor thatis qualified and experienced to providethe necessaryprofessional

  service thatis trained to navigate and perform searches on the Bloom berg term inal

  in regardsto the autom atictracking and determ ination ofm ortgage and loan

  related docum ents and inform ation as seen on exhibit 7#.An affidavitfrom Expert

  W itness EliyshuwaShaphatYisraelacertifiedSEC/CFLA AUDITOR explainingand
  proving with theProspectusScreen Shotson Stock M prketthetransactionsthat

  tookplace on said propery at 3320 NE l6sthstreetM ia.Fl.33165 ofallthe screen

  shotsthattook place w ith the securitiestransactions during the tim e the property

  W as sold to ow ner KurtM arin up untilthe presenttim e see exhibit7,pgs.2-5,and

  aLicensed BloombergMortgagesecuritizationAuditortsEc)oftheCFLA.see
  exb.#7,pg.l.ThisshowsthatW ajhingtonMutualBrnkAa/k/aFederalSavings
  exhibit7zpg.z Banksold noterightaftertheclosingoftheproperty 07/14/06to
  W A M U CapitalCorp.w ho on pg.one ofthe Screen ShotSold NOTE on M arketas a

  Security09/26/06withUSBANK NationalAssociation asTrusteeExhibit# 7pg.6
  ThisprovesthatW ashington MutualBankFA soldtheNoteasaSecurity09/26/06
                                                                                        30
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  & aftersellingtheNOTE oneyearlaterApril25.2007 withoutnoticing usfiled a

   notice oflisPendens exhibitA.Then W AM IJw astaken overby the FDIC Sept25

  2008andallW AMU assetstoJpMexhibit4.Butthisdidnotinclude0urNOTE
  becauseourNOTE w asalready sold asa security on the Marketexhibit7pp6


  TENTH CAUSE O FACTIO N AGAINST CLERK FOR DESTROYING FILE IN
  VIOLATION OFFLORIDA STATPTE 119.1144)


 The State courtclerk w ere Hiding the File and telling us the File & note w asdestroyed w hen it

 w asn'tand then telling usthe note w as destroyed on cam era, and they said thatM ack

W ells,Bankruptcy would notstop the salew hileon video.ClydeM cphatterand Maurice

 Symonette'sBankruptcywouldnotstopthesalewhileonvideo.0n thedateof 2/3/2016
 Plaintiffw asin thestatecourtHouseon FlaglerStreetin Miam iFl. Irequested the court

Recordsto m y property at3320 NE 165thst.M iam iF1.33160 From the Clerk butthe clerk

lnformed methattheyhadbeenorderedtoburnmyprc'pertyforeclosurerecordson1/1/15,
See exhibit# A A, Affidavitsexhibit#1a.& 1b, and exhibit# 2 videoon godsz.com m y

property recordsshould notHavebeen destroyed because atthetim eand foryearsl'vehad

lawsuitsand appealsin statecourt,federalcourtand now they'vedestroyed thefiles makingit

verydifficultformetogoonwithmy caseagainstJPM,inviolation ofFloridaStatue

119.11(4)which says''serviceofacomplaint,counterclaim orcrossclaim inacivilaction
broughtto enforce provisions ofthischapter,the custodian ofthe public record thatis the

subjectmatterofsuch civilactionshallnottransfercustody,alter,destroyorotherwise
dispose ofthe public record soughtto be inspected and exam ined , notw ithstanding the

applicability ofan exem ption orthe assertion thatthe requested record is notpublic record
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 subjecttoinspection and examinationunders.119.07(1)untilthecourtdirectsotherwise.The
 person w hohascustody ofsuch publicrecord m ay,how everatanytim e perm itinspection of

 therequestedrecordasprovidedin s.119.07(1)and otherprovisionsofthelaw.''W ehave
 w itnessesw ho saw the w hole FILE and there w asno Originalblue ink N OTE in the File see

 Affidavitexhibit3.TheonlythingJPM hadasanyproofofNOTEownershipwastwoFDIC
 Documentsstating thatJPM by Operation Law JpM ortan now ownsa1lofW ashington
 M utualBank'sAssets butnevershow ing our NOTE as one of the assetssee exhibit4..Now

 w hen w e com e to see the w hole FILE to see the originalNO TE ofw hich w e are w itnesess

 thatthere w as never an originalNOTE Filed butthe CLERK O F TH E COURT is helping

 JPM BANK by sayingthey haveDESTROYED theFILEso thatwecannotseethePhathom
 NOTE w hen in actuality the only paperJPM BANK used to show theirow nership of
 NOTE is the by OPEM TIO N OF LAW LETTER from the FDIC w hich the Courts have totally

REJECTED KIM V.JPM .

                       FED ERAL RULE 3.1 STAND ING RULE

               Standing can be questioned anytim e during a case.The Suprem e Courthasm ade it
     clearthattheburden ofestablishingStandingrestontheplaintiff(theowneroftheNote).At
     each stage of'the litigation from the initialpleading stage.Through summary judgmentand
     trail-the plaintiffm ustcarry the burden.Standing m ustexiston the date thatthe com plaintis
     filed and throughout the litigation.M oreover,standing cannot be conferred by agreem ent
     and can be challenged atany tim e in the litigation,Including on appealby the defendants or
     in som e circum stances by the courtSua Sponte. Finally plaintiffs m ustdem onstrate standing
     for each claim and each request for relief.There is no supplem ental standing:standing to
     assertNOTE cannotexistatthe sam e tim easthe Security w hich Isnow turned into a BOND
     exhibit#7 pg.16-18.because thatisSEC Security Fraud because the/re defrauding into
     believing thatthat BOND (NOTE)isperforming when it'sactually Defaulted and they are
     double dipping getting m oney foreclosing on Property and Stock M arket m oney from
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    investors this is ILLEGAL CRAZY!one claim does notcreate standing to assertclaim s arising
    from the sam e nucleusofoperativefacts.W ashington M utualBank FA,W ashington M utual
    Bank norJpMorgan Chase was notin possession ofthe Note Prior to the date of filing
    LispendensoftheFinalJudgment.

    9. JpM organ adm its in exhibit # 8 that by operation of1aw that JpMorgan itis not the
    ownerorholderoftheoriginalnote,aswasheld in court by JudgeO.H.Eaton whereon that
    case defendants w ere granted m otion for Sum m ary Claim ed to have acquired to have
    acquired allofW ashington M utual'sloansAnd assetsthrough the FDIC by Operation of Law ,
    and in fact the record is Utterly Bereftofany evidence as to the m anner in w hich that Note
    ultim ately Cam e into Possession of W ashington M utual Bank FA subsequent to the
    Filing ofitsCom plaint.Accordingly there existgenuine m aterialissues of Factw hich operate
    to legally preclude entry ofa Summary Judgment.Therefore JpMorgan foreclosed on us
    before they actually ow ned the note They can't foreclose on a Note before they ow n it see
    (RobertMcleanv.JPM),


      ELEVENTH CAUSE OF ACTION:VIOLATION OF 9UE PROCESS OF SERVICE
     FLORIDA RULES OFCIVILPROCEEDURE 1.070 (A)(B)(C)(D)(E)(F)(G)(H)(I)



      W enow havefound newly found evidenceFound aftertheJudgereleased filefrom Judge's
      office back to Clerk ofthe Courtsw here w e now able to getthe proofoffilings proving that
      appellant's Had been claiming thatthey were never Served from the beginning one
      Month afterludgementsee'  exhibit#27and tlzensixm onthslaterin exhibit#28,Lawyer
      forAppellant's Nashid Sabirentered a motion tovacatedefaultlnto theplesBecause
      wewere neverserved so thereforetherule that'.said You m ustfile am otion on thefact
      thatyou were neverserved beforeoneYearafterJudgementorwaituntilthelastminute
      to say you w ere not served See W ellFargo v.Lopez and Indy M ac v.Decastro.W e clearly
      werewellW ithin thetim e required twicew edid M otionsconcerning notbeingServed.




                                                                                             33
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      10.
      0n page 3,zndparagraph of JpMorgan'sanswerto ourBriefsee appealcase 3D15-1672
      they adm itThatthey did nothave N OTE to show ow nership after w e have been asking Fom
      the beginning ofthis case to produce but instead says by OPERATION 0F LAW from the
      W AMU through theFDICtoJpMorganthey owntheNOTE

   A. SeeJpM organ v.W right4thDCA ofFlorida,JudgeO.H.Eaton Brevard


   B. CountyFlorida,Kim v.JpMorgan,Javaheriv.JpMorgan allsayyou



      can't0w n NOTE through Operation of Law


   D. The FDIC Rules say in the Purchase & Assum ption Agreem ent betw een the FDIC and
      JpMorgan on page 17 article 3 section 3.3 saysin orderfor JpMorgan to own a W AMU
      NOTE the FDIC m ust sign the NOTE to JpM organ w ho then m ustfile thatNOTE w ith the
      Clerk ofthe Courts not by Operation Of Law w hich w as created for the FDIC Gov. branch
      only notthe Banks



      0n item #2,. page.8,Appellees state thatappellants argum entconcerning Standing w as not
      a proper ground on w hich to oppose the issuance ofthe Certificate oftitle,butthe factis w e
      filed our Motion to Objectto Sale and prove standing was setfor hearing before Banks
      Motion to issuance ofthe titletheJudgejustczid them atthe same timeeven though our
      should have been heard first now they say it w as the w rong forum .W ell it w as also in
      Bankruptcy and should have not been heard at a)land Bank say our m otion w as m eritless
      in any eventbecause ofrockethearings never gave us a chance to show M errits w hich w as
      becausewewereneverlateonpaymentsandJpMorgandoesnotowntheNOTE!



    F.                                                                                             0n
    pg.9 second paragraph appellees say ittherefore necessarily follow s that ifan argum entas to the
                                                                                              34
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    asto thevalidity ofthe foreclosure judgmentcannotbe raised asa challenge to the sale,and it
    certainly cannotbe raised as a challenge to the m ere ''m inisterialact''ofissuing the subsequent
    certificateofiitle,buttheynevergaveusahearingnow thatthejudgerecusedherself.

   G. 0n page 10 second paragraph appellees state thatthe record does notdem onstrate that
      Marinpreservedhisrighttochallenge thepersonaljurisdiction ofthetrialcourtbytimely
      arguing a failure ofservice,ButM arin's argum ent asis w ellunderstood because now there
      is newly Found evidence because the Judge in the state court had kept the files in their
      office.After finding the docum ents itclearly show s thatw e did preserved it on record one
      monthafterjudgementSeeexhibit27

   H. Again here on page 10,marin apparentlyfiled an answertothecomplaintOn 05/04/2007
      yet fails to include the answ er in the record on appeal,appellant had asked for the note,
      called bank after seeing file w hile checking on azlother house.


       On page 11 they appelleessay properservicevrasgiven under section 48.031(1)(a),Fl.
      Statues,and that appellants do not even attem pt to dispute the affidavit of the process
      server ,but affidavit from tenant says as never served and no person by that nam e ever
      lived at1220 atthattim e orever see exhibit#38-39 the 1aw is law and the rules are the


   rules they can'tw ork one sided thisw hatthe crim inalw ant's is foryou to be rendered helpless
   w ith no w eapons to fight back againsttheir thievery so they can enforce the Am erican Black
   CodeoftheSouthrightafterCivilWarwhichsaidffXSlavesarenotallowedtoownPROPERTY,
   Meettogetherto Startand 0wn Businessor0W N W EAPONS(law)to Defend ourselvesgoogle
   this.TheBanksareusing Judgesto enforcetheirBLACK CODE on now BlacksandW hitesby
   asking you Judges to notfollow the law and rulesthatw ould PROTECT US.m aking the fight
   1op sided Protecting and Cheating for the BA NKS our hope is lost because the LAW clearly
   statesthatDefendants m ustbe NOTICED !


    J.lastparagraph pg.11,itsaysautomaticstay doesnotapply tothe issuance ofcertificate of
    title.Jpmorgan down played the fact that that they broke the law and ran over clyde
    M c hatters bankru tc callin it a m ere ''m inisterial task''on      .2 that does not violate an
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    autom atic stay In bankruptcy,butbankruptcy Stay stops a11action on Property,stay m ust be
    relievedby FederalbankruptcyJudgethat'styping)toseeifMcphatterhad intervened
    see exhibit#32 .Page 13 Iineslo-z4transcriptand seeBankruptcystaylaw 11USC 362(a)
  (.
   7).And thecoùrtviolated property ownerClyde Mcphatter's rightto use his bankruptcy to
   stop the transfer of the Title to his house even though ithas been show n in the docketon
   exhibit #29 ondates07/12/13thru 07/16/13 Mcphatterhad beengrantedtherightto

   interveneby Iudge Hubbard on occasionsforthesam qproperty see exhibit #zg.Attorney'sfor
   Appellee'shad neverfiled an AppealtothoseDecisionsby Judge Hubbard so therefore Clyde
   McphatterBankruptcy wasright.And Judge Areceserred when sheran overthe Bankruptcy
   and m ustbeoverturned because JudgeAreceshas no rightto run over Bankruptcy w herein w e
   tried to objectto Claim and amountowed and now theJudge hasrecused herselfto avoid the
   appearance ofim propriety exhibit#33.Only the FDIC RULES say Thatthe only way thatJPM
   can take over the Note is not by operation of law ,operation of law w as created by the united
   states Governm entusing the FDIC W hich is an insulance com pany to protectthe people so they
   w ouldn't have to do a run on the bank but if the bank failed they w ere insuredup to
   $100,000.00 by thepeoplesm oney from theTreasury Departm entw hich istax dollarsthe FDIC
   w as created to protectthem so they w ouldn'thave to do a runon the bank and they can gettheir
   m oney back and then the FDIC would be allow ed to actThrough operation oflaw asifthey are
   the bankthat's as ifthey are W AM U to be them by getting the note signed over to them so that
   they could sellthe assets freely w ithoutgoing through allofthe regular rules acting as ifthey
   arethebank(W AMU bank)andthenwhoevertheyselltheNoteto theyrecovertheirmoneyto
   give back to the people forvictim s to recover their m oney from the failed bank Then W AM U is
   out the w ay then w hoever they 'sold it to w ould have to then getThe note signedover to you
   from the FDIC according to the FDIC rule which lsthe Purchsae & Assum ption agreem entpage
   17.Article 3 sec.3.3 w here They m ust sign the Note over to the bank thatthey sold it to like
   'PM,JPM isnotdesignedbytheUSGov.Tohelpthepeoplethey aredesignedtomakemoney
   #
   and act as a bank they Cannot own Note through operation of law according to Kim v.
   JpMorgan SupremeCourtofMichigan andaccordingto certain rulesin thestateofFloridalike
   Florida Statute 87 w hich says the NOTE m ust signed over to you for you to ow n the N OTE.0.f
                                                                                               .



   whichJPM doesnothaveourNOTEsigned overtothem from theFDIC orW AMU and therefore
   has no standing to foreclose orEvloèfaW hen the Sherriffs com e theym ust have a copy ofthe
                                   .
                                                                                               36
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   signed NOTE which isnow a BOND so Sherriffsmusthavethe BOND thatisin JPM'Snamebut
   the BOND is notin JPM'Sname exhibit#7pg.l6-l8.W AMU mortgage passed the certificates
   2006 AR 12 has been desolved since 2009 and is no longer a trustand U.S Bank as Trustee
   cannotconducta law suitfor a trustthatno longerexist so the U.S.Bank w illbe breaking the
   law ifthey were conducting alaw suitora foreclosurein thenam eofa trustthatno longer
                                                                        -




   existalso W ashington m utualitsNelfis bankruptand w as already taken over by the FDIC itdoes
  not exist therefore they cannot conduct a foreclosure Case in the nam e of W ashington M utual
  BankFA.W eknow thatin theInterestofJusticeaJudgewould sayyou mustpayyourMortgage
  gnd the factisw ew e're paying ourM ortgageand afterIPM took oversentourm oneyback.So in
  the prom issory note w e prom ised to m ake fullpaym entbut w e never prom ised how w e w ould
  pay itback,w e could have paid them back by borrow ing the m oney from m y Grand Father or
  any other kind ofw ay so therefore w e're not responsible for the fact that they helped us pay
  them back by selling the note forus and securitizing the note and m aking m uch m ore m oney off
  ofw hat w e w ere supposed to pay back than w hat v,e ow ed therefore they have been paid and
  they can no longerask usforthem oney,exam pleyou buy a carfor$100,000 you m ake

   paym ents on a car up to $80,000,now you owe $20,000,you can't finishpaying,the bank
  Reposses the car,then the Bank sells the Car for $80,000 the bank is supposed to take their
  $.
   7-0,000 and give u back the $60,000 asper FederalLaw TILA.So now back to ourlpMorgan
  case.0urNote is.
                 in a Bundle of400 other Notes converted into a Bond and is now trading on the
  marketfrom 09/2006-01/2016 and made $1.7 billion divided by 400 Notes=they made over
  four m illion w hich is overtw ice w hatthe 1.9m il.w e ow e.This w as dope offofthe 404 notes that
  w ere packagedand securitized in 2006 and they collected offofthe insurance and they collected
  offofour paym ents and the lRS gave them a w rite offin the form ofcash so they haye been w ell
                                                                                        -



  $700 billion bailoutthey've been wellcom pensated coinpensated even though they actlike they
  #re the Dam sel in distress and then they got a $700 billion bailout they've been well
  compensated they arenottheDamselin distresswethepeople (HomeOwners)are.And trying
  to m ake uslook like the crim inalw hen they're the ones w ho are the crim inals w ho m ade the
   m oney off of our signature and note.After the CivilW ar the now EX SLAVE M A STERS ofthe
  South in Am erica passed a Law called the Am erican Black Code ofthe South.ilere are Som e ofthe
  excerpts,A.Niggerscannot0W N PROPERTY (soJPM financersofSlavery seegoogle,canwithout
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Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 38 of 233




  Standing justtake ourproperty). B.NIGGERS ARE N0T ALLOW ED T0 BE A W ITTNESS 0R
  TESTIFY IN COURT AGAINST W HITES (likeourAFFIDAVITSofallofourW itnessesofallofthe
  atrocities the Defendants have done to us is considered frivolous and futile,so the Defendants
  can break a1l law s to destroy us even using M CISM and open Police Abuse and Robbery and
  now accuse us ofdoing ofw hatthey have done W rong.Revelations 12:10.And hold them selves
  not guilty. Zacheriah 11:5 says Oppressors killus and hold them selves not Guilty.C.NIGGERS
  ARE N0T ALLOW ED T0 HAVE GUNS T0 PROTECT THEMSELVES (like Shapiro,Fishman &
  Gach'e asked the Judge to take away our rightto defend ourselves PR0 SE so thatonly the
  Criminalsand Vampireshaveteeth (fangs)and bullets(weapons)and canjustkilluswhilewe
  are defenseless to PR0 SE defend ourselves. See Google or Bing RULES AND LAW S 0F THE
  LOUSIANA BLACK CO DE 0F TH E SOUTH.See exhibit #34 or w w w ,Binp com Tàe thinys that
  weredoneto usisabsolutelvinhum anandproqf&'2Jêweare-
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   and thesad thing isthatWhitePeople(Gentilesma Brothers)arebeing donethesam eway
      (ReverseDiscriminationk.wehave absolutelvnorightsorhope- for.
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      sons ofPerdition 2Thess.21-11 Lawvers (Ishm ael.Canaan & Ham aIlofthem aren't
       Evilbutm ustRepentto beSavedlLUKE 11:42-54.Ifvourparents were treated like thev
       did us,
                                  PR AYER


            W HEREFORE,Plaintiffrequestsjudgmentasfollows:

   1.Thatthiscourtissue an Orderto Show Cause and,aftera hearing,issue a

   Temporary Restraining OrderandPreliminaryInjunctionrestrainingDefendants,
   and each ofthem ,during the pendency ofthisaction,from continuing w ith their

   effortsto conducta Trustee'sSale ofthe Property.

   2.Thatforeclosure ofthe Property be declared Illegaland that

   Defendantsbeforeverenjoinedand restrainedfrom sellingtheProperty or
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  attem pting to sellitorcausing itto be sold,eitherunderpow erofsale pursuantto

  trustdeed orby foreclosure action,and from posting,publishing,orrecording any

  notice ofdefaultornotice oftrustee's sale contrary to state orfederallaw .

  3.Thatthe underlying loan transaction be declared void as a resultof

  D efendant's and W aM u'sm isrepresentations,fraud,concealm ent,and predatory

  loan practices..

  4.ThatDefendantsm ake restitution to Plaintiffaccording to proof.

  5.ForajudgmentdeterminingthatPlaintiffistheownerinfeesimpleofthe
  Property againstthe adverse claim s ofDefendants and thatD efendantshave no

  interestin the property adverse to Plaintiff

  6.Fordam agesin an amountof$8,000,000.00.
  7.Forcosts ofjuitand reasonable fees.

   8.Forany and allotherand furtherreliefthatM ay bejustin thismatter.
  TheStatecourtisparticipatingirihelpingtheBank (JpMorgan)todefeatPlaintiffs.The
   ChiefJudgesaidifwewantalonghearingweshouldgfltittoproveourCase,andnot
   be forced to into a rocketdocketw hich is scheduled to lastonly 5 m inutes.


   IHEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING W AS SERVED BY
       US MAIL TQ:Julie Herzlich,Esq.F1.Bar#9459 ofSHAPIRO,FISHMAN AND GACH'E,LLP
       Attorneys for plaintiff,2424 N orth Fed.Highw ay Ste.360 Boca Raton,Fl.33431. Ph:561-
       998-6700




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                                                     KURT M ARIN
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Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 42 of 233
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               CITY OF NORTH MIAMI BEACH, MrKMI-nAnE COUNTY, FLORIDA
                              CODE COMPLIANCE DIVISION
                        N O T I C E.   O F   V I o L A T I O p

                                                                 Date: 02/26/2015
                                                       Folio : c7-Q2I0-00I-:080
                                                       Complaintz 15:226-34
                                                       Case        156696
       MAURICE SYMONETTE
       CLYDE MC PHATTER
       3320 NE I65 STREET
       NORTH MIAMI BEACH, FL 33160

    PROPERTY ADDRESS: 3320 NE l65 ST
                      NORTH MTAMT BEACH, FL 33162

    CODE SECTION VIOLATED : 14-1
        ILLEGAT. CONSTRUCTION

    DESCRIPTION OF VIOLATION :.
        ILLROAT. CONSTRUCTION 0R FAILURZ TO OnepnRTR CONSTRUCTION
        IN PROGRIBS.

    WHAT YOU MUST DO TO CORRECT THIS VIOLATION AND TIME RPAMR:
        STOP ALL WORK: OBTAIN REQUIRED PRPMTTS, PAY ALL APPLICABLM
        FEXS AND PASE ALL PIFAL INSPMCTIONS.
        AS PER BVII-ISQUSC
        M PM M AYTM 8-5 (A)(2). 8-5(2) (4). 8-5(B)(2)(V). 8-5(B) (2)
        (VI). 8-S (B)(Q)(= 1): m 8-5 (p) (3) (I) 0F TEM M W -DM S
        CO=    OD T- C, 07-147, UNSAF? STRUCM RS .
        TEXS STRUM  R IB CONSIDU M UFSM E DV TO TM IX CK OF
        ELKM TCIW OR POTABLE WATM TO TM H0M . ILLM AT.
        = CTRICM Pm    œ   WATR SR VICM.
        ***AS oF 5/16/2913, MM13-377 WAS ISSU/D FOR HINBTALL
        KXTERIOR DISTRIBUTION PhukT.e RIPAIR MMTER CAN, UpnpAn/
        GROUNDING****
        ***AS OF 5/30/2013, PRPMTT /M13-377 WAS FINAL***
        ***AS 0F 2/26/2015, VERIFIMD NO WATMR S/RVICE TO PROPMRTY***

    COMPLTAHCE DATE : Mn* 28. 2015
    Please correct this violation by the compliance date .   Failure to correct
    the violation may result in ;

    1) A hearing before a Code Enforcement Board Or Special Magistrate who has
       the authority to assess fines and lien the property, OR;
    2) A citation may be issued which carries a fine of $ S0 for the first
       offense, $100 for the second offense and $250 for the third and
      subsequent offenses .


   If the violation is corrected before the compiiance date, please contact
   the Compliance Officer to reinspect the property.

   Violation issued by:
        Code compliance , IJ0sQ NB 1: Ave, NMB, 305-948-2964 , FKK 305-787-6012
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           I ALFRED DAVISWM THEIRASAWITNESSON 01/31/2042WHEN MAURICE
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           I JAMESBUCKMAN WASTHEIRASAW ITNESSON 01/31/2012W HEN MAURICE
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    ON THE DATE OF FEB.3 2016 IM AURICE SYM ONETW W AS AT THE DADECOUNTY COURT HOUSE

     ON FG GLER STREET W HEN AND THE CLERKTOLD M ETHATTHE FILESTHAT BELONG TO

     CASE;07-012402CA23,FORECLOSURE CM E HAD BEEN DESTROYED.




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                                                               ADJUSTA BL          NOTE
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        THIS NOTE CO NTAINS PROVISIONS ALLOW ING FOR GHANGES IN MY INTEREST RATE
        AND MY MO NTHLY PAYMENT.MY MONTHLY M YMENT INCREASES W ILL HAVE LIM ITS
        W HICH COULD RESULT IN THE PRINCIPAL AMOUNT l MUST REPAY BEING LM GER
        THAN THE AM OUNT IORIG INALLY BORROW ED,BUT NOT MORE THAN      110%   OF
        THE ORIGINALAMOUNT (OR $               2,398.0c0.0n ).MY INTEREST RATE CAN NEVER
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        PAYM ENT MAY BE DUE AT MATURIW .
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   lX0f0St,to the oM er0fthe Lender.The Lende ls WASH INOTON MUTUAL BANK , FA               -.
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   Lenderma# transferthis Note.The Lenderoranybtp who takesthis Note bytransferand whoisenti
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   toreceivepaymentsunderthisNoteiscalle;the'Notbldqtj-ep'.      -''''-
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    Note,Iwillpay interestata yearly rate of 7.e4s %.Thereaqeruntilthe firs'
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         (A)Time and Place ofPayments
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    Principal and interest paym ents only, although other charges such as taxes, insurance and/or late
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     SEPTEMBER.2006               ,lwillmakethese paymentsevefy monthuntilIhavejald alIOfthe
    principaland interestand any otherchargesdescribed below thatlmay owe underthls Note.Each
    monthly paymentwillbe applled to interestbefore Principal.If,on AUGUET n1, 2036                  L. I
    still owe am ounts under this Note, Iwillpay those am ounts in fullon that date,lhich is called tne
    ''M aturity Datel.
         lwillmake my monthly payments at P .0 . BOX 78 148 PHOEN IX , AZ 850:2-8 148
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                                      , Orat2 di
                                               fferentplace ifrequired by the Note Holder.
         (B)AmountofMyInitialMonthlyPaymenl
         Each of my monthly paym ents untilthe first Paym entChange Date willbe in the amountof U.S.
    $      7.:64.8g ,unlessadjustedatanearliertimeunderSedion4(H)ofthisNote.



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                                                                                            2:10215659
      (
      C)PZ
      VY  YIt
         moRIWI
             hlyRgCI
                  ayWRQCS
                    mentWillbe reGomputed,according to Sedions4(E)(F)(G)(H)and (l)OfthisNotejto
   X fICCtOhRX CS IR $he PNDCiPZIbalancee and interestrate that1mtlstpay.The Note HolderwillUCICSZIRC
   mx 0PW ifltpfost Fzt6 Ztld thO Changed am otlntOfmy m onthly paym entin aco fdanGe With Sedion 4 Y
   this NOtC.
   4. INTEREBT RATE AND MONTHLY PAYM ENT GHANGES
      (A)ChangeDates                              fudher change on the             1ST        day of
       The interest rate       hrpill X # m a#              mon  t
                                                                 h ther
                                                                      eaft
                                                                         er  .Each such day i
                                                                                            s called a
     SEPTEMBER : 2006                 ,and on thatday evel
   ''Change Date''
       (R)
       O!1Th @ Ind@x
          OZCh  Change Date,m y interestfate Wilfbe based On an Index.The î'lndexl
                                                                                 'is the Twelve-Month
   XMefAqendotermined aSSelfofth below,oftheannualyieldsonadivelytraded Uni
                                                                          ted StatesTreasul
   Secunties adjusted to a constantmaturity ofoneyearaspublished bytheFederalReserve Boad inthe
   FOdPFRIReserve Statistio lRelease entitled 'Seleded InterestRates(H.15)''(the 'MonthlyYields').The
   XWCIVP-MORZ Averagf IS dotorminod W adding togothorthO Monthly Yields fOrthe mos't recently
   avai
      lablemos
      The  twel
             'tve mont
               recentlhs and
                      ndex   divi
                           figureding by
                                  avai   12.
                                      lable as of15 days before each interestrate Change Date is called
   the ''Currentlndex''.Ifthe lndex is no Iongeravailable,the Note Holderwillchoose a new index which is
   based upon comparable inform ation.The Note Hol   derwillgive me notice ofthis choice.
       (C)Calculation ofChanges
       Before each Change Date, the Note Holder will calculate m y new interest rate by adding
     THREE AND 213/1000                                                   perGentage     goints
      3.213 % l'Mamin''
                      lto the CurrentIndex.The Note Holderwillthen round the resultofthisaddi
                                                                                            tion
    tothe nearestone-thousandth ofone percentage point(0.001%).Subjed to the limits s'
                                                                                     tated in Sedion
    4(D)below !this rounded amountwillbe mynew interestrate untilthe nextChange Date.ln theeventa
    new Index Isselected,pufsuantto paragraph 4(B),anew Marginwillbe determined.The new Maminwill
    be the difference between the average ofthe old Index forthe mostrecentthree yearperiod which ends
    on the lastdate the lndex was available plus the Margin on the Ias'tdate the 0ld Index was available and
    the average ofthe new lndex forthe moslrecentthree yearperiod which ends onthatdate (orifn0t
    @vailable forsuch three yearperiod,forsuchtime as itis available).This difference willbe rounded to
    the nexthigher1/8 of1% .
        (D)InterestRateLimit
        My interest rate will never be greater than TEN AND 5 13 /1000
                                                         -

    percentage points 1c.513 To('Cap'),exGeptthatfollowing anysale ortransferofthepropertywhich
    SecuresrepaymentofthisNoteafterthefirstinterestrateChanjeDate,the maximum interestratewill
    b
     e the hi
            gherofthe Cap or5 percentage points greaterthan the lnterestrate in effectatthe tim e ofsuch
    sale ortransfer.
        (E)PaymentChange Dates
        Effed ive evefy year com mencing     SEPTEMBER 01: 2007                         ,8I1d OI1 the Sam e
    dateeach twelqhmonth thereafterCpaymentChange Date''),the Note Holderwilldeterminethe amount
    ofthe monthly paymentthatwould besufficientto repaythe projeded principalbalance lam expeded to
    0we as of the Paym ent Change Date in fullon the Maturity Date atthe interestrate in effed 45 days
    priorto the Paym entChange Date in substantially equalpayments. The resultofthis oaloulation is the
    new amountofmymonthl   ypayment,subjed toSection4(F)below,and lwillmakepaymentsinthenew
    am ount untilthe nextPayment Change Date unless my payments are changed earllerunder Sedion
    4(H)ofthis Note.
       (F)MonthlyPaymentLimitations
       UnlessSedion4(H)and 4(1)below apply,the amountofmynew monthlypayment,beginningwi
                                                                                      th a
    Payment Change Date,willbe lim ited to 7 1/204 more orless than the am ount Ihave been paying.This
    paymentCap applies only to the principalpaymentand does notapply to any escrow paymentsLender
    m ay require underthe Security lnstrum ent.
    32281(11.-
             01)                                   Page2of6
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                                                                       Amortization or Accelerated
                   in My Unpaid Pfincipal Due to Negatlve
    (Yi
     G)
      nce
         Ch anges
 Am odizalimy
           on paym ent amotlnt Changes IeSS frequently than the interest rate and since the monthly
 paymentis subjed to the paymentlimitationsd/scribed in Section 4(F),my monthly paymentCould be
 leK orgreaterthanthe amsuntofthe interestportlonofthemonthly paymentthatwotlld besufficlentto
 rex ythe unpaid PrinçipalI0we atthe mûnlhly paymentdateinfullonthe maturitydate insubstantially
 eqtlalpayments.F0reach monlhlhatthe monthly paymentis lessthantheinterestpoftion.the Note
 Hol def wlllsubtrad the monthly payment from the amount of the interest poftion and Willad the
 difference to my tlnpaid Principal,and interestwillaccrue on the am ountofthis difference atthe cuœent
 interest rate.FOr each m onth thatthe monthly payment is greaterthan the intetest portion,the Note
  Holderwillapply the excesstowards a principalreduction ofthe Note.
     (H)Limiton M#Unpaid Principal;lncreased Monthly Payment
     VY tlnjqid principalcan neverexceed a maximtlm amotlnteqtlalto 110%                   Ofthe prinçipal
  amtm nt Onglnalborrowed.In the event my unpaid Principalwould othefwise exceed that 110% -
  limitation. l will.begin paying a new monthly payment until the next Payment Chanje Date
  notwithstanding the 7 1/2% annualpaymentincrease lim itation.The new monthly paym ent wlllbe an
  Qmotlr!tWhich Would be Stlfficientto repay m y then unpaid Principalin fullon the m aturity date at my
  interestrate in effed the month priorto the paym entdue date in substantially equalpaym ents.
      (l)Requir*d FullMonlhly Payment due date ofthe firstm onthly payment.rand
                                                                            egaron that
                                                                                d to thesame
                                                                                         paymday
                                                                                             ent
      On the F lFTH anniversary ofthe
  evefl FlFTH yearthereafter,themonthly paymentwillbe adjusted without
   capllmitationin Sedion 4(F).
      (J)Not
      The     iceeHol
            Not   ofCl  willdeliveror mailto me a notice ofany changes in the am ountof m y monthly
                      langes
                    der
   paym ent before the effective date ofany cnange.The notice willInclude infgrm ation required by Iaw to
   be given me and also the title and telephone number ofa peoon who willanswerany question lm ay
   have regarding the notice.
       (K)
       If  Fai
         f0r lurr
            an# eetoo
                  asMak etAd
                     n No   jusde
                          e Hol tmenelstn make an adjustmentto the interes'
                                 rfai                                     trate orpaymentamountas
   described in this Note, regafdless of any notice requirement, l agree that Note Holder m ay, upofl
   discovery ofsuch failtlre,then make the adjustmentasiftheyhad been made on time.Ialso agree not
   to hold Note Holderresponsible forany dam ages to m e which m ay resultfrom Note Holder's failure to
   makethe adjustmentandto Ietthe Note Holdeq atitsoption,applyanyexcessmonieswhich Imay have
   paid to padialPrepaymentofunpaid Principal.
   5. BO   RROW
        lhave  theER'S tRI
                   righ   GHT
                         to    TO
                            m ake pPREPAY
                                   aym ents of Principalat any tim e before they are due.A payment of
   PrinGlpalOnly Is known as a 'Prepaymenr'.W hen lm ake a Prepayment,lwilltellthe Note Hol    der in
   writing that Iam doing so.lm ay notdesignate a payment as a Prepaym entif lhave not m ade aI1the
    mon1thl
          myay
             payments
               make adu elpr
                      ful unepayment
                            derthe Not e.paftialprepayments withoutpaying any prepaym ent cham e.The
                                      or
    Note Holderwillapply alIof my prepayments to reduce the amount of principalthat Iowe underthis
    Note.However,the Note Holderm ay apply my Prepaym entto the accrtled and unpaid interestOn the
    Prepayment am ount,before applying m y Prepaymentto reduce the principalam ount ofthe Note.If I
    m ake a partialprepaym ent,there wiljbe no Ghanges in the due dates ofm y m onthly payments unless
    the Note Holderagrees in writing to those changes.My paftialprepayment may have the effed of
    rodtldng the zmount0fmy monthly payments,btltonly afterthe firstPaymenlGhange Date following
    m y partialPrepaym ent. However,any redtldion due to my paftial Prepaym ent m ay be offset by an
    interestrate increase.
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      the intCHARGES
             efestOfOtherloan Dharges Colleded Ofto be Colleded in Gonnedlon With thislOaf1QXCPM the
     ittcd limits,then;(a)anyStlfh loan Ceharge Shallbe reduced bythe amountneœ ssarytoreducethe
 96fm                Xed limit;and (b)any sums already Golleded from me which exGeeded permitted
  lim itsWillbe feftlnded to m e.The Note Holdermay choose tû make this refund by reducing the Pfincipal                     *
  ChaN
  lOWOeUn todef
             thethper m e Ofby making a dired paymentto me.Ifa refund feduc'es Princix l,the redudion
                  isNot
      MiSC*I
  Willbe treatIed
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                          tialPfundeM and thatthe Note Holderwillalso charge a retum item charge in the
  event a paym entthatlmake in connedion with repaymentofthis loan i     s nothonored by the financial
  inxitotiDflON Which ltISdrawn.Thesurrentf9e is$ 16.bô             .LenderreseWesthe rightto Changethe
  fee from timetotimewlthoutnotiGeexœ ptasmaybe requiredW IaW.
  T. BO RROW ER'B FAILURE TO M Y M REQUIRED
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                           Overduerecei
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                                            he full amount of any monthly paym ent by the end of
   FlFTEEN       calendar days afterthe date R is due,lwillpay a late charge to the Note Holder.The
  am otlntOfthe chafge willbe     s .nnc % of my overdue paymentofPrincipaland interes'   t.Iwillpay
   this Iate charge prom ptly butonly once ofeach late payment.
        lfldo notpay the fullam ountofeach m onthly paymentonthe date itis dtle,lwillbe in defaul
         (B)Default                                                                             t.

       (lC)
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                ce ofault,
                     Def  the
                         ault Note Holdermay send m e a written notice telling m e thatlf ldo notpay the
    Qvefdue amountby a cedain date,the Note Holdermay require m e to pay im mediately the fellam ount
    QfPrincipalwhich has notbeen paid and aIIthe interestthatIowe on thatam ount.Thatdate mus'tbe at
    Ieast10 days afterthe date onwhichthe notice isdelivered ormailed to me (or,ifthe FederalNational
    ModgageAssociationortheFederalHomeLoanMoftgajeCorqorationbuysallorpadofLender'srights
    underthe Security lnstfum ent,in which casethe notice wlllspeclfy a date.notIess than 30 days from the

    datethenoticeisgiventhe Borrower).
        Even
        (D)NoifW
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                         e when Hol
                           Note Iamder
                                     in default,the Note Holderdoes n0trequire m e to pay im mediately in
    fullas described above,the Note Holderwillstillhave the rightto do so ifIam in defaultata Iatertim e.
          (E)
          If  Payment
            the       of
                Note Hol Not
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     8. GI  es
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                     NOTI  Law requires a differentmethod,any notice thatmustbe given to me underthis
     Note willbe given by delivering itorby m ailing itby fiotclass mailto me at1he Propedy Address above
     orata differentaddress ifigive the Note Holdera notioe ofm y di  fferentaddress.
        Any notice lhatm us'tbe given to the Note Holderunderthis Note willbe given by m ailing itby first
     classmailtothe Ncte Holderatthe addressstated in3ection3(A)above oratadifferentaddressi
                                                                                           fIam
     given a notice ofthatdifferentaddress.
     9. OIfBLIGATI
            mor     ONS
                e than   OF
                       one   PERSONS
                           per son si   UNDER
                                    gns t        THI
                                         his Note,  S NOTE
                                                  each person is fully and personally obligated to keep aIlof
     the prom ises made in this Note,includlng the prom ise to paythe fullamountowed.Any peGon who is a
      guarantor,surety,orendofserofthis Note is also Qbligated to do these things.Any person who take,s
      nverthese obligations,including the obligations ofa guarantor,surety.orendorserofthis Note,is aiso
      obligated to keep allofthe promises madelnthisNote.TheNoteHoldermayenforceitsrightsunderthis
      NoteagalnsteachpersonindividuallyoragainstaIIofustogether.Thi
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      requiredtopayalIoftheamountsowedunderthisNote.                                         y,
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     l80d
  10.W    any Othef person Wh0 haS Obligations underthis Note waive the rights Ofpresentment and
       AIVERS
    tice Ofdishonor.'Presentment''meansthe rijhtto requirethe Note Holderto demand paymentOf
  r1O           WNotice Of Dishonoc'moans the rlghtto require the Note Holderto give notice to dher
  am otlnts due.
  POOOnSthatam ountsdtle have nOtbeen paid.
  11.UNI
      ThisFORM   SECURED
                 s a uniformNOTE
            Note i            instrument with limited variations in some jurisdictions.ln addition to the
   rotedionsgiventotheNoteHolderunderthisNote,aModgage.Deed ofTrustorSecurityDeed(the
  K
  Psecurity Instrument''),datedthe Samedate asthisNote,protedsthe Note Holderfrom possible IOSSeS
  Which might result i
                     f Ido not keep the promises which Im ake in this Note.ThatSecuri
                                                                                    ty Instnlment
  describeshow and underwbatconditionsImayberequired to rrake immediate paymentinfullofaII
  am fmnts l0we underthis Note.Som e ofthoseconditions are descnbed as follows!
        Transferofthe Propedy ora BeneficialInterestin Borrower.
               IfaIIorany partofthe Propedy orany Interestin the Propedy is sold ortransferred (orifa
            beneficialinterestin Borroweris sold ortransferred and Borrowerisnota naturalpersonlwithout
            Lender'spriorwrittenconsent,LendermayregtlireimmediatepaymentinftlllofaIIsumsSeœred
            W this SecurityInstrument.However,thisoptlonshallnotbe exercised by Lenderifsuchexercise
            is prohibited by Applicable Law.Lenderalso shallnotexercise this option if:(a)the requestto
            assume is made after0ne yearfollowing recordation ofthe Deed ofTrust,(b)Borrowercausesto
            be Subm i
                    tted to Lenderinform ation required by Lenderto evaluate the intended transferee as ifa
            new Ioanwerebeinj madetothetransferee;and(c)LenderreasonablydeterminesthatLender's
            Security willnotbe lm paired by the loan assum ption and thatthe risk ofa breach ofany covenant
            Or agreem ent in this Security lnstrum ent or otherobligations related to the Note orother Ioan
            document is acceptable to Lender, (d) Assuming party executes Assumption Agreement
            ax eptable to Lenderatits sole choice and discretion,which Agreem ent may incltlde an increase
            to Capassetforth below and (e)paymentofAssumptionFee i
                                                                 freqtlested byLender.
                TO the extent perm itted by Applicable Law, Lender m ay charge a reasonable fee as a
             condition to Lender's consentto the loan assum ption and Lendermay increase the maxim um rate
             lim itto the higherofthe Cap or5 percentage points greaterthan the interestrate in effectatthe
             time ofthetransfer.Lendermayal
                                          sorequirethetransfereetosignanassumgtionagreementthat
             is acceptable to Lenderand thatobli  gates the transferee to keep allthe prom l
                                                                                           ses and agreements
             m ade in the Note and in this Security lnstrum ent.Borrowerwillcontinue to be obligated underthe
              Note and this Security Instrum entunless Lenderhas entered into a written AssumptionAgreem ent
          withI
              tfransf
                    ereeexer
                 Lender  andcifses
                               ormal ly
                                   this ropt
                                         eleases  Borrower
                                            ion,Lepdef     .lgive Borrower notice Ofacceleration.The notice
                                                         shal
          shallprovide a period ofnotIessthan 30 days from the date the notice is given in accordance with
          Sedion 15 within which Borrower must pay aIl sums secured by this Security Instrum ent. lf
          Borrower fails to pay these sums prior to the expiration ofthis period,Lender m ay invoke any
          rem edies perm itted by thls Sbctlrity Instrum entwithoutfurthernotice ordemand On Bofrower.
    12. I
        MI
        n SCELM
           the eventNEO
                     theUS
                         Not PROVI  SIONS
                             e Holder   atany tim e discovers thatthis Note orthe Security Instrum enlorany
    otherdocum ent related to this Ioan called colledively the 'Loan Docum entss''contains an errorwhlch
    was caused by a clericalorm inistenal ! mi  stake.calculation error,com putererror.printing errororsim ilar
        error(colledively'Errors'
                                ),Iagree,upon noticefrom the Note Holder,to reexecute anyLoanDocuments
        that are necessary to corred any such Errors and Ialso agree that Iwill not hold the Note Holder
        responsible forany dam age to m e which m ay resultfrom any stlch Errors.
            Ifany ofthe Loan Docum ents are lost,stolen,mutilated ordestroyed and the Note Holderdelivers to
        m e an indemnification in my favor,signed by the Note Holder,then lwillsign and deliverto the Note
         Holdera Loan Document i  denticalin form and contentwhich willhave the effectofthe originalforalI

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  Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 64 of 233
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      * - proa * addressis3320 NE 165 STREET NORTH MI& IBEAGH.
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6.     Based on the Inform ation Iw as provided, KurtMarlnaigned a Prom io olY Note'in favor-
        A nk Home Loan on Julv 14                                                               ofFe rnlM vl
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       2 e basis ofthe Identlscation ofLoan in W AMU MORTGAGE PASS-THROUGH CERTIFICATE TRUST
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       OwnerOccupied;ZipG de:33160:TypeLoan:30YeafFlxedRaleMortgage                .




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  9.    Kud Marin Note was split-apartorfracti
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  10. Pursuantto my extensive research. Ihave f   oundthe LoaninTW ENW FOUR (zglclassesofthe
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  11. Below are the classesthe W AM U MORTGAGE PASS THROUGH CERTIFICATE has been àwitec
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  12. There are a totalofTw ETYFouR(29)c/aases in the W AMU MORTGAG E PASS THROUGH
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20. C/refulreview and examination reveals thatthiswas a securitized Ioan. n e Assignmentof
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           14      in a -- in a = ch Iarger offiœ % an < n@ .
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                         Q        Okay.
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          16            A         So I don 't know aay apeeifi: *                -s p but it
          17      wouid be so-- ae whots in a control e/sitioa An khe
          18      bnnv, I l-xgine .
          19            Q         Okay.' The -- are you awarehof
                                                             i.
                                                                 any type of
          20      schedule of loans that would have beeà created to
          21      represent the           either the loans that were asset loans
          22      or the loans that were serviced by WANU? Are you                             was
          23      the        do you know if there is a schedule or database of
          24      loans like that?
          25                   MS. CREWS: Object to form.

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                9           Q    (By Ms. Mack) ûo you -- dd?you know ho*
               lo   the -- well, okay. If -- for purposià of thia questlon,
               zz   zet's assuse that the wazsome zoan wkx
                                                         , an asset o, waxu.
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               12   Okay?                                         )
               13        A      okay .
               14        Q      And kf lt waa asaumed by J'Norgan Chaae
               15   because of tbe purchase and assumptio:, how would you be
               16   able to tell what the book value was èt the tlme --
                                MS. CREWS: Object to the f4rm.
               18        Q      (By Ms. Mack)         of the clssure of the bank,
                                                                  (
               19   WM U?                                         :.
               20        *      Por khe t-24vidual loan 1**,'1*
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               21        Q      Yes .
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               22        A      I -- *h- on---r is I doa't ynow àf +h->. was
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                10                  Q          This would be actually specirfically throuqh
                11           the FDIC and would contatn the langua#;.re that is àn 3.3.
                12                  A      Mo .
                13                         MS . CREWS: Object to form .
                14                  A      I havoa 't a--n the doq. - --t :

                15                         MS- MACK: Well. I'm clarifking this and   '
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                16                  talkinq about certaln documents-
                                    Q          (By Ms. Mack) So you just (n
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                18           think that ls somethinq that was perfpqrmed
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                19                         MS. cREWs: Object to form.
                20                  Q      (By Ms. Mack) -- as far as ytransferring the
                21           propertles fn the manner indicated in g
                                                                   the purchase and
                22           assumption agreement?
                23                         Ms. CREWS: Object to form.
                24               A         R au . I          I doa't kaow of o y r- â.r --at or
                25       px œ sa % at was follo- A a gu e ng *.h@ 1= -                                * ia o is


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                      PURCHASE AND ASSUM M ON AGREEM ENT
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                    FEDEQAI,DEPOSIT INSURANCE CORPOM TION,
                          RecejverofW ashington M utualBank
                                    Hendersow NV
                                         and
                   JpM ou anChaeBanh NationalAssodation.Seattle,W A
                                       DATED AS OF
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       may beagre u> n bytheReceivernnzltheAs- ming Bnnk. n eReceiver,in its
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        scretion,may extend theSeë ementDate.''
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                    D efendantts)

          1,q'illiam Paatalo,being srstduly sw orn.hereby declare as follow s.
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                  Iam an O regon licensed private investigatorunderORS 703.430.and

   havem etthe necessary requirem entsunderORS 703.415.M y Oregon PSID

   numberis49411.




   1.AffidavitofW illiam J.Paatalo
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                1am overthe
                          f
                            age ofeighteen years.am ofsound m ind-having never
  becn convicted ofa felony ora erim eormoraltum itude.Iam com peten!in aII

  respectsto m akethisdeclaration,and ifcalled to testify.Icould and would


  competentlytestilà'thereto.
                lhave 17 yearscom bined experience in law entbrcem entand the

  mortgageindustry.M yResume(*%CV'9)isattachedasitExhibitl.'*                *
                 Ihave worked exclusively'overthe Iast6 -yearsinvestigating
         4.
  foreclosure fkaud,chain oftitle.and issuesrelated to the securitizalion of

  residentialand com mercialm ortgage loans.and have spentnearly 10,000 hours

   conducting investigatory research specifically related to m ortgage sectlritization


   and chain oftitle analysis.
                Ihave performed such analyses forresidentialrealestate located in
         5.
   m any states,including butnotIim ited to,W ashington,OregonsCalifbm ia,

   Arizona,Nevada.Florida,Ohio.Texas,M ontana,New Jersey.and severalother


   states.
           6.     A s ofthis date.lhave conducted close to 900 investigations in this


   ared.
                  A sa resultofmy education and experience Iam fam iliarwith and

    havesuffcienttraining and expertiseto qualify asan experq and Ihavetestified as




    2.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 93 of 233




   anexpellin stateand federaljudicialproceedingsin variousjurisdictions

   throughoutthe United States.
           8.       M ostrecently,Iwasadm itted to testify atlrialasan expertwitnesson

   February 25,2015 in the follow ing Califom ia FederalBankruptcy'case:

   Rivel-a v.D eutsche Bank S t7&t)??J/ Tl-ltub'tCb??v.
                                                      7J?71'.&.N.BK Cbl/r?./vt'
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   Oqkland 7 Ca--
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                  w /Vf?.14-54l#JrA' /F/F l3.


          9. som e specilic areas ofm y exptl-tise thathave been deem ed qualiGed by'

   the courtsare as follows:
       * Know ledge ofthe*%pooling & Servicing Agreem ents''and variousSecurities
          & Exchange Com m ission (SEC )Glings associated uzith m ongage-backed
          sectlritized trusts.
       * Specitic langtlage in the PSA 'Sand Prospectus/ProspectusSupplelnents
          involving securitization participants-key datesswtservicerA dvances-'-
          sourcesofthird-party paym entssand transferand conveyancing
          requirem ent.sto nam e a tkw'.
      * Knovvledge and use.aswellasthe intel-pretation of:tM BS Data''showing
          wwadvance paym ents''m ade to thecertiticateholders/investors.aswellas
          other inform ation speciflc to accotlntingachain oftitle,and other aspects of
          securitization.
      * C hain ofTitle analyses based upon publicly recorded docum ents.docum ents
          produced in discovery,and documentsattached asexhibitsto foreclosure
          com plaints.D ocum entstypically include m ortgages.deedsoftrust,
          assignm ents-notes,and allonges'
                                         .in addition to docum entst5led under
          penalty'ofperjury withthe SEC.
   3.AfidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 94 of 233




            l0. In developing theopinionsin thisaffidavitaIrelied upon doculnents

    tiledunderpenalty ofperjury withtheU.S.Securities& ExchangeComlnission
   (SEC).ptlblicly recorded doculnentsintheFederalCourt'sPACER System.
   documentsprovided by the Plaintifqs)in thisaction.and documentsfrom past

   investigations.

           1l.      Iwasretained by M aurice Symonette to review'thechain oftitle

   and securitization ofthe M arin M ortgageexectlted w ith Kûq/ashington Nluttlal

   Bank,F.A .M dated July l4.2006.Iw as asked to pointoutany discrepanciesor

   issues of factregarding the chain oftitle and the securitization ofthe loan.

           19        The follow ing docum ents were inspected and/orm arked as

   exh1
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        -ts.
           -

       * Com plaintfiled April26.2007 CaseNo.2007-012402-CA-01

       . W ashington M utualBank'sM otion forSum mary Judgmentllled M ay 20.

           2009.

       * FinalJudgment5led July 23,2009

     Exhibit2 - JpM organ Chase wtpress Release'-Septem ber25,C008.
     Exhibit3- Deposition Transcript- CrystalDavis
     Exhibit4 - CrystalDavisDeposition Exhibit- Private lnvestorCodes
     Exhibit5 - ::3270 Explorer:Loan TransferH istory''screenshot- Kelle).
                                                                         '


   4.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 95 of 233




     Exhiblt6 - Chase ètlnvestor''disclosure Ietters
     Exhibit7- Unrelated iKAssignmentofM ortgage',recorded l2/14/2007 -

   M iamiDadeCountyaFL

     Exhibit8 -A ffiliated BusinessDisclosure
     Exhibit9 - W ashington M utualBank.F.A .- Board ofD irectors Resolution -

   l/25/2005.
          13. Having review ed theabove docum ents,my professionalopinionsare


   as foIIow s:

              a. The Plaintiffin Case No.2007-0l2402-CA-0l(G*h/ashington

   M utualBank'')(W M B)wasnotthe-il-ender'-thatoriginated thesubiectM ortgage.
   The originating bil-ender''was-sW ashington M uttlalBank,F.A.*-(      BFA)which

   wasoperating asa Sçbroker,''disguising itselfasaûtfederalsavingsbank-''was

   separate and distinctfrom W M B,and wasnota pan ofthe FD IC'SReceivership on

   September25,2008.
              b. W M BFA brokered the M arin M ortgage and Note through oneofits

   non-banksubsidiarieswho thensecuritized thesubjectloanand soldthesecurities
   to private investors.These sales transactions priorto the FD IC *S takeoverof W M B

   were concealed from the Court,along withthe identity'ofthe private investorts)

   forthesubjectloan.And,
              c. Assuch,JpM organ Chase BanksN .A.acquired no ownership or

   5-AffidavitofW illiam J.Paataio
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 96 of 233



   m ortgagee rightsby virtueofthe -Kpurchase& Assumption Agreem ent'-(PAA )

   with the FDIC-Atmost.JPM C acquired onl).
                                           'the senricing rightson behalfof

   undisclosed private investors.
                               EVIDENC E IN SUPPO RT O F O PINIO NS

     TW-a-shinzton M utualBank''(W M B)-and G-W ashineton M utualBank.F.A.''
   (W M BFA)were operatine-asseparat.
                                    e-and distinetentities.to which W M RFA
                  wgsoperafipE a,@ i.h-rqkqrs''pqfa ufpdprplsavines bank-''

                        The M arin M ortgage îvasoriginated on July l4.2006 naming the
            l4.
   lenderasûçW aslAington M utualBank.F.A.a FederalSavingsBank''vvith an

   addressof$:2273 N .Green Valley Parkway.Suite 14-Henderson.N V 89014**The

   Plaintiffin the foreclosure action tiled on A pril26,2007 w asnam ed as

   ttW/ashington M utualBank.''
             l5. According to FvW ashington M utualInc-fs''-Kl0-K'*tsling under

   oathwiththeSecurities& ExchangeCommission(8EC)onM arch l5th,2006,the

   tbllow ing disclostlre is m ade on page 6:

              *%0n .oaz/zzr-p,/,2005,'/'eCompany% state.
                                                       N/zWa> bank.'heformer
            W ashington M utualBank m erged into Washington M utual#Ja& FA.
            and ceased /::existn
                               .Nz/H e#lzep/ty.Wasltington M utual#Ja& FA changed
            fzxnamezo Wasltlngton M utual& zzl# (UWM B ').''
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             l6.          AsofApril4113F 2005,W ashington M utualInc.owned only two

   6.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 97 of 233



   lkderalbanking stlbsidiaries:*-Iqklshington Jz/?//llt# Bank'-and .&örashington /$/i/ll/J/

          -b.Y* The :4I0-K*'filed on M arch l5-2006 stateson page 8:
   XJKky/w:

       uOneoftlteCompany'x/et/erzz/savingsassodations,WM B,t'fzrrea//-pisêz
       ntemberof theSan Frlatlc/ FHLB.Theotlterfederalsavingsassociation.
       Washington M utualBankf b4..@:M#. /O '),isam emberoftheSeattle
       FH LB.''


                  Thism eansthere arethree possible scenariosrelated to the existence

   oft%W ashington M utualBank,F.A .- a t-ederalsavings bank--atthe time the M arin

   M ortgage w as originated in 2006.

               (l)wtW ashington M utualBank,F.A .'*.wasnota tkderalsavingsbank as

   represented on theM ortgage.
              (2) %sW ashington M utualBank.F.A .'-wasusing an unregistered

   KtD /B/A '-orassklm ed /fictitious nam e on the docum ent.failing to disclose the

   identity ofthe Iegally nam ed lender.Or.

              (3) uW ashington M utualBanksF.A.''wasa separate and distinctentity'

   operating atarms-length from S'W ashington M utualBank.f-

           18.     Attached as Exhibit7 isabtq/ashington M utualBank,F.A . - Board

   ofDirectorsResolution''dated January 25,2005 which statesthatbeginning April

   4,2005,-'Thecolporatetitlet#-#'
                                 lcsavingsbunkib'Ikrashington #/2//l/J/Bank The



   7.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 98 of 233




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                                                                  g/on Az/l//lftI/Bank.

   F W ''

          l9.      From experience investigating hundredsofhtW ashington M tltual

   Bank,F.A.''casesthroughoutthe United States.Jpklorgan Chase Bank argues that

   both -*W ashington M tltualBank,F.A .'-and -*W ashington M utualBanke-w ere

   sim ply one in the same and interchangeable.yetnowhere on any lnortgage ordeed

   oftrustisthecom orate title -tW ashington M utualBank''tbllowed by KtD/B/A

   W ashington M utualB ank,F.A .,'*or-iW ashington M utualBank a/k/a W ashington

   M utualBank.F.A .'*

          20.     However.evidenceshowsthatW M B and W M BFA were entities

  operating in separate capacities.Attaehed as Exhibit7 isan *tAssignm entof

  M ortgage-'thatwasrecorded in M iam i-DadeCounty-Florida on Decelnber 14-

  2007asDoc.No.2007R 1l84686,Bk 2610,pg.0401.''Thisassignmentshow sa

  negotiated transferofa mortgage and note in theyear2007 from theassignor

  -çW ashington M utualBank,F.A .'*to the assignee u%W ashington M uttlalBank''for

    considerationqfthe.
   w-
                      5-1//pqf$l.00 Dt.
                                      ?//t,
                                          7#-../''
                   Attached as Exhibit8 is an -sA ftsliated B usiness A rrangem ent-

  Disclosure StatementNotice'-tiom my own personalloan transaction in January

  2007.ltoo-exectlted adeed oftrtlstwith KW ashington M utualBank.F.A.''on

  January 30,2007.


  8.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 99 of 233



            90       Thisdocumentdisclosesthat--W ashington M utualBank.F.A -''and

  itW ashington M utualBank''were operating asai-filiated businessesw hich notonly

  corrobolmtestheassignment(Exhibit7).butitconflictswithiiBoardofDirectors
   Resolution'f(Exhibit9.)Iwrote an articleon thisprecise issue which can be found

  at:

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            23.     Itismy opinion thatW M BFA was being used asa brokering entity

  forpum osesofsecuritization.Nowhere in the PAA with the FDIC is W M BFA

  m entioned,and now here in the record isthere doeum entation ofany negotiated

  sale fi'om W M B FA to W M B .

                              W aM u'sGo ff-BalanveSheetActivities''

            74      O n Aprill3.20ll.the U.S.SenateAsttperm anentSubcom m ittee On

  Investigations''published an investigativereportthatincludesa detailed analysisof

  W aM u'ssecuritization activities Ieading up to the financialcollapse in 2008.The

  reportcan found be found atthe lbllow ing govennm entw ebsite address'
                                                                       .


  httpsT//-         -hsa c-senate-gov/subcomm iuees/m vesugations/m edia/senat
  e-lnvesdgatlons-subcom m i/ee--re-leases-led n-eobo -repon -on-G e-
  lnancial-crlsis
            25. The tlndingsoffactin thisrepoll-com bined w ith evidence in this

  Caseand aftidavit,lead me to the opinionsl-ve outlined above.

  9.AffidavitofW illiam 1.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 100 of 233



          26.      Key excem tsfrom the repol4are as follows:

   Pg-ll6 -

    E.Polluting the FinancialSystem
   W ashington M utual,asthe nation's largestthrift,wasa leading issuerofhom e
   Ioans.W hen lnany ofthose loansbegan to go bad.they catlsed signilicantdamage
   to the financialsystem .

   A ccording lo a 2007 W aM u presentation.bv 2006.W ashilm ton M utualw as the
   second largestnon agencv issuerofm ortuaw oe backed securitiesin the United
   States-behind Counlrvw ide.

   By securitizing billionsofdollarsin poorqualiw'loans.W aM u and Lonq Beach
   were able to decrease theirrisk exnosure w hile passinjzalonR risk to others in the
                                 -


   llnancialsvstem .They polluted the snancialsystem with m ortgage backed
   securitieswhich laterincurred high ratesofdelinqtlency and Ioss.Attim es,W aM u
   securitized loansthatithad identitied as likely to go delinquent,w ithoutdisclosing
   its analysisto investors to w hom itsold the securities-and also securitized loans
  tainted by fraudulentinformation,withoutnotifying purchasersofthe liaud that
   was discovered and know n to the bank.

  Pg.l17 -

  According to a2007 W aM u presentation ata seculitiesinvestormeeting in New
  York-in 2004,W aM u issued $37.2 billion in RM BS securitizationsand wasthe
  sixth largestR M BS issuer in the United States. In 2005,itdoubled its production.
  issuing $73.8 billion in securitizationssand becam ethe third Iargestissuer.1n
                                                                             .


  2006.itissued $72.8 billion and wasthe second Imxestissuer.behind
  C ountryw ide.

  Pg.l19 -

  çtW aM u CapitalCom .acted asan underwriterofsecuritization transactions       .


  generally involving W ashington M utualM ortgage SecuritiesCorp.orW aM u

  10.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 101 of 233



    AssetA cceptance C orp.G enerally.one ofthe tw o entities w ould sellloans into a
   securitization trustin exchange forsecuritiesbacked by the loans in question,and
   W aM u CapitalCorp.would then underwritethe seculitiesconsistentwith industl'  y
   standards.Asan underwriter,W aM u CapitalCorp.sold m ongage-backed
   securitiesto aw ide variety ofinstitutionalinvestors.W CC sold W aM u and Long
   Beach loansand RM BS securitiesto insurance com panies,pension funds,hedgc
   funds.otherbanks,and investm entbanks.ltalso sold W aM u loansto Fannie M ae
   and Freddie M ac.W CC personnellnarketed W aM u and Long Beach loansboth in
   4hç Unitvd Sptesand abroad.

   Belbre W CC w as able to actasa sole underw riter,W aM u and Long Beach w orked
   u'ith a variety ofinvestm entbanksto arrange,underwrite,and sellitsRM BS
   securitizations.including Bank ofAmerica,CreditSuisse.Deutsche Bank,
   G oldm an Sachs.Lehm an Brothers.M errillLynch.RoyalBank ofscotland.and
   UB S.To securitize its Ioans-W aNlu typically'assem bled and sold a poolof loans
   to aqualifyingspecial-pumoseentity(QSPE)thatitestablished tbrthat
   purpose.typically a trust.

   TheQSPE then issued RM BS securitiessecured byfuturecash flowsfrom theIoan
   pool.Next,the QSPE - working with W CC and usually an investmentbank'- sold
   the RM B S securities to investors,and used the sale proceeds to repay W aM u tbr
   the costofthe loan pool.W ashington M utualInc.generally retained the rightto
   service the loans.


          27. Thisanalysisisalsosupported by W ashington M utual,Inc.-s l0-Q
   filing with the U.S.Securitiesand Exchange Comm ission (SEC)on June 30.2008

   which stateson (p.60),

   O ff-Balance Sheet Activities

   The Com pany transform s loans into securitiesthrough a process know n as
   securitization.W hen the C om pany securitizes Ioans,the loansare usually sold to a
   qualifying special-purposeentity(''QSPE'')stypically atrust.TheQSPE.inturn.
   11-AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 102 of 233



   issuessecurities.com monly referred to asasset-backed securities,vvhich are
   secured by futurecash tlowsonthesold Ioans.TheQSPE sellsthesecuritiesto
   investors,which entitle the investorsto receive specifled cash tlowsduring the
  tenn ofthesecurity.TheQSPE usestheproceedsfroln thesaleofthesesecurities
  to paytheCompany fortheloanssold totheQSPE.TheseQSPESarenot
  consolidated withintheGnancialstatelnentssincethey satisb-,thecriteria
  established by Statem entNo.l40.Accoztnting tbrTlwn-
                                                  .
                                                     lfcrxands- cla?/c//7g t#'
   FinancialAssets t'n# Extinguishmentsol' .
                                              Liabilities.ln general.these criteria
   require the Q SPE to be legally isolated from the transfbror(the Com pany),be
   Iilnited to perlnitted activities.and have detqned lim itson the typesofassetsitcan
   hold and the perm itled sales,exchangesordistributionsofitsassets.
         28. Having investigated theW aM u/FDIC/Cl4ase factpattern formore

  than six-years,and having investigated hundreds offoreclosure cases uzhere JPM C

  claim s sole ownership ofspeciGc W M B loans by vil-tue ofthe w'Purchase &

  A ssulnption Agreement''(PAAI.one factisnow wellestablished - no scheduleor

   inventory ofassetslisting any specific W M B mortgage loan acquired by JPM C

  existssorhaseverbeen produced ordisclosed.The reason forthis factisthe vast

  majorityofresidentialmortgageloansweresecuritized through W aM u's*.Of'fL
  Balance SheetActivities,e'and sim ply were noton the btbooks'fofW M B.

         29. During thetim eperiod in which the initialtbreclosure com plaintwas

  Gled in 2007and theultimatefinaljudgmentin2009,W M B failed andwentinto
  receivership on Septem ber 25,2008;notW M BFA .Yet,JPM C substituted into the

  foreclosure action claim ing ithad acquired the M arin Ioan aôan asset.

        JPM C did notacquiretheAssetsofW aM a'sN-on-Bank subsidiaries.

         30. Foryears now ,JPM C has been getting aw ay w ith a m assive


  12.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 103 of 233



    prestlmption thatitacquired everything W ashington M utualby'viMue ofthe PAA

    with the FD IC,yetthe m ortgage loansthey claim lo haveacqtlired were again,

   neveruon the books--of-sW ashington M utualBank.'-

            3I. Attached asExhibit2 isJpM organ C'hase'sown pressrelease ti-om

   Septem ber25,2008 which statesthe following o11p-lsjI5p.'
                                                           JP.
                                                             %Io'L%un C'
                                                                       /zzzaa n,
                                                                               'ill

   Nz-?tbe Jtwl/kkl                         &of-the dptpnk'.
                  kg qnb,assetsol./àz/?##/'e.            . ç.parent/'t'
                                                                      )/t#ng compalbî'

   /.11/#J/ol.//?ebolding colnpqnv'
                                  -î.npn-bank.s??&ç/#/J?-/c.5'.''
           32. As outlined above.the tw o non-bank subsidiaries ofW ashington M utual

   responsible forthe securitization ofmortgage-backed sectlritieswere *-h/ashington

   M utualAssetAcceptance Corporation'-(W M AA C)and -èW ashington M utual

   M ortgage SecuritiesCom oration''(W M M SC).

           33. B oth W M A A C and W M M SC are stillactive and continue to Gle regular

   t'A BS 15G - AssetBacked Security Reports''with the SEC.Here are the SEO

   linksto both ofthese entities m ostrecentfilings;

   W M A A C I*A BS 15G ''sled M ay l2,2016:

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                           o-ctlrrp/dsbllt).î.
                                             !'1fltl.l-
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   W M M SC iSA BS 15G *'flled M ay 12,2016:

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           34. Both W M M SC and W M AAC haveregularly distlosed the following

  in these SEC tilings:


  13.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 104 of 233



   W aM u A ssetAcceptance Com .,asSecuritizer.isGling thisForm ABS-l5G in
   respectofallmortgage-backed securitiesrepresenting interestsin poolsof
   residentialm ol-tgage loans forw hich itacted asdepositor and w hich are
   outstanding during the reporting period. O n Sep.tem ber25.2008,JpM organ Chase
   Bank,NationalAssociation (''
                              JPIVCB '')acquiredthebanking operationsof
   W ashington M utualBank from the FederalDepositInsurance Corporation
   (''FDIC ''). ItisJPM CB'Sposition thatcertain ofthe repurchase obligationsof
   W ashington M utualBank rem ain w ith the FD IC receivership. A saets are repolled
   herein in accordance w ith Rule 15Ga-lregardlessofthe validity ofthe dem and or
   defensesthereto.and nothing in thisrepon shallconstitute,orbe deemed.a waiver
   ofany rights.det-enses,powersorprivilegesofany party relating to these assets.

          35. There have been volum inousè%ABS 15G'-reports tiled by these entities

  postreceivership.and each one contains an attached ttE-xhibit99.l'-listing

  ttDemand in Dispute'-assets,orwhatiscom lnonly referred to as-wput-back

  demands''againstthese entitiesb).
                                  'investors.Thedisputed am ountsareenol-m ous.

  and appearto totalsom ewhere in the areaof$145,000.000s000.00.

         36. Isearched JpM organ Chase's l0-K tslingswith the SEC to lind outif

  therewasany m cntion ofthesepotentialIiabilitiesto itsinvestors.Icould nott5nd

  any disclosuresofthese potentialiirepurchase''liabilities.Thusitappearsthatthe

  investors who qwn these loanswanttheirlnoney back butare being ignored.

  JPM C.asservicerfbrthese investors.has harvested.and continuesto harvestthe

  assets belonging to these investors through foreclosures,w hen by its ow n

  adm ission.itdid notacquire these non-bank assets.

   Private investorsow ned the subiectIoa-n.at
                                     - - .    -thetimeoftheorieinalcomplaint.
                  and their identity was
                                      .  çqncvalvd from theCourt.
                                                   -




  14.AffidaviêofW illiam 1.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 105 of 233




                     From experience.lhave seen and l-eview ed JPM C'Ssen/icing

   records 1brW M BFA originated loansw ithin JPM C'S::3270 Explorer'*servicing

   platform .Thissystem /platform containsa specilicscreenshotwhich showsthe

   K'Ioan transfkrhiston'''(Screen:*tExplorer3270 - LNTH'')tbrthese loans.
           38.      From experience,Ihave seen com plete LN TH screenshots forthese

   W M BFA loansprovided by JPM C,butustlally they are produced w ith great

   reluctance and through m otionsto com pel.W hen produced,these LN TH screens

   tellan entirely dil-ferentstory aboutthe Ioans;specifically,aIIthe sales and

   transtkrsconducted by W aM u priorto theFDIC'Sreceivership.

           39. A ttached as Exhibit5 is a 1$3270 Explorer:Loan Loan Transfer

   Histoo'(LNTH I*'screenshotprovided by JPM C in a very sim ilarcasewhich I

   have been involved captioned Kellqv n Jp:vol-
                                               .qan C/1J.
                                                        s'eBank,N.A.,U.S.BK CTa

   ND CA .Adv.Case No.10-05245.

          40. Like the M arin loan,the K elley loan wasalso originated by W M BFA .

   Exhibit5 showsthe entire LNTH fkom origination through the FDIC receivership.

   The beginning ShlnvestorCode''atthe inception ofthe loan is*$030:*on 08/07/07.

   The Ioan isthen sold and transferred to açtNew/lnv''(new inkestor)on 09/01/07

   w ith the ulnvestorCode- AO 1.''Thisevidence showsthatthe loan had been sold

   priorto the FD IC receivership,yetJPM C took theposition thatthe loan had never

   been securilized orsold priorto the FDIC takeover.
   15.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 106 of 233




          41. Itshould be noted thatupon inform ation and belief.no N ote wasever

   produced in the lbreclosure action.
          42. A deposition ofJPM C em ployee*vcrystalDavis'*occuln-ed inthe

   Kelley case on Augustl3,2014.A copy ofthe DavisDeposition Transcriptwas

   tiled in the PACER System and a copy'is attached to this arfidavitas Exhibit3.

    Exllibit4 isaglossary ofcodesexhibitprovided by JPM C in thatdeposition.

          43. CrystalDavisexplainsthe investorcodeson p.42 asfollows'
                                                                    .

   (In refkrenceto Exhibit4)
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                                                                         $'.

   Q.z
     dl'J bîkhatu.tJ/?/J.rk1*,Z kWt,
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                                   #tY?/c.
                                         '?
   A.r/-
       ltaà'e would d?ll/c-l/c bal:k-otb'lw d J-
                                               $'.&ea.

       33.     Itisvery Iikely thatacompleteLNTH screenshotforthesubjectloan.if
   everproduced,willshow sim ilarsalestransactions from W M BFA to tiNew/lnv -

   AO l.''The identity ofinvestor'tAO l--hasneverbeen disclosed and isbeing

   concealed from the Courts in thousandsofcases,and Ibelieve this isintentional.

                                      C hese Adm it.Thvn Denies

       34. In caseslhave reviewed aIIacrossthe country.borrow ers have m ade

   and continue to m ake.inquiriesto theirservicertf hase''forthe identity ofthe

   investorts)oflheirW aM u Ioantslonlyto betold,
   16.AffidavitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 107 of 233




    STATE OF M O NTA NA               )
                                      bss.                      July 7,2016
    COUNTY OF STILLW ATER)
          O n this 71 day oflul
                      .        y 20l6,beforeIne,the undersigned officer,personalll'
    appeared W illiam Paatalo.whose identity w as satisfactorily proved to m e,and w ho
    executed the foregoing instrum ent as his free act and deed and for the pum oses
    thereinwcontained.and acknowledged that the foregoing statem ents are true and
    con-ect.

            ln w itness whereofIhereunto setm y hand.

                                               '




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    18.Aï davitofW illiam J.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 108 of 233

                                                                                ewb/b/?A
                                   W illiam J.Paatalo
                        PrivateInvestigator- Oregon PSIIM 49411
                              BP Investigative Agency,LLC
                                      P.O .Box 838
                                  A bsarokee,M T 59001
                                        (406)328-4075
                                     Bill.bpia@ gmail.com

    Currlculum V ltae
    W illiam Paatalo h% been alicensedprivateinvestigatorsince Septemberof2009.Hehas17
    yearscombined experiencein both 1aw enforcementand the mortgageindustry which hehas
    udlized to becom e a leading expertin the aremsofchain oftitle analyses and securitization.H e
    w as a police om cerw 1111the St.Paul,M innesota Police D epartm entfrom 1990-1996 w here he
    wmsmssigned V ieldTrsiningOfficer''dutiesinonlyhissecondyearon thejob,andalso
    received m ultiple com m endadons.


    M r.Paatalo worked in them ortgageindtlstryasa uloan ox cer''with Conseco Hom eFinance
    9om 1999 - 2000,followed by two yearsofbeing abranch m anagerformultiplem ortgage
    brokezing Grm s.From 2002 - 2008, hebecamethePresidentofM idwestem M ortgage LLC
                                                                                      ,
    f/k/a W issota M ortgage, LLC in W isconsin and M innesota. AsPresidentofW issotaM ortgage
                                                                                                  ,
    LLC,M r.Paatalo wmsresponsibleforoverseeing theorigination processing,and tmdvrwriting of
                                                                   ,
   mortgageloans,mswellasmnnnging astaffof 17 em ployees.


   M r.Paatalo hasworked exclusively since2010 investigating foreclosurefraud,chain oftitle
                                                                                           ,the
   secudtization ofTesidentialand com mercialm ortgagcloans,and accounting issuesrelevantto
   alleged Gdefaults.''M r. Paatalo isalso aCero ed Forensic M ortgageLoan Auditorth
                                                                                          roug,
                                                                                              h
   CCFLAD,andhasspentmoreth% 10,000 hotlrsconductinginvestigatoryresearch specis
                                                                                cally
   relatedto m ortgage securitization and chin oftitleanalysis.Hehasperformed such analysesfor
   residentialrealestatelocatod in m any states, includingbutnotlimited to
                                                                            ,   W ashington,Oregon,
   Califom iw N evadw Florida, M ontanw Texms,Arizonw 0lzi0 New Jersey,and severalother
                                                              ,
   states.To date,M r.Paatalo hasconducted nearly 900 investigationsand hasprovided w ritten

   1.CV - W illiam J.Paatalo                                           BP Investigative Agency
                                                                       Exhibit 1
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 109 of 233



   oxperttestimony inth0 form ofe davitsand declaratiomsin approxim ately 90 -100 cmsos
   nationw ide. M r.PM talo hasbeen qualiled in both state and federalcourts as an expert,and
   personally appeared and testifed attrialin the fourcasesoutlined below .Thisexperiencehas
   lead to M r.Paatalobecom ing one oftheleading expertsin thisrelatively new feld.


    M r.Paatalo'sspecifk areasofexpertise allowed by thecourtsinthecmsesreferencedbelow are
   mqfollow g:


       @ Knowledgeofthetçpooling & Servicing Agreements''and variousSecurides& Exchange
           Commission (SEC)Glingsassociatedwithmortgage-backedsecuritizedtrusts.
       * Specilclanguagein the PSA'Sand Prospectus/ProspectusSupplementsinvolving
           secm iliyxtion participants,key dates,uservicerAdvances,''som cesofthird-party
           pam ents,andt-nsferand conveyancing requirementsto nam ea few.
       * Knowledge and useofABSNG,and theinterpretation ofitsintem alaccounting data
           showing Gtadvance pam ents''m adeto thecertificateholders/investors, aswellasother
           inform stion specific to accounting.chain oftitle, and other aspects ofsecuriflzxtiom
       . Chain ofTitle nnnlysesbased upon publicly recorded docum ents, docum entsproduced in
           discovery,and docum entsaftnched asexhibitsto foreclosm ecom plaints. Documents
           typically includem ortgages, deedsofA st,mssignments, notes,andallonges;in addition
           todocumentsGledunderpenaltyofperjurywiththeSEC            .




   R elevantExperience:

       * PoliceOm cer/RField Training Officer''- St. Paul,M N 1990-1996.
       * Oregon licensed privateinvestigatorunderORS 703.430,and hasm etthenecessary
          reqe em entsunderORS 703.415.To obtnin hisP1license, M r.Paatalo m etthe
          requirementof5,000 hoursofinvestigation experiencein the law enforcem entGeld,and
          passed athoroughbackground hw estigation and criminalhistory check.
      * M emberoftheuoregon AssociationofLicensedlnvestigators''(OAL1)            .

      * PresidentofM idwestcm M ortgage, LLC f/k/a W issotaM ortgage, LLC in W isconsin and
          M inneàota9om 2002 - 2008.


   2.CV -w illiam 1.Paatalo
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 110 of 233




    Edueation:
    A.A.S.- Law Enforcem ent- Norm andale C.C.,BloomingtonaM N - 1986
    M rketing M anngem entCertifkate- ConcordiaUniversity,St.Paul,M N 2001
    ForensicLoanAuditorCeGscationTminingCourse(CFLA)-32hrs.- SanDiego,CA 2011

    ExpertTestimony (Trial):

                                      FEDERAL CASES



    RobertT Fanninz.Debtor- U s.BankruptcvCourt.DistrictofM ontana - BK CaseNo.1%
    61660

    Rivera v.DeutscheBankNllj/nllTrustCompaF .U S.BK Court.Northern CW - Oakland -
    CaseNo.14-54193-% H-13.


                                       STATE CASES



                                            0 1110

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     4 .w w s uxnxonu ..T.LZV.        ) AG
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                                           V. Caae               4   depoBition of CRYSTAL DAVIS. the Witnesl herein,
              Debtor.                 ) 10-05245
     5                                                           S   callld by the Plalntiff under the appllcable
     6                                                           6   Rule/ of Pederal Civil C- 'et PrQcedvree **Y be
     7 Jhuzs uhnlgo? KKLLKY.          1 Hon- Welelbrod:          7   taken GY thle 64-* hy Yhe ROYGXY PVXOVRGY Yo
     8        plainttf'.              )                          B   noticel that aaid depoaltion Ray be redueed to
     9        vs.                     )                          9   writing in stenotypy by *h* nokary. Yhoae notes
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    21                                                          2l
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     l           CR YSTM DAV IS                              l did Payroll.
     2 beingGrstdulysworn, asheoino er                       2 Q.Okay.S0youhavtapractical
     3 cedifled. deposesand saysasfollows:                   3 background?
     4             EX AM INATION                             4 A. YeS.
     5 BY M R. KELLEY '.                                     5 Q.Okay.AndWhendidyoujoinChase?
     6 Q . Thisisthedeposition ofClystalDavis                6 A.2005.
     7 intheKelleyversusD MorganChaseBsnkina                 7 Q.2005.Okay.
     : case.G otit?                                           8          So you've been tbere fora while?
     9      M y nameisJamesKelley,and I'm the                 9    A.Nineyears.
    10 plaintiF inthecmse Iguesswehave
                          .                                  10    Q.NZeyears.Okay.
    1:. ChrigtopherY oo from Alvam do Sm ith.outside         11     And whatN sition did you stnrfin at
    lz attorney forChase,and Crys'talDavis- right?           12 Chmse?
    13 A . Y eah.                                            *3 A. lStarted atan entry-leveltreasury
    14 Q.-?resent.Sol'
                     m justgoingtostart                      14 accountingposition.
    ls outbyJust%kingyou alittlebitaboutyour                 15 Q.Okay.
    16 baçkground.Youdon'
                        thavetogobacktogmde                  16 A.SOlmanagedjustcashflow tothefed.
    17 school.                                               17 Q.Andhow didyouyrogRssfrom there?
    18   A. Okay.                                            18    A . 1was in thatpositlon abouttwo years,
    :.9 Q.Soyour- ftrstofall.what'syour                      :.9 andthen IgotanolerforadiFerentposition
    a: educationalbackground?                                20 w ithin the REO accounting group,and 1w entto
    al A . lgraduated high school.                           21 thataccounting group,and then gotanother
    aa Q.Okay.                                               22 positioninthecorporateadvanceaccounting
    a3   A . And Ihad som e oollege. Istudied                a3 sevel'
                                                                     alyearsafkrthat.
    24 EnglishatOSU Newark.Didnotgraduate,did                24    Q.Okay.Sohow longhaveyoubeenin
                                                    Page 6                                                       P< e 8

     l notgd a degree.                                        l corpomteadvance accounting?
     a Q.Okay.Didyoutakeanycoursesin                          a A.Ihavebeentherefortwoyears.
     3 accouning?                                             a Q.Twoyears.
     4   A . Idid not.                                        4    A Uh-huh.
                                                                     .

     5 Q.Youdidnot.Okay.                                      s Q.Okay.Sohow longwereyou- soprior
     6       Whatisyourcu= ntjobfunction?                     6 tocorporateadvanceaccounting,whatwert
     7   A .A ssociatecontroller.                             v you --whatweroyou doing? I'm notquite
     8 Q.Okay.                                                8 clear.
     9   A. W ell,that'sthetitle.                             9    A . REo accounting,so realestate owned.
    1: Q.Andwhatare- whatdoesthatentail?                     10 W emanagedalItheaccounting forthatallthe
    11 A. Isupew ise a depsementofaccountants                11 REO sales.
    la who m anage theco> rate advance D conciliation.       la Q.Andwhatkindofsoftwaredoyouusefor
    13 Q.How manypeopledothat?                               la yotlraccounting?
    14 A. Ihave - underme,Ihave eight                        14    A . M ainly M SP.
    ls em ployees.                                           a.sQ.soyouareusingM SP?
    16 Q.Eight.                                              16 A.Uh-huh        .

    17 A.Accountants.                                        z7 Q Any other?
                                                                    .

    18 Q.AndthisisatthePolarisfacility?                      ,.8 A.w euseSAP            .

    19 A.No;Easton.                                          1: Q sAP. okay.n at'sapretty wellknown
                                                                    .

    ae Q.Easton facility.Okay.                               ac softwarebrand       .
    21      And how did you com e to thatposition            a1    A . Yes.
    aa withanEnglishbackground?                              za Q.Anything elso?
    a3   A . So Iworked atH aN & D avid Corporation          23    A . n at'sitforaccounting.
    24 forseven yearswhereIleamed accounting and             :4    Q.Prettymuch it?

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    JPM ORGAN CHASE BANK
                                                        eage9                                                     Page 11

     l      A . Uh-huh.                                            1. A.W s.
     2 Q.Okay.Soyoudon'thavegeneralledger                          2 Q.l'
                                                                        m goingto-onereasonforthis
     3 experience?                                                 3 depositionisthatMn Smith,whowasa30(B)(6)
     4     M R. Y0O:Objection.Vagueand                             4 witnessinthiscase,indicate thathtSpoke
     s am biguous.                                                 s w ith you probably severalm onthsago. Do you
     6      A . Generalledgermeaning?                              6 recalltalkingto Mr.Smith?
     7 Q.Well,youknow,stnrtingfrom the                             7 A.ld0.
     s generalledgerdowntothesubdedgers.                           8 Q.Okay.Couldyoutellmeapproximately
     9      A . so aI1ofoursub-ledgersarepad of                    9 how m uch tim eyou spenttalking with him ?
    10 the gencralledger.                                         10    A. ltwasvery brief.O urphone
    11 Q.Stlre.                                                   11 Ctmversation wasbrief.Soprobablyflveaten
    *2      A. So 1do have experience within specitic             12 m inutes.
    13 accounl ofthegenemlledger.                                 13 Q.Okay.And whatdidhtwanttoknow?
    14 Q.Probably chm cterizedasREO - the745                      ** A.Hewasaskingmespecilkally aboutthe
    ls advancesare - you considerthoseREO?                        15 reason codeson theDDCH screen and whatthey
    :.6 A .They oan be. So 745 isany kind of                      16 reprosented.
    17 accotmtingadjuse ent.                                      17 Q.AndthatwouldbecodeslikeLTCO and
    z.      Q. so wc'Ilbçgottingalittlebitmore                    18 stufflikethat?
    1.9 into thatin a m om ent.                                   1.9   A .Correct.
    20           Soareyoutheonlygroupdoingthis?                   a: Q.M dwe'llgetbacktothose.
    al           M R.Yf)O:Objection.Vagueand                      21   Didyoutalkwithanyone in preparation
    22 ambiguousasto ''doingthis.''                               a2 forthisdepositiontoday?
    :3 Q.Areyoutheonlyoqerationalgroupdoing                       a3 A.AnyonewithinChase?
    24 corporateadvancesinthlsarea-                               24 Q.W ell,anyone,aboutthisdeposition.
                                                        Page 10                                                   Rage 12
     l      A. No.                                                 l    A . Yes.
     a      Q. - orarethereothergroupslike                         2    Q.Okay.Likewho?
     3 yours?                                                      3    A . Ispoke to Thom asfrom tlw -
     4      A . 'rhereare othergroupslikem ine.                    4    Q.'rhommsVan?
     s Q.n atyouknow ollright?                                     5    A.Yes.
     6 A.Yes.                                                      6    Q.okay.
     7 Q.How manyothergroups?                                      7    A.AndlspoketoAnneFitz- lforget
     9      A. Idon'tspeciik ally know . Sony.                     8 whatherlastnam e is. Fitzpatrick.
     9 Q.lsittwo?                                                  9 Q.IsthatanAlvo doSmithemployee?
    10   M R..YOO:Objection.Askedand                              10   M R.YOO:She'gin-housecounselwith
    11 answered.                                                  zz chase.
    1.2 Q.Fm justaskingyouapproximatelyhow                        la Q.Oh,in-housecounsel So you spoke with
                                                                                                 .
    13 m any.                                                     la in-housecotmsel?
    14     M R..YOO:She said she doesn'tknow .                    1* A. Yes.
    ls A.1don' tknow,tobehonest.                                  ls Q . How m uch time did you spend spee ing
    1.6 Q.Buttherealv othergroups?                                16 withher?
    17     A . There are othergroups, yes.                        17    A .Probably two hours.
    18 Q.Andhow doyou-know thereareother                          1a Q.Soyouspentmoretimewiththem than
   1: groups?                                                     1s you did with M r. -
   an A. n ey'lv w ithin accounting,and because                   2: A . Yes.
   al m y group only ownsa numberofthe payees, so                 a1 Q. - Smith? SoM r.Smith didn'
                                                                                                 taskyou
   22 othergroupsw ould have to ow n theotherpayees.              aa aboutthe corporate advances?
    :3 Q.Okay.Soit'sdividedby- partitioned                        :3 A.Hedid.
    :4 bypayees?                                                  a4 Q.Didhe? Okay Did heask you about
                                                                                           .




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                                                      Page 13                                                    Paoe 15

     l whatthey werefor?                                        l          VR.Y00:ldon'trecallthat somy
     a A Only ceM in transactionsheasked
             .
                                                                2 objedionstands.l'm notinstructinghernot
     3 about.                                                   3 toanswer.1'm justsimplyinsertingob,jections
     4 Q.Okay.W dl,ytah,tlwrearvstvel' al                       4 asto tlw gentl'
                                                                                allegalçonçlusionsyou re
     5 diFerenttypesoffm nsactions. W e'llgetto                 5 making asto whatallthose entitiesare orare
     6 thedetailslater.                                         6 notand whetherthoseentitieswere under
     7           So how much tim e did you spend speaking       7 receivorship ornot.
     8 with W . YoO in preparation fOrthe deposition?           8          M R.KELLEY :'lYose aD legal
     : A lgothere at8:15.
             .
                                                                    9 conclusions.lth* the/restatementsof
    10 Q n isistheflrsttime?
             .                                                  10 fact.1fswellknown.
    11     A . Yes.                                             **          M R.Y OO :A lIHght. According to you.
    12 Q .Okay.Sometimestheydo itovertlw                        12          M R.KELLEY:Okay.
    :.3 phone.                                                  13 BY M R.KELLEY :
    14           Theotherthingissdidyoureview any               14       Q.SOanyWay -
    ls doclzmentsin preparation forthisdeposition?              15          M R.
                                                                               .YOO :lthink itwould be - lthink
    1.6    A. Idid.                                             16 itwould speed up the deposition - Pllletyou
    17 Q.Okay.Couldyoutellmewhichonesthey                       17 ask anyquestionsthatyouhaveformywimess,
    18 were?                                                    :.8 andjustletmeinsertmy objectionswitbout
    19     A.Therewerealot.ldon'tknow                           19 going backandforth.Becausethey're
    20 specifkally. Idid review the transcript.                 ac ultim ately fortheCourtto decide atthetim e
    21      M R.YOO:She'stalking thedeposition                  al oftrial. W heneveryou intend to ine duce
    aa transcript.                                              aa M s.Davis'testim ony,the Courtwillhavt to
    23 Q.YOumeanSmith?                                          23 dderminewhethermyobjectionisvalidornot.
    :4     A . M r.Sm ith,yeah.                                 24 So why don'
                                                                             tw e sim ply -

                                                      Page 14                                                    page 16
      l     Q.I'
               vegotonehere.Igotthebrief                            l       M R..KELLEY:lunderstand.
      2 form .                                                      c      M R YOo:I'm notgoing to intem zpt
                                                                               ..

      3 A . And then the printscreens,DDCH                          3 you and itwillprobably help m e ifyou don't
      4 history,andlth111kthafsallIreviewed.                        4 retortmyobjection.Bœauseit'sreally
      5 Q.Okay.DidyouIookatthepayeecodes?                           s irrelevanttothedepositionofMs.Davis.n at
      6    A. 1lh-huh. Idid.                                        & way itw illgo faster. Ask yourquestions.
     7 Q.Areyoufamiliarwiththepayeecodes?                           7 1,11object.If1havethinkthatsheshouldn't
      8    A. Iam .                                                 a answersom ething, 1'11instructhernotto
     9 Q.Okay.Good.                                                 : snKwer.W e'lllettheCoud decide.lhaveno
    a.e          Because there'sbeen som eam biguity in         10 intention ofinsm zcting hernotto answ erany
    11    thepreviousdepositions,alittleconfugion-              11      questionsatthistimeunlesstlw questionis
    lc    ifsnotjusthem.It'seveawhere- I'   m                   1a      lmproper.Butifyousimplyaskyourquestions,
    13    goingtoask thatwhenwerefertoa- thatwe                 13      letmeinsertmyobjectionsfortherecord.If
    :.4   notlzsetheterm WAMU,becalzseWAMu isalogo,             14      Idon'
                                                                            tsayanythingmorethanobjection,I'm
    ls it'snotacorporation. So 1'11x ferto                 zs notinstructing hernotto answ er. So itwill
    16 W ashington M uhzalBnnk when Im ean W ashington 16 go m uch quicker. Ratherth% retorting whether
    17 M utualBsnk. 1.11referto W ashington M utual        :7 my objectionisproperorimproper.We'
                                                                .
                                                                                                      re
    ,.8 Bank FA when Ime-  'm W ashington M utualBank FA . 18 wasting m oretim e,you and m e,cluttering tlw
    1: And sim ilarly,W ashington M utualBank FSB,which 19 record ratherth> you sim ply retorting to my
    ao wasnotasubjectofaM eivership.                            an objections.
    al           M R.YOO:Objection.Assumesfadsnot               al         MR.KELLEY:Okay.Let'smoveon.
    22 in evidence.                                             22 BY M R.. KELLEY :
    aa           M R.KELLEY:1believeitisinevidence              23 Q.l'
                                                                      m goingtoinkoduceintoevidence
    24 intheSm ith deposition already.                          24 somedocumentshere.Thisispartofthe- to

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     1 makethingsclearer, theseareexcerptsfrom the            1       ''- revolYzgcommtrciallinesof
     2 purchase and assum ption ag= m entbetween the          2 creditahom e equity linesofcredit,
     3 FD IC receiverand JpM organ ChaseBlmk.                 3 Com m itmentsy''and SO On.
     4              .-= 0=                                    4      SO do yOu lmderstand w hata
     5   (DepositionExhibit1marked.)                          5 participationagreementis?
     6          -'=0=                                         6      MR. .Y0O:Objection.Callsforalegal
     7 Q.0npage1oftheexhibittheterm ''book                    7 conclusion.Callsfortestimonybeyondthis
     8 value''isdefm ed.And couldyou read thatover             8 person'sknowledge.
     9 and see if-                                             9      lfyou understand whatthatmeans.
    1:      M R.Y OO :Lettherecord reflectthat               z.n A . 1don'tknow specifically whatthey're
    11 page 1ofExhibit1 appears- isidentiGed by              11 speaking Ofthere.
    a.a page 3.                                              *2       M R.YOO:Also,M s.Davisisnotthe
    13      M R.KELLEY:Ofthepurchmqe and                     1.3 person with the m ostknowledge regarding the
    14 mssum ption agrœ m entvyes.                           14 purchase and œssum ption agv m ent.
     ls       M R..YOO:W hatM r.Kelley representsig          ls Q.Soyoudon'tknow whataparticipation
     1.6 thata portion ofthepum hmse and assum ption         16 am em entis?
     1.7 aglw m ent and the book value isthe flrst           17     M R.YOO :Asked and answered.
     18 paragraphofpage 1ofExhibit1- orpage3,                18       Sheworksasan associatecontrollerfor
    19 which istbe flrstpage ofExhibit 1.                    1.9 escrow advances. Shem ay nothave thatm uch
    20     M R.KELLEY :You'reright                           ao knowledge aboutthepurchaseand u sum ption
    ai A . Okay.                                             aâ agreem ent. So thedocum entspeaksforitself
    aa Q.Sothemain intexsthere,lguess,is                     aa     l'm goingtogiveyou someleewayto msk
    23 the/resayingbookvaluemeanswithrespectto               23 herquestionsaboutit,butsheclearlyishere
    24 any assetorany liability asslzmed.                    24 baseduponashortconversationthatshehad

                                                   eage 18                                                   eage 20

      l       MR.YOO:Objection.Tlw document                   l withMr.Smith.She'snotheremstheperson
      a speaksforilelf.                                       2 m ostknowledgeableofChaseregarding the
      3 Q.SoIwanttomakethedistinction                         3 purchmseand %sumptionagreement.
     4 between assetswith book value and liabilities          4       M R..KELLEY :You've already said that.
     s withbook value,justforprecision.                       s       M R..YOO:Soagainalwouldcautionyou
     6        Okay.Page2.                                     6 to%kthetypesofquestionsthatyou'm going
     7       M R.YOO :OfExhibit1.                             7 to msk her,because they'm really - atsom e
     8 Q.Yes.Exhibit1,whichispage5ofthe                       8 pointitmaybecomehm ssing.
      s purchmse and assum ption agreement. 1                 s       M R..KELLEY:I'm nothnrnqsing her.
    1ô highlighted loans,and herethey'a defm ing             zc       M R.YO O:lsaid atsom epointitm ight
    11 whatloansthe agreem entappliesto. And could           11 become hnmmsing asyou keep on mqking her
    12 youreadthatoverandjustmakesum yougot                  12 questions.
    13 it.                                                   xa       M R.KELLEY :Iwould ask you -
    14    A . Uh-huh.                                        14      M R.
                                                                        .YOO :Letme -
    ls Q.Under1,which isasubpm graphto                       ls     M R.KELLEY:- to stop intermpting my
    16 loanspitsays.''Loans(includingloanswhich              16 deposition.Thisismy deposition.I'
                                                                                                m paying
    17 have been charged of theA ccounting Recordsof         17 forit.A nd youlre nznning oF atthree orfour
    18 theFailedBnnkinwholeorinpartpriorto                   18 minutesashotonyourobjections.n at's
    19 BnnkClosingl.-.''                                     19 ridiculous.
    ao       And then itgoeson and itsays,                   20       M R.YOO :I'm entitled to it. Ifeel
    21 ''pM icipation a      ents,interestin                 21. comfortable.
    aa participations,overdro sofcustom ers,''               aa       M R..KELLEY :A1lyou have to do issay
    :3 etcetem.I'm notsomuchinteastedin                      23 objection.
    24 overdrafkshex .                                       24       M R.YOO:M r.Kelley,letm e fmish.

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        l Allright? Otherwisethisdepositionwillbe                1 smoothly.
        a overpretty soon. Letm e fmish,then you can             2 BY M R.KELLEY:
        3 askyournextquestion.                                   3 Q.Thenextpageaplease.Borrower's
        4      Atsomepoint ifyou keepaskingher                   4 claims.Thatwouldbepage9 oftheptlrchase
        s questionsm lating to theplzrch% eand                   s and assum ption aprement. A littlebitfurther
        6 assumption agreem ent,itwillbecom ehsmKsing.           6 down the page Pve highlighted assdsptlrchnW
        7 l'm going to givem u lçeway to ask questions.          7 by the assum ing bank. And they'rt saying that
        8 Butunderstsndthatshdshere-                             8 the/resubjecttoalltheIiabilities
         9      M R.KELLEY :Itis- itisnecessary to               9 associated with them .
        lQ ask those questions,and underKulç 26,Iam             10 A. Yes.
    ii allowedtoagk any quegtionIwant.aqIongas                  11   0.Andthen finally.wegetdowntoasset
    12 itleadsto orhasthe possibility ofleading to              la purchase price,and could you read thatover.
    :.3 adm issibleevidence.                                    13 A. Yes.
    :.4          M R.YOO:Exactly.                               1*   Q. So itstatesthattheassetpurchase
    ls     M R.KELLEY :You can'trestrictmy                      15 plicewillbethe book value ifthere'sno
    16 deposition arbitrarily likeyou'm trying to do.           16 Schedule 3.2. And r11representthatthere is
    l.v          M R.YOO:ltold you thatatsom epoint             17 no Schedule3.2.
    18 it'sgoingtobecomehnmRsillg.Onceitbecomes                 18       MR.YOO:Objection.Thedocllment
    1: hnm qsing,I'm going to instructhernotto                  :.9 speaksforitself.
    an answer.                                                  2c       M lt.KELLEY :And them isno Schedule
    21 BY M R.KELLEY :                                          21 3.2 tlwre in the dooumcnt.
    aa Q.Downthepageitdefinesobligor.Could                      aa      MR.YOO:Canyoupleasejust- you
    23 youreadthatoverand1etmeknow ifyou                        23 don'thavetorespondtomyobjedions.
    24 understand whatthatmeans?                                24       M R.KELLEY :Idon'
                                                                                         thaveto.

                                                      Page22                                                  Page24

        1       MR.YO0:Objection.Docllmentspeaks                 l BY M R.KELLEY:
        a foritselE Andcallsforalegalconclusion.                 2   Q.Then thenextpage,which ispage20of
        3 Q.l'
             m justagkingyouifyoutmderdxnd                       3 thepurchaseandasslzmptionagreementaIhave,
        4 whatitis?                                              4 'TheAssum ing Blmk hassubm itted to the Receiver
        s   A.Yes.                                               s $1.888billionfortheAssetspurcha dand
        6 Q.Y0u do? Okay.Soitindicatesthat                       6 LiabilitiesAssumedhereunder,'right?
        7 therearediflkrenttypesofobligors,right?                7     M R.YOO:Objection.Docllmentspeaks
        8   A .Y es.                                             8 foritself.
        9 Q.Direct indirect pn'maryssecondarys                   9   Q.1'
                                                                        m going to skip onepageofthe
    1: joint-                                                   :.0 exhibitandgotopage29ofthepumhnR and
    11      MR-YOO:Objection.Thedocument                        1.l assdlmptionagreement.n eseareindemnilcation
    ta speaksforitselft                                         la clauseswithin the contrac: asyou see from the
    13     M R.KELLEY :lam defm ing theterm s                   13 heading. Do you understand indem nification?
    14 thataregoingtobeusedlateron.                             14     MR.YOO:Objection.Callsforlegal
    ls      M R.YOO:Again,rm justassertingmy                    ls conclusion.
    16 objections.                                              16      M R.KELLEY:lasked forher
    17          M R.KELLEY :Yes,you are.                        :.7 understanding.
    18          M R.YOO:Canyoujuststopfrom                      18      MR.YOO:Letmejustassertmy
    19 rdoëngtomyobjections.                                    i9 objœtions.Youdon'
                                                                                   thav:toKspondtomy
    ao          M R.KELLEY:Whyax youretortingto                 an objxtions.IfsreallyJmnoying.Objection.
    al m e?                                                     al Callsforlegalconclusion.
    a:          M R.YOO:I'm notretortinganything.               a2   Q.Doyou understandwhatitis? You can
    23 I'm insertingobjections.Perhapsyoushould                 a3 answerthequestion.
    24 have counselxplw enting you so thiswillgo                a.   A .Yes.

    .
    Ailil-
    '
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             -
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             %f!Ft
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                                                      Page 25                                                  Page21

     l Q.Okay.Soyouunderse dit.lttalks                           1 Q.Doyouunderstandtheterm ''
                                                                                             purchased
     a aboutobligation supplemental?                             2 çredit-impaiM f'?
     3        M R.YOO:Objection.Documentspeaks                   3 A.Yes-
     4 foritqeltl                                                4 Q.Okay.Becauseitshowsup evecwhere.
     s Q.n afsjustanotherform of                                 s Okay.Sokeepmoving.
     6 indem niGcation?                                          6                -=:ë=
     7        M R.Y00:Docllmentspeaksforitself.                  7        (DepositionExhibit3marked)
     : A sking forlegalconclusion.                               8                -=0=
     s Q.Doyouunderstandthat?                                    s Q.AccountingforCertainLoansorDebts
    1:    A .Yes.                                               10 Securitiesacquired in aM nsfer.
    11    Q .And lim ited guaranty ofa coo oration?             11     M R.Y OO:Do you have acopy forme?
    12    A .I'm sorry,where isthat?                            12     M R..K ELLEY :Yes.
    13 Q.Bottom.ltsaysthecorpomtion                             13       M R.YO0:lfyoucould,justforeaseof
    1.
     4 p mnmteesthe = eivers. By corporation,I                  14 thisdeposition,asyou're introducing exhibits,
    ls m ezm FDIC.                                              15 ifyou can providem e acopy,aswell.
    16 A. Yes.                                                  16      M lt.K ELLEY :Ihavebeen providing you
    lv    Q.Thatisthocorporatiom notChase.                      17 withcopios.
    18     Okay.N extpage. Subrogation clause.                  18     M R.YO O:Tlmnk you.
    19 Do you understand whatthey mean by R ceiver              19 BY M R.K ELLEY :
    ac com oralionactingmqaguarantor?                           ao   Q. So areyou familiarwiththisstatement?
    21    A . Yes.                                              21   A. lhavenotseen thisstatem ent.
    aa        M R.
                 .YOO:Objection.Documentspeaks                  2a Q.Okay.n isgovemstheacquisitionof
    23 foritself.Callsforlegalconclusion.                       23 loans?
    24    Q.And thenthenextpage--ohpthereisa                    24   A.Okay.
                                                      eage 26                                                  Page 28

     l Schedule3.2.Itsays- lists- highlighted                    l       M R.
                                                                            .YG ):Objection.Assumesfactsnot
     : portion isloans,right? Itgaysbook value?                  a in evidence.
     3 A.Yes.                                                    3 Q.Okay.lleA theflrstpageonthere
     4   M R.YOO:Documentspeaksforitself.                        4 justto identifythedocument.Couldyouturn
     s Q.Andthenonpage36ofthepurchmseand                         s to page2.And it'sshowingtheaccotmting for
     6 assumption agreem entswhich isthe lastpageof              6 a loan thathasbeen pum hased. Haveyou done
     7 the exhibit itstatesthatthem ortgage                      7 anything w ith this,orare you fam iliarwith it?
     8 servicingrightswouldbeatbookvalue.                        8       M lt.YOO:Objection.Vagueand
     9      So we'redone with thatexhibit. Those                 9 ambiguous.
    lc form tllestarting pointhere.                             ln A . Idon'
                                                                           tIm derstand.
    11        M R.
                 .KELLEY:n iswillbeExhibit7.                    :.1 Q.Let'sbackup.Areyou familiarw1t1:
    12                 -=f)=-                                   12 the purchase m ethod ofaccounting?
    13        (Deposition Exhibit2marked.)                      13 A.It'sreallyoutqideofmyaccotmting
    14                 -=0=                                     14 scope,so I'm notfam iliar.
    ls Q.0nExhibit2,thisisapage- page l09                       ls Q.Okay.Al1right.Sorm goingtogive
    *6 from the JpM organ Chase nnnualreportin 2009.            :.6 a Iittle backgrotmd here. n e purchasem ethod
    17 And theterm ofintex stispurchased                        17 ofaccounting isdicuted by FASB 141, which is
    18 credit-impaW d loans. Andthey're setting the             18 the FederalA ccounting StandardsBoard 141. A
    1: purchasedcredit-impaW dloansat81.2billion.               19 loanthafsacquired,whdheriesimpairedor
    20        M R.YOO:Objection.Document- lacks                 ac not,hastobeaccountedforindividually.In
    21 foundation asto the docum ent.                           al otherwords,each onehmqto beexnmined. So if
    aa Q.ThedocumentistheJpMorganChase&                         aa youhaveapoolofloans,ifyouacquiredapool
    23 Com pany 2009 xnnualrepolt                               23 ofloans,you'd have to exsm ine each one
    :4        MR.YOO:Sameobjection.                             24 individually.Andthenoncethat'sdone,then

    7
    %!iu-k,St'
             .y'
               ipîi
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     1    theloan couldbeagregated into apoolof                    l      DoyouhaveanExhibit4 forme?
     a    loans,butitcan'tbe done - itcan'tbe                      a      TIIE W ITNESS:ThisisaIlpad of
     3    aggregated into apoolofloansuntilthe                     3 Exhibit3. Thisisa portion.
     4    accounting isdone.Andthenoncethat'sdone,                 4      M lt.KELLEY:Oh,isthatpartof3?
     s    then the SOP governsthe restofit,theactual               s      M R.Y OO:lassllm ethey're notpartof
     6    accounting forthe stufl-.                                6 3,right?
     7         lnthiscasethey'reusing asinglc                      7      M R.KELLEY:Soyou gotone.
     :    loan,butthatcould be apoolofloans.A nd                   8      M R.Y OO:n iswasattached aspartof
     9    whatthey're saying here,ifyou look atthis                9 Exhibit3. Did you m ean to includethat?
    1n page,isthepurchaseamounthistobe                            10       MR.KELLEY:Well,justwaitaminute,
    11 determ ined.and they startitasthe beginning                11 willyou? l'
                                                                               ve gotto look atthisstuF.
    a.a canying am ount. So thisloan waspurchased at              la       M R.Y OO:W ell,Iwish you had com e
    :.3 underprice.So $4millionwaspaidfor.And                     13 betterprepared.
    14 then they calculate whatthey think the f1:tu14             14      M K K ELLEY:Could you keep your
    ls cash flowsare going to be and croate abmsis                15 personalremarksto yourself,M r.Yoo.
    16 forthat.                                                   16      M K Y OO:lfyou keep yourpersonal
    17        M R.
                 .YOO:Objection.Assumesfactsnot                   17 remarksto yourselt maybe1'11dothesame.
    18 in evidence.                                               18       M R.KELLEY :ldon'
                                                                                           tmakepersonal
    19 Q.A11right.Soanyway- sothispage2                           19 remarks,Mr.Yoo;youdo.
    ac givesthe actllnlaccounting - SOP accounting                a:       M R.Y OO:Justletusknow because I
    aa fora single loam butitwould also apply to a                al think whatM s.Davishasisthe actualExhibit
    2a poolofloans.                                               aa 3. So ifyou believe itneedsto bepartof
    23        M R.YOO:Objection.n edocument                       a3 Exhibit3,thengiveitback tous.
    a4 speaksforitself.                                           a4       M lt.K ELLEY :Iunderstand allthat You

                                                     Page 30                                                     Page 32

     l Q.Okay.Solet'sgotoyage3.Andon                               l don'thavetoexplain.Okay.Lefsforget
     a page 3,ifyou goto 833,ItreiterateswhatI                     2 aboutalIthat. lt'snotnecessary. So thisis
     3 justkindofpnmphrasedearlier,andthatwas                      3 notpartofExhibit3.
     4 loanssubjecttothisSOPareacquimd                             4     MK YOO:SothafsgoingtobeExhibit
     s individually and in pools,and arm's length                  s 4?
     6 tremsactionsshouldberecordedattheir                         6    M R.KELLEY:Yeah,couldyou-
     7 acquisition pricepm sum ed to be fairvalue.                 7    M R.YOO :n atisalready Exhibit4.
     :      M R..YOO :n e docum entspeaksfor                       8    M R.KELLEY:Oh,you wantto m ake that
     9 itself.                                                     9 Exhibit4?
    ln Q.Andthenatthebottom lhighlighted,it                       zo       MR.YOO:She'salreadydonethat.Do
    11    says,''n e faceamountofthe loansm ay be                 z.i you have a copy forme oftlnspadicular
    la    substantially dilexntfrom the                           la docum ent?
    a.3   acquisition-date fairvalue ofthe loansdueto             ,.3     M K KELLEY;Apparently not,orifitis
    14    changesin marketinterestrates,creditrisk,               14 there,itwillbehard to fm d. So we'llm akea
    ls andexpectedprepayments.''                                  ls copy foryou.Couldyoulookonhers?
    16     1'm going to skip overthese othertwo.                  :.6   M R.YOO :Sure.
    17 Ifyou go back to the last- oh,thisis                       17 BY M R.KELLEY :
    18 actllnllyanew thinghere.M akethatexhibit4.                 18 Q.A11thisisisafootnotethatindicates
    19                   -=0=-                                    19 the am ountofpurchased creditim paired loans
    ac         (DepositionExhibit4marked.)                        an obtainedfrom W ashingtonM utual.Anditsays
    al               -=p=                                         al thattherealv 78.1billion. And they didn't
    2z         M R.YOO:Do you have a copy form e?                 a2 includethese in theiraccounting.Thisis
    a3         TI.
                 IE W ITNESS:Ifsthesame.                          23 JpM organ Chase 10-Q.footnotetothe 10-Q.And
    :4         M R.YOO :No,it'sdiFerent.                          24 itsaystlwy were recorded atfairvalue on the

    $ykc.
        .l.k;r3.ij)tp.                   TORREANO REPORTING AND VD EO                                   (8)Pageg29-32
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    1. transactiondateincludingadjusc entforcredit             l         O epositionExhl
                                                                                       'bit7marked)
    2 impairmlnt.Soth*Gmditimpairmentadjustment                a                -=0=-
    3 they'rerefening to isSOm 3.                               3        M R.KELLEY:l'vehighlighte tlle a1*e%
    4     M R.YO0;Objection.Lacksfoundation.                    4 ofinterest.Thishastodowithmortgage
    s Objectiondocumentspeaksforitself.                         s replzrchmseliability.Andifyoutakealookat
     6 Objection,also,assumesfactsnotinevidence.                6 thehighlightedfoototes,itshowsthetypeof
     7                 -=0=                                     7 paymentsandOtherissuessurmunding the
     8          (DepositionExhibit5marked.)                     8 repurchaseofIoans.Sothepurposeofthis
     :                 -=.
                         0=                                     9 exhibitisto highlightthatthe acquisison of
    10 Q.Exhibit5.isobtsinedfrom theSenate                     ln theloansby Chasewasnotnecesx 'ly through
    ii     Perm anentîubcom m ittee and Investigations.        1i    the purchase - throughthe receiver.but
    IQ     That'sthe Senate Subcom m ittee and                 1.2   through the liabilitiesacquired by Chase when
    13     hw estigatitms.And itisan OTS factsheeton           13    itpurchased certain assetsand certain
    14     W ashington M uhlnlB% k issued on Septem ber25th    14    liabilities. So the Ioanscould beacquilvd
    15 of2003,whichwasablmk closedate.                         15 throughtheliabilitiesandnotbetransferred
    16         M R.
                  .YOO:Objection.Documentspeaks                16 œsassets.SothafsthePUCPOSeofthis
    17 foritself.Lacksfotmdation.                              17 exhibit.
    18 Q.Okay.W emay referbacktothis.So I                      1:        M R.YOO:Fortherecord.Exhibit7
    19 don'thaveanyquestionsforyou.                            7.: apjearstobeayortionofsometypeofa
    2:                  -=0=                                   2: lllm g.lt'sidentlfled by thedate numberon
    21          (DepositionExhibit6marked.)                    21 topM ay 26,2014,Corp 10K,2013,andthis
    22                  -z
                         =0.=-                                 a2 appearsto bepage 79 ofthatdocument. Ifit
    23     M R.KELLEY :D id 1giveyou two pagesor               23 iswhatitis,again,asto M r.Kelley's
    24 One?                                                    24 statem entaassum esfactsnotin evidenco,lacks

                                                     Page 34                                                    Pa.le 36

     l          M R.YOO:Two pages.                              l foundation.
     2          M R.
                   .KELLEY ;Yeah,thisisaseparate                2     M R.KELLEY :Ld me highlightthata
     3 one.                                                     3 littlebitmore. Atthe bottom ofthepage it
     4          MR.Y0O:Exhibit6apr arstobea                     4 indicategwherethisisfrom,ifsJpMorgan
     5 documenttàatindicatesW ashmgtonM utual,lnc.              s Chase& Company 2013Annualrepod.
     6 and Subsidiaries,NotestoConsolidatz                      6         W hy don'twetakeafive-minutebreak.
     7 FinancialStatements(Unaudited).                          7         MR.YOO:Okay.
     s          M R.KELLEY;Oh,excuseme.n eydogo                 8         (Recess.)
     9 together. Sony. n ey actually do go together.            9 BY M R.
                                                                        .KELLEY :
    1: Sothat'stheend ofit.                                    lc Q.Doyou understandthedilerencebetween
    11          M R-YOO :Do you have a second page for         11 book value and fairvalue?
    12 me? lalremdyhavetllefirstpage.                          la         MR.YOO:Objection.Vagueand
    13 BY M K KELLEY:                                          13 ambiguous.
    14 Q.Soifyoutakealook ati at,                              14 A.Yes.
    ls gunmntees.PIltiethesetwo corporate                      ls Q.Socouldyou givemeanexplanation?
    16 advanceslater. Have you had any exposureto               16    A . So Ibelievefairvalue to be whatthe
     :.7 gunmnteepayments?                                      ip marketvalueisofthepropeo ,whatsomebody
     :.8     A .N o,1have not.                                  18 would pay forthe prom lly. W heroqs,book value
     19 Q.Sothisexhibitisbeingusedto                            z9 iswhatthebankcarriesthatasseton its
     2c identify the glmmnteesm ade by W ashington              20 books.
     21 Mutual,Inc.ontheloansthatitcreated.                     al Q.Sobmsedonwhatwe'veseene lier,the
     aa         M R.YOO:Objection.Lacksfoundation.              aa loansweretobeacquiredatbookvalue,but
     23 Assum esfactanotin evidence.                            a3 then they had to beaccolmted foratfairvalue,
     24             -=r0=                                       a4 rightaby thesestananrds,so there'sachmlly

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                                                         Paqe37                                                     Page39

    1. tw'
         othings,oneiswhateverwa.
                                sonthebookson                        1. Q.Okay.Beforgwemoveongolngthrough
    a         September25.2008 - yeahm'8.and then                    2     some ofthesethings,lw anted to ask you a few
    3         sometim e thereaferthey do a fairvalue                 3     questions. 'rheœ wasa- lth* W .Sm ith in
    4         calculation.D oyou know how they do thefair            4     hisdeposition Rferred to aM SP conversion.
    s         valuecalculation?                                      5     Areyou familiarwiththat?
    6          A. 1donot.                                            6      A. Yes.
    7 Q.Sothey could,Iguess,appraisethe                              7 Q.Could youexplaintomeexactlywhatwas
     g property orthey could- ifit'sasecurity or                      8 goingonwiththeso-calledconversion?
     9 something,theycouldseewhatittradesfor.                         9        MR.YOO:Objection.Vagueand
   10              M lt.YOO :She said shedoesn'tknow .               10 am biguous.
   11          Q. Soyou'm notfamilic with tlw açtual                 11        lfyouunderstandhisquestion,goahead
   qn fniexzalx,o onloulatinng                                       4a and rgtnnnd
   13 A.No.                                                          13 A.So1thiàkyou'rtspe>kingaboutthe
   14               M R.YO O:A sked and answexd.                     :.4 conversion ofthe M SP servicing system . So when
   ls Q.Butldoagreewitllyolzrdetinition.                             ls weacquired- whenChaseacquiredtheWAMllBank
   16               AK you fam iliarwith poolaccounting?             16 loans,they werton allM SP sew icing system and
   17 A.l'm not.                                                     17 Chasewasalsoon anM SP servicinggygtem,goit
   18 Q.You'renot? Okay.Soyolzractivities                            18 wmsreallyjustmeshingthosetwosystemsinto
   as arr pretty much loan levelactivities?                          1.9 one,into ourservicing system .
   ac          A.Yes.                                                ao     Q.Didyouparticipateinthat?
   al          Q.And then somebodyelsewould aggregate?               al     A.JustrelatedtocorpomteadvanK s.
   aa          A.Yes.                                                aa     Q.Sotheyaskedyoutocheckthingsover,
   23          Q.AreyoufamiliarwiththeFFIEC,the                      23    makesuretheywerecomingout-
   24 Fedem lFinancialInstitutionsExaminations                       24     A . Yes.
                                                           eage 38                                                   eaqe 40

      a. Council,guidelines?                                          l     Q. - theu me?
      a        A . l'm not.l'veheard thatterm ,butl'm                 a     A. W e had to m ake surethey balanced. Once
      3 notfamiliar.                                                  3 everythingwasbroughtover,thatitbalancedto
      4 Q.Som uhaven't--maybeweshouldjust                             4 thebeginningandendingbalances.
      s desneit.ltshowsup intlw commentsfield.                        s Q.AndwasthatalIdonewithintheume
          6    A .Okay.                                               6 program,orwasit-
      7                           -=:
                                    0=-                               v     A .Yes.
          8           (DopositionExhibit8marked.)                     8 Q. - twodifrerctprograms?
          :                       -=0=                                :     A.Justtheoneprovam.
    1c Q.n at'sanotherpagefrom tlleJpMorgan                          1.0 Q.Okay.Anythingremarkableaboutthat?
    :.1 Chase-                                                       11    M lt.YOO:Objection.Vagueand
    a.a              M R.YO O:Do you have acopy form e?              la am biguous.
    13               M R.KELLEY:Actually,no.W e'regoing              13 Q.Differentchartofaccounts?
    14 tohavetocopythat.SothisdeGnestheFFIEC                         14 A.lmean,Iguess1don'tundemtxnd
    ls cross-borderdlsclosure requirem ents.                         ls specifically the question.Buttherewere
    16               M R..YOO:Objection.Documentspeaks               z6 direrentaccountsthalwehousedsyes.
    17 foritself Assumesfactsnotinevidencc.                          17 Q.Soyouputthem intherightbox?
    18 Lacksfoundation.                                              a.8    A .Yes.
    19          Q.Okay.Thedocumentismlevantto the                    rt, Q.Makesurethey add upattheendofthe
    ao com m entsfield in som e ofthe 745 kansactions.               an day?
    a1 Anyway,I'lljustputthatinthex.                                 al A.n at'sright.
    22               Doesthatmakesense? Readitover.Is                22 Q.W henwmsthatcompleted?
    23 itcleo cut?                                                   a3      A. Around Dtcember2009.
    a4 A.Yes.                                                        24 Q.Didyouthenbegintousethesystem?
    '''
    'j
     .
     ,
     411-
        !l1..
            -
            .j.    )(.
               7..1.
              .'   7 %.
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                      r'j!rs.
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    l Youhadtheconverte system?                              1 Q.Yeah,the/rehybrz.Okay.Tlmnks.
    a     A . Yes.                                           a You're theGrstperson who'sknown whatthat
     3 Q.Butonlywhenitwasfinished,right?                     3 is.1wasin-justmqanmside,lwasin
     4 A.Yes.                                                4 cotlrtandajudgesaid- hewaslookingata
     5                      -c=0=-                           5 screen shot,not&om Chase,butfrom Bânk of
     6          (DepositionExhibit9marked.)                   6 New York,andhesaid,Ineverhadanyonethat
     7            -=G-=                                       7 could explain a screen shotbefore in court.So
     :     M R.YOO:Fortherecord,Exhibit9is                    8 congratulations.
     s documentidentiled by Bates stxmp num ber               9      Do you happen to recallwhatthe nlzm bers
    10 JPM 002040.                                           10 Would be forFrmnieM ae,G innieM ae?
    ia   MR.KELLEY:n at'sright.                              i1       MR.YOO:Objection.Completely
    la Q.Sol'vehighlighted91T00.What's                       l.
                                                              a irrelevanttothesubjectmatterofthis
    13 91T00?                                                1.
                                                              3 law suit.N o1likely to lead to discovem ble
    1.4 A. Itisa corpomteadvance pay.                        14 evidence.
    15 Q.M dwhatcorpomteadvalwepayee?                        15 Q.DOyouknow?
    1.6 A . lt'sathird partysso the T ofthe                  16 A . Generally.Freddie M K arein a 5
    17 91T00 indicatesthatifsathird-party payee.             17 series,a 500 series,could be 5 whatever.
    t:     Q.Okay.                                           7.8   Q.5 something?
    ls A . And it'sused to houseprivate hw egtor             19 A .Yeah,and thenFannie isin a 4 series.
    2: claim funds.Sowhen Chasemakesaclahntotlw              20 andGinnieM aesare 1,lbelieve,7 and6
    al investorandthey paytlleclaim,ftmdswouldbe             21 series.
    z2 appliedtotllispayee.                                  aa    Q.Haveyoueverseena 1or2?
    23 Q.Okay.Sothey sentthem abill?                         23    A.NotthatIcanrecall.
    24 A.Yeah.                                               a*    Q.Okay.How abouta3?
                                                   eage 42                                                    Page 44

     z. Q.n ey pay.Okay.Now,ifyou lookto                      a. A.No.1don'trecall.
     a therightofthataitstatesthattheclaim -                  2 Q.How highdothenumbersgo?
     3 theinvestorm sbegin with an A through V;is             3 A . lnvestorm scan be any number,and so
     4 thatcorrect?                                           4 they can go al1the way up to like the 900
     5 A . In the cu= ntM 5P platform ,yes,                   5 serits.
     6 indicatesprivateinvestorloans.                         6 Q. Sobasically thxedigits?
     7 Q.AndwhatwouldX,Y,Z Zdicate?                           7 A.Yes.Threechnmders.
      8 A.n osewould indicatebnnk-owned assets.               8 Q.Okay.Oneotherthing,thishascomeup
      9 Q.Okay.SoW,X,Y,Z.Haveyouever                          9 anumberoftimesandpeopledon'tseem toknow
    te seen a W ?                                            âô it. lfltake an investorID like 801/0006,
     12. A . Ihave.                                          11 what'sthe/0006? Isthatpartoftheinvestor
     la Q.Youhave?                                           la lD,oristhatsomeothercategory?
     13 A.Uh-htlh.                                           13 A.Ifswhatwecallacategoq code.And
     14 Q.Okay.Whatiflere'snoletterthere?
     ls Supposelfsjustanumber.Whatwouldthat
                                                             14 itdoesn'talwayscarryalotofslpjfkance
                                                             ls otherth% to- thosecategoriesdnvethat-
     16 indicate?                                            16    wherethe loan residesinto a diflbrentaccount
     17 A .Thatwould indicate anothertypeof                  17    orcallcenter. So itm ay bethe sametype of
     18 invostor. So itcould bt Fannio M ae,Froddie          18    loan,butin orderto getthose loansto be
     :.: M ac.Ginnie M ae.                                   7.:   driven to a difl-
                                                                                   erentbalance sheetwe'd haveto
     an Q.0h.really?                                          ac changethatcategoy andhavethatcategorymap
     21     A. W hich arenotconsidered private                ai to the GL thatitdnvesto.
     aa investom.                                             22 Q.Excellentexplanation.Soitjust
     23 Q.They'rekindofquasiprivate?                          23 breaksthebooksupintoaseriesofbooks?
     24     A.Hybrid.                                         24    A.Conw t.

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    l Q.Okay.AreyoufamiliarwiththeLPS                             l resideonthebalancesheetandtypicallyacat
    a desktop system? Youmay notbe.                               2 13 indicatesansrm loan.
    3 A.Ifit'sinterchangeablewithM SP,I                           3 Q.Okay.Sothebalanceshedsare
    4 don'tknow ifthey usethose interchangeably,                  4 segregated by loan type?
    s butspecifk ally l've neverlogged into an LPS                5 A. Correct.
     6 desktop.                                                   6 Q.Okay.And ifyou look downtherea
     7 Q.Ifsusuallyextemal,lthink,to                              7 littlebitfurtheritsaysPLGD-LN.
     8 Chase,butit'sdonebetween - outin the LPS                    8   A . Okay.
    9 thkd-partyprovidersfortlltbanks.                             9 Q.HaveyOurunKfosstIIQPledgedloansin
   10     M R.YOO:Objection.Assumesfadsnot                        lQ yourdealings?
   11 in evidence.Lacksfoundation.                                11 A.No,1havenot.
   a.a     M R.KELLEY :W hy don'twetake alittle                   :.2 Q . You m ightnot. It'sm ore ofan investor
   13 bremk:because lneed to geta couple copies                   13 thing.
   l.d m ade.                                                     l.d     YefsFO to the nextPv e. W ere's Som f
   is                             -=0=-                           7.5 payee numbersthereatthebottom .Areyou
   *6                (Deposition Exhibit10marked.)                16 familiarwiththat? 95r 1.
    :.7                           -=0=-                           17   A . Som ewhatsyes.
   18                M R.KELLEY:Canyou sharethat?                 18 Q.Okay.Couldm u explain? IguessT was
   19      M R.YOO :lhave no choice.                              19 third party.ldon'tknow whatR is.
   2:      M R.KELLEY :Ittum soutyou do have a                    2n A . So R would Zdicatethatit'sa
   al choice. Ido have a copy ofit.                               21 recoverable balanceam eaning recovembleto the
   za      M R.YOO :Fortherecord,Exhibit10 is                     aa borrow er.
    23 athree-pagedocumentidentiGedas* M 001546                   23 Q.Okay.
    24 and47.                                                     24 A.ldo know that95r 1wasapayeeused

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     l BY M R.KELLEY:                                              l prt-chase.Chasenolongerusesthispayee.lt
     a Q.Youmightwanttolookthatovera                               2 would havebeenconverttd over.
     3 littlebit.l'vekindofhighlighted someof                      3 Q.SothiswaslikeaW uhington Mutual
     4 thearemsofinteres: butthere may be more.                    4 payee code?
     5               Haveyou seenthistypeofreport                  5 A.That'scorrect.Yes.
     6 before?                                                     6 Q.Whatcodewouldtheyusenow?
     7        A . Ihave not.                                       7   A. Idon'tknow forthisspeoitk payee.
     8 Q.Okay.Itapmarsthatit'sa- some                              8 Q.Okay.DoyouhaveanyideawhatinIV
     9 sortofM SP summo reporqright?                               9 means?
    ln               M R.YOO:Objection.Lacksfoundation.           :.0 A.ldo.Thafsauser1D,butit'sused
    J.1 Assum esfactsnotin evidence.                              zz by the invoice team ,so it'snew invoice.
    12     Goahead and respond.ifyoucan.lf                        la Q.Doesthisreferto aspecilcperson,or
    13 youknow whatitis.                                          ,.3 jus'tagroupthatdoesthisfunction?
    14        A . Pvenotseen this. ltm ay be a screen             14   A. n isspocifc userisrofem noing a
    ls thatI'm jus'tnotfamiliarwith.                              is group,butuserscanbeslxxcifk toaperson.
    16 p.Okaj.Butifyoulookatthetopyou                             16 Q.n eycouldbe- tlleycouldbespecific.
    17 seethe hlstory yearto dateand INV #0lcat13,                17 oritcould be a sm allgroup ofpeopleusing
    le and tllen investornum ber.n afsthe loan                    18 thiscode to identify theirgroup?
    1: num ber. 1'11representthatthatistht loan                   ls A .Y es.
    a: number.Andthenithasadatethere.Doyou                        ce Q.Gotit.Okay.n athelps.
    al know whatany ofthose thingsare,T13,for                     al      And then w hat'stheA R overhere atthe
    aa exam ple,cat 13,013?                                       aa farrighton these entries?
    23        A .Idon'
                     tknow whatT13 is. Cat13,                     23   A . 1honcstly don'tknow .
    24 again.driveswherethe- wheretheloanwill                     :4 Q.So someofitisthesame,someofit

   '
   w
   ;j?r
      j.l
        .L
         ''
          .
          r-j.-''
                -.
                 j
                 ;'
                 i.jp
                  p .
                    ,j,
                      )'
                      Fk)yu,jj.
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      l isnt Downonth*thirdpagetheyhavealist                        l beforeconversion,W AM U had itsownM SP,they
      a ofthingsthatlooklikekindofdefmitions.                       a hadplatforms.So likeChasetoday hasclient
      3     A . Okay.                                               3 465 and 156,they had theirown separate
      4 Q.AndhaveyoueverseenstuF likethis?                          4 platformsorclientsonMSP.n afsjust
      s These are kind oflike codes. Do you usethese                s referring to oneofthose.
      6 nom ordidyoueverusethem?                                    6 Q.SOis908aW %hington M utualBank
      7 A. None ofthese codeslook fam iliar.                        7 numW ,orisita Chu e number?
      8 '
        Ihey'reprobably specificto thisscreenaand                   8    M R.YOO :Asked and answered.
      9 that'snotonethatluse.                                       9 Q.ldidn'
                                                                             tunderstand.
     lQ     Q.Okay.Al1right.                                   ln A.IfsW AM U.
     11              -r=0=                                     1.1 Q.Andthen itsayspre-9-1-09.Doesthat
     a.a      (Deposition Exhibit11marked.)                    a.a sotmdlikeaconversiondate?
    13                  -z=0=-                                 13      A . Preconversion.
    14         M R.Y0O:Exhibit11isidentisedby                  14 Q.AndthenaAerthatthey usesomething
    15 JPM Batesstam p num ber002035.                          ls else which they don'
                                                                                     tindicate hex on this
    16 Q.ltsaysloanM nsferscmen,andthe11                       16 scrten,1guess.Lefsgo downtothebottom
    17 wehaveatthetop- ifyougodownthem's                       17 becausethe/reinreverseorderdate-wise.
    18 headersand go dow n furtheritsaysclientl56.             a8 W hatw e're seeing here isadate 8-7-07. Could
                                                                .

    19 W ho isclient156?                                       ls you explain this? n e captionsareatthetop
    20 A.Client156isjusttheplatform where                      2: old/m v andEFFdateandthenwehavetrandate
    al     HelitageW AM U loansarehoused on M SP. SoM SP       al and tben date paid. Could you explain to m etlle
    aa     hastwo platform s,one being 465,which isfor         aa 80707 entry trsnsaction date?
    a3     HeritageChaseyand theotherplatform orclient         :3 A . Itappearsthat'sa trnnqnntion that
    24     is156,w hich isHeritage W AM U.                     a4 happened priorto conversion, so thalhappened

                                                    Page so                                                    eale s2

     l Q.And whatdoesthatmean?                                  1 in theW AM u servicing system.Icanexplainit
     a A.Itjustmeansthatthoseloansonclient                      a asfarashow Chasewouldourmntly - what
     3 156 were originated by W AM U.                           3 thesewould repx sentin Chasetoday, butI
     4 Q.So itdoesn'
                   tindicalohow theywere                        4 don'
                                                                     tknow whatthey weredoinghere.
     5 acquired?                                                s Typically, when you seethese transfersand they
     6 A.No.                                                    6 justsaymaintenanceinvestor,itcouldbethat
     7 Q.Sotheycouldhavebeenacquiredasa                         7 theywerejustmovingitintoadiFerentGLsso
     8 liability repurchase or- they'relust                     : they had to move itinto a diFerentinvestor
     9 W ashington M utualBank loansorW ashington               9 category to record itin thatGL account.
    ln M utualBank,FA loans?                                   ln Q.You spokeearlierthisappa ntly-
    11     A .Yes.                                             a.i they'reindicating the investornum berhere is
    12 Q.Arethereany W ashingtonM utual,FSP                    la 030.Doyouknow whatthatis?
    13 loans in the Heritage thing? 1don'tthink so.  13 A . Ido not. Those areal1preconvem ion
    14 A . Idon'tknow the diference.                 14 and W AM tphad theirown Iogic forthe investor
    ls Q.lt'satechnicaldilerence.                    zs l'
                                                         DsthatisdiflkrentthanChaseis. W herewe
    1.6 Apparently,W ashington M um alBnnk,FSB wasn'
                                                   t 16 had W , X ,YsZ arebank owned.they had a
    17 inreceivership;itwasjusttransfer dasan                  17 difexntlogic.
    1.8 operating subsidiary.                                 18 Q.So ifyoumovetotllecolumn nextto
    :.9       M R.YOO:Objection.Assumesfactsnot               l.: thatyouseethe801006,whichIthinkyou've
    ao in evidence,lacksfoundation. She gaid ghe              ac alteady explained adequately.
    21 doesn'tknow .                                          al A . Uh-huh.
    aa Q.Sowhataboutclient908,who isthat                      2c Q.And whatthey'resaying istlzattheloan
    23 client908?                                             a3 wastransferred from 030 to 801;isthat
    24 A.So908isjustinreferencetowhen-                        24 correct?

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     l A.Appearstobe.                                        l ifsreallyjustastepintheconversion.
     a Q.M dthenlet'smoveuptothenextline.                    2 Q.Okay.Sojusttobeclear,theverytop
     3 151justmakeanotethatthat30183559 isa                  3 ofthepageithasD M organChaseBnnkNA-156?
     4 loan nllm beratissuehere. On 12-17 of'07 it           4    A .Yeg.
     s showsanotherkansfer.                                  5 Q.IsthatChase'snumber?
     6    A . Thatappearscorred .                            6    A. 156 indicatesthat'son the platform for
     7 Q.Sothehwestorwentfrom A01toA11.                      -z HeritageW AM U.
     8 W ouldthatbeaconvctmad?                               8 Q.Okay.Pladbrm HeritageW AM U.A11
     9    A . Yes.                                           9 right. Okay. Thnnk you.
    10 Q.Andthen lateronin 12-19of'08it                     ln                -=0=-
    11 showsthe- well,go alwadO dtellmewhat                 11        (Deposition Exhibit12marked.)
    la happened there.                                      12             -=0=
    :.3 A . Lookslike itm oved &om investor1D,              13       M R.YOO :Do you have a copy form e?
    14 A 11category 006 into A 01category 013.              14       M R.KELLEY :W illyou share.please. l
    1B Q.Okay.Andagain,wedon'tplacespecial                  15 haveonehere,butit'snotworthsearchingfor.
    16 intereston tile 006013?                              16 BY M R.K ELLEY :
    :.7   A.Correct.                                        17 Q.S0thisis* M 001134Batesnumber.l've
    ie Q.Soifyoulookatthedatesbelow tbat                    z.e highlightedthethingatthetop.'
                                                                                            Ihisapr ars
    19 itsaysthetransaction dateis 12-19 of'08.             19 to m ferto an hw estorchangeand efl-ectlve
    zn right?                                               20 date. So apparently thatm atchesw 1t11this?
    al A. Right.                                            21 A . Yes.
    22    Q.Itsaystheefœ tivedateis3-1of                    22 Q.SoeventhoughthisisnotaChue-
    23 '08.                                                 23 ChaseusesthisFstem,obviouslj,butifsnok
    a4    A. Correct.                                       24 Idon'tthink,an mtem alaccountlng system ,

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     1 Q.How can youeflkctabackwardstransfer?                1 ifsanLPS?
     a Haveyou everseen thisdone?                            2    A . No.
     3 A.Ihave.ldon'tknow whatthat                           3 Q.Soanyway,thatmatches.
     4 indicates.                                            4       M R.YOO:Lettherecord reflectthat
     s Q.Anditmfersto- doyouknow whatthe                     s Mr.Kelley'sreferringto- whenhesaysit
     6 N refersto?                                           6 m atches,he'sreferring to the top line of
     7 A .ldo not.                                           7 Exhibit 11.
     8 Q.You'
            redoingbetterth= mostpeople.                     8 Q.lnvestorchangeandeFectivedate
      9 Congratulations. M ostofthem are bam ed by           > 9-2-09.
    :.0 this.                                               lc      Did you look atM SP forthisloan prior
    :.1      And then on 9-2 of'09 itshowsan                11 aspartofyourpreparation forthisdeposition?
    la entirelynew investor,X01,right?                      12 A.Ididreview itajustthecorpomte
    13    A. Yes.                                           13 advance screens.
    14    Q.Andwhat'sthe228here?                            14 Q.Okay.Youdidn'tlookatanytllingelse?
    ls A.AgaK justacategoa thatdrives                       is A.No.
    16 ledger.                                              1.6   Q.1mightaskyou.how doyou getyour
    17 Q.Okay.n isonehereis- whafsit                        17 instructionstoapplyacorpomteadvance? 1
    18 doing? It'sgoinjfrom AX01toA01?                      18 mean,how doyouknow whattodoinyourjob?
    19    A. lbelieve thlsiswhen conversion                 19 Do you getorders?
    20 hapm ned,andwhatyou'm seeingthereistlwse             ao       MR.YOO:Objection.Vagueand
    al loansbeing loaded onto the Chase servicer. So        al ambiguous.
    22 it'sreallyjustloadingthem intothiskindof             aa       Ifyouunderstandhisquestion,goahead
    :3 generic investor1D,and then you seea changing        a3 and respond.
    :4 back to the corv tonethatitcame from . So            a4 A . W e don'tapply the corporate advance,so

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     1 thoR arepaid outthroughan hwoicesystem .                1              -=0=
     a   So thevendorsubm itqan invoice,the invoice is         a     M R.YOO:Exhibit13 appearsto be -
     3   paid through anotlwrsystem and isbooktd into          3     M R.KELLEY :This isa summ e .
     4   M SP. W hatmy tesm doesiswe reconcile the             4     M R.Y O0:W at'ssomtthing thatyou
     5   activity w ithin the payeeto enstlre ifthepayee       5 gtnemted,right M r.Kelley?
     6   isforinspectionsthatwe're only getting                6     M R.KELLEY :Right.
     7   ingpection tremsactionsin thatpayee.                  7     M R.YOO :Sllm m o of745transactionsis
     8 Q.Soevely745tran>ctionwillhave,                         8 thetitleofthedocument.
     9 what an invoice?                                        9     M R.KELLEY :Yes. And it'sa sum mo of
    10 A .Nota 745. So a 745 isa non-m onetary                1: theChase discovery referencing theChase Bates
    ix transaction.lt'sanadjustingentry.Itcould               ii numberintlw flrstcolumn.Sothatwouldbe
    a.a justbeusmoving itfrom onepayeetoanotlwr.              ia thego-topage.Andithasausercolumn,a
    13 lnvoicesarebooked with a600 series                     13 date,ifsgotthe payœ codes,and tlw com ments
    14 transaction code.                                      14 5eld isextracted from thosedocuments.
    ls Q.lthinkwehavesomethingon that So                      15      M lk.YOO:Again,thisdocumentwas
    16 how would you know to moveto adiFerentpayee            16 genem ted by M r.Kelley. Thisisnota Chmse
    17 code?                                                  17 documtnt.
    1: A . W e would seetmnsaction with reason                18     M R.KELLEY ;No,it'snot.
    19 codesthatdo notapply tothatpayee.So ifa                19 BY M R.KELLEY :
    ao payeeissetup asaninspectionpayee,we                    an   Q.Takealook atthatforaminute.
    21 should only see inspection remson codes. So if         ai   A. Okay.
    22 wesaw areasoncodeMtthatwasnot                          aa Q.Iguessstartingattlw top,tlw 10and
    aa inspection-relatei wewouldknow thatitdidn't            23 l4,doyouknow whatthatis?
    a4 belong.                                                24   A. ldo.

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     l Q.Soforevery745istlwregoingtobea                        l Q.Whatisit?
     a 600 or500?                                              2   A. So the l0 and 14 isacontra payee.
     3 A.No.A 745isgoingtobeoFsetwith                          3 Q.lsthatarealpayee?
     4 another745. So in oM erto do a 745                      4   A. By payee,1mean thatit'sa number
     5 H nsactiontherehastobeadebitand a                       s asgignedto aGL.
     6 credit butthere'snohwoice.Soit'smoving                  s Q.Generalledger?
     7 thingsinternally on ourbooks. There'sno cash            7   A. Yes.
     e receivedandwe'renotpayingcash out.                      8 Q.So itdoesn'thaveany flzrther
     9 Q.Asanexample,lfanappraisalwas                          s idontifkation?
    1: orderedbyChmsebyanoutsidefirm,thenthat                 10 A.No,otherth% itwouldjustindicatea
    la firm would send Chasean invoice,itwould be             11 genem lledgeraccountthatthisactivity would
    la recorded asa 600?                                      la behitling.
    :.3 A.600seriestran,yes.                                  13   Q.Okay. So it'sheadedthatway?
    14 Q.Andwouldthea alsopossiblybea745                      14 A.Yes.
    ls entry?                                                 a.s Q.Allright.Andwhenitgetsoverthere,
    16      M R.YOO:Objedion.Asked and                        n.6 then somebody elsedoessomethingwith ita
    17 answ ered. Tw ice.                                     ,.7 right?
    18 A .Only ifthefundsneeded to bem oved                   18 A. Yes.
    19 intoadiFemntaccount.                                   19 Q.Soifsapaditionhlgoftheaccounting
    20      M R.KELLEY :Iwantto txke a                        ac functions,1take it?
    2:. sve-m inute break.                                    2a. A. Yes.
    aa        (Recess.)                                       aa Q.Andthen 16and14?
    23                -:=0=-                                  23   A. Thatisthe - it'sa creditlossaGL.
    a4        (DepositionExhibit13marked.)                    24 Q.Whatisacreditloss?

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    1 A.lfsl
           'ustwllerewexcordpotential                           l Q.WhafsCMVCmean?
    2 losseson ourbooks.                                        2    A . n at'sa contraconversion balo ce.
    3 Q.So ifit'sminus,isthataloss?                             3 Q.Doesthisrelatttothefairvalueof
     4     A. None ofthese willspecilcally be                   4 the loan?
    s losses,theyw justkindofpaperaccounting,                   5 A.ltdoes.
    6 wherowe'resayingaoreditistypicallya-                      6 Q.You'reno1fam iliarwithfairvalue
     7 I'm sony,a m km swould indicatea creditsand              7 calculations. 1think wc asked thatone.
     8 somethingthatwasjustapositivenumberwould                 8       M lt.Y0O:Askedandanswemd.
     : beadebit.                                                 9 Q.Someothergroupdoesthat;isthat
   lc Q.Sothebottom them'sa435numberas                          10 correct?
   11 positive?                                                 11   A. That'scorred .
   la A. Uh-huh.                                                12      M R.YOO :Asked and answered.
   13 Q.There'sadebit?                                          *3 Q.Doyouknow whatgroupdoesit? Do they
   14      A. On theright yes.                                  14 havea nam e?
   is Q.Soisthat- sowhichoneistlw right                         *5 A.Idon'tknow.
   16 one?                                                      16 Q.'
                                                                     lhere'sOver150,000employees.
   17           MR.YOO:Objed.                                   17 A.Right.
   z: A.Al1oftheseappearto be.                                  âg   Q.SotheCAM V on theline7,what'
                                                                                                  sthat
   19 Q.W ell,they'replusandminus.                              19 referto?
   2: A.Someofthem arejustchangingthe                           ao A.CAMV referstoacontrannniversary.
   al remson code,so ifyou lookovertotherigh:                   al Q.So soundsIikeadnxgdeal,contlxq.So
   a2 that435tm nsaction -                                      22 what'sthatallabout? W hy do they haveto do
   a3     M R.YOO :Letthe record reflectthat                    23 thison anniversary dates?
   a4 thew itnessispointing tonumbers9 and 10,                  a. A. Because a loan can depreciate overtim e.

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     z. LTCO.                                                    z. So they have to keep theirvalue,theirfair
     2 A.Sothat- they'  reactuallyjust              2 valueanalysiscurrent.Sotheymakethese
     3 changingamœsoncodethere9om LTCO toCMVC. 3 adjustingentries.
     4 Dlm'ngconversionW AM U bndtlwirownreasoncode 4 Q.Butaloanmightnotdeprociateover
     5 system . Chasehasourreu on code system . So               s tim e,itm ightappreciate,right?
     6 thoy'rejustdoinganontrytoohangethereason                  6   M R.YOO:Objection.
     7 codeinhow it'srecorded.                                   7 Q.lsthatcorred?
     8 Q.SotheLT standsforwhat?                                  8 A.That'scorrect.
     9 A.ThatwasaW AM u reasoncodeshowing                        9 Q.Sowhatdoyoudointhatcircumstance?
    1: theirconversion balance.                                 zo   A . n ey could do a writo up on the loan.
    11 Q.Whyam them - ifyounotice,there                         11 Q.Okay.A1lrkht.Sowhatarethese?
    Ia azv threesetsofentriesunder9-24-2009.                    :.2 Are tlwsewrite-upsorwrite-downs?
    1.3 n afsonly one loan. W hy aretherethree sets             13 A. W hich one?
    14 ofentries?                                               14 Q.1'
                                                                      m talking abouttheCAM V on6and7.
    is      A. Agaim thatgoesback to ifthey were                ls   A. Those would be write-downs.
    :.6 doinganentrypthey'
                         rejustflippingthereason                16 Q.Sotheseguysarewrite-downs.
    17 code. So it'snottnzly awrite-down.Ifs                    *7   A .Uh-huh.
    le adjustingthatlvasoncode.lnordertodothat                  18 Q.Okay.Andtlwnifwegotolines3and
    1: they have to reverse whatwasdoneon theother              :.9 4,itsaysCAM V?
    2: reason code and tlwn do an entry forthe new              an A .A gain,thafsanniversmy con% .
    21 reasoncode.                                              ai Q.Sothey'readjustingthem annually,is
    aa Q.AndthereasoncodeisLTCO?                                aa thatwhatthatmeans?
    23      A . W ell,thatwasthe old reason code,so             :3   A . n ey could be,yes.
    a4 they changed itto CM VC.                                 24 Q.Becausothesearc9-25 andtheotlwr

    v
    ,
    f
    j.
     ,
     k
     nl
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         -j-.,
             ç)
              -r
               )!j.
               j  x
                  ;k)j
                     ?z
                      v
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     l oneswere9-24-09.Okay.Anyway,arethose                    :
                                                               L this- lknow thisbyheartanyway.
     I w rite-upsorwdte-downs?                                 2               -=0=-
     3 A.Lines3and42                                           3       (DepositionExhibit14marked.)
     4 Q.Uh-huh.                                               4              -=0=-
     s A.'fhoseare- thoseapyeartobe                            s      MR.YOO:Obviously,youdon'
                                                                                             thavea
     6 w rite-downs.'Ihey aregomg - I'm sony                   6 copy form e?
     7 write-ups.                                              7     M R.KELLEY :Share,and then r11use
     8 Q.Sotheloanisappreciatinginvalue?                       8 thisthinghere,whichldon'twanttoputinto
     9   A .ltappearsthatway.                                  9 evidencebecause ifsm issiag the origin.
    10 Q.n at'squiteabit.M dthenwehave                       :.0      M R.
                                                                         .YOO:Allright.Exhibit14appears
    1.1 themysteriousline2.ltjustshowstheone                 z.i tobesometypeofaspreadsheet.It'q
    1n entry. Thisisthe actualdocumentproduction             12 identiled by filing date with tlle courton
    13 from Chase. So tlwro isno 10 and 14 in lhw 2.         a.a Stptomberl1,2012,pago 18 outof30.
    14 So I'm notsure whatthatm eans.                        14 BY M R.KELLEY :
    ls   A.Ifthiswasa745tran,thex wouldhave                  15    Q.Okay.Andthisisthelawsuitbetween
    ,.6 to bean ofsetting entry.                             16 LSI--thatthe FDIC receiverm ade againstLSI
    17 Q.Sowhy isn'titthere,1wonder?                         17 AppraisalCompanyassertingthattheloanswere
    18 A.l'm notsurewherethiscamefrom.It                     18 madegrosslynegliqent.Andonthatpageyou'
                                                                                                     ll
    :.9 wouldhavetobethere.Ifwelookedprobably                1: noticethattlw loan m question, 3018113559,is
    2: through tlw system .                                  2: there. Ifsabout11above tlle bottom .lt
    21 Q.Y0uguysmayhavetoflxthat                             21 says,Saratoga,givestheaddress,14390
    aa A . ln my xview ofthe loam 1believethat               aa DouglassLane.
    23 there wasthe oFsetbecause my balanceon 10             a3 A . Okay.
    24 and 14 and 16 were.you know .equaloffsets.            :4     M R. YOO :On thebottom ,right:/

                                                 Page66                                                      Page 68
     a   Q.That'skindofwhatlwasexpecting.                     l    Q.From thebottom,yeah.And ifyoumove
    a Then ifsawrite - so is463 - excusem e,                  a overto colum n 3, it-
    3 line2,the 463,000,isthata write-up or                   3     M R . YOO :The lossam ount?
    4 write-down?                                             4 Q.Thelossamountisstated as
    5 A.Assumingthattherew&sanofrsetofthe                     5 $436,506.26.
                                                                           ,isthatright?
    6 463,thatlookslike itw ould bea write-down.              6       M R-YOO:A llright.
    7 Q.Doyouknow how theyobtainthis                          7 Q.lnthiscasethey'reclaimingthatthis
    : write-uporwrite-down,ordotheyjusthandit                 8 isanaturalloss-
    9 to you?                                                  9      M R.. Y OO :Okay.
   ln A. ldo not.                                            a.n   Q.--thatapparentlyW %hingtonM utual
   11 Q.Sotheygiveyouthenumberandyousee                      zl inculwd priortothereceivership.Othelwise,
   1.
    2 it'sputin right'
                     ?                                       a.a the receiverwouldn'tbeableto bring this
   13 A . n ese payeesarem anage by another                  13 suit.
   14 group in accounting outside ofwhatmy group             14       M R . Y OO:Okay. Assum esfactsnotin
   ls does.                                                  ls evidence. taacksfoundation.
   16 Q.Okay.W henyouwem lookingatthese,                     16       M R.KELLEY:W ells foundationpor1'11
   17 didyoulookatanyadjudmentsmadepriorto                   17 takejudicialnotioeofthiselsewhereinthe
   18 Septem ber25,200:?                                     18 case.
   1: A. Idon'trooallspeciioally whatthe                     ls      M lt. Y OO :n isisaspreadshœ tthatw as
   an transactionswex ,butIreview ed allofthe                ao created by the FDIC , correct?
   al DDCH screen.                                           21      M R. KELLEY :By theirattom eys.
   aa Q.n ere'salittlemystery here.                          2a       M R.YOO:Right.
   aa       O kay. Iprobably need to m akea copy of          23       M R . KELLEY :Yes.
   24 this.Thisisthebestone.W hydon'twemake                  a4       M R. YOO:A gainpnotby Chase.notby

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         1 W ashington Mutual.                                          l ofthem or20ofthem?
         2          M R.KELLEY :n at'soorrect.ltwas                     2    A .No,there's-
         3 createdby tlw -                                              3 Q.99?
         4          M R.YOO :Counsel-                                   4    A .11can go thewhole spec% m .
         5          M K KELLEY:--couaselforthe                          s Q.So itcouldbeX99- tllerecouldbe99
         6 receiver.                                                    6 diFerentXs?
         7      M R.YOO :FDIC?                                          7 A. W afscorred .
         8          M R-KELLEY:Right.                                   8 Q.Andyouworkwithhow manyofthose?
         s BY M R.KELLEY :                                              9    A . ltwould be aIlofthem .
     lQ Q.Andlwaswonderingifyousaw any                              10 Q.Soonerorlater,right?
     11 referenceto thislossamountin thec .                         11       A . Y eah.
     la Incidentally,iftherewaqaloss,how would                      12 Q.Thankyoll.You answeredaquestionthat
     ,.3 thatbe reported? W ould thatbe reported                    13 M r. Sm ith couldn'tanswer.H edidn'
                                                                                                         tknow who
     14 tllrough yourgroup in any w ay?                             14 client908was.
     a.s A . No,m y group doesn' tdirectly handle                   z.s A .Good.
     16 losses.                                                     16 Q.1'm goingto alkyou this:l'venever
     17 Q.SOifa- ifalossoccurredbmsedon                             17 seenanydocumentproductionmlatingtothe
    :
    LB       tlley boughtthe loan fora m illion and tlwy sold       l.: HELOC that's inthiscase. Do you also handle
    1:       itforhalfa m illion,they take a - rœ ord a             1: H ELOCS?
    20       half-a-m illion-dollarloss,you wouldn' tseeany         2: A . Ifthey're outside oftheM SP K rvicing
    al       ofthatin yourp oup?                                    a1 system , lw ould not.
    aa A.Notmyteam diredly,no.                                      aa Q.SotheycouldbeoutsidetheMSP
    :3 Q.Youmlghtgetsomesortofthing--                               :3 servicingsystem?
    24 orderto movethingsaround orw hatever. Okay.                  a4      A. n ere are othersystem sthatservice

                                                          Fx e7n                                                    page72
         z. Okay. n at'
                      s iton thatone.                                   l FIELOC loans. yes.
         2          Weseeintlw doctmwnts- l'm just                      2 Q.Couldyouexplainwhatothersystems
      3 going to ask you som equestions- thatthe                        a m ightbe.
      4 investornumberorIDX99 appearson the loan                        4 A . lbelieve they're VLS forFoe acs,
      s kansferscv n.Actually,X02 appearson the                         s F-O-R-T-R-A-C-S.
      s Ioan t- sferscreen.Andmy questiontoyou                          6 Q. Anything else?
      v is: How m any - and itrefersto a pool, I                        7 A. JustVLS. So those are thesystem sthat
      8 think,investorpool.                                             8 are outside M SP. N otknow ing specifcally what
      9            M R.Y0O:Objection.Lacksfoundation,                   9 thisloan- ifitwouldbeonMSPorthese
    10 mssumesfactsnotin evidence.                                  z.c othersystem s.
    11 Q.How manynttmbers- Xsarethere? Have                         11 Q lwasjustcuriousastowhytheywould
                                                                              .
    la you seen an X01and X7 or13?                                  aa account- wouldn'tM SP be able to handlea
                                                                    .

    13 A. Yes,there are m ultiple.                                  13 TIELOC,oristhisjustalegacything?
   :4 Q.There'slotsoftlwm?                                          a4 A .N o,there are issuesw ith thatservicing
                                                                    .

   ls        A .U h-huh.                                           zs system thatthey can'tdo everything that's
   16 Q.Andisthere- whatarethese                                   :.6 requiredsso they use anotherservicing system .
   17 categorks?                                                   17 Idon'
                                                                    .     tknow whatthosethingsare.
   18 A.n einvestor- itcan represent                               18 Q. Sotheyneedtouseanotherservicing
   1: diflkxntkindsofthings, butallXsareChase                      z: system ?
   an owned,so they'rebank-owned loans.                            an A . Yes.
   a:
    t Q.Andthey'
               reconsistentwiththatcode                            ai Q . Okay. You also answered aquestion
   aa thatwe discussed earlier?                                    aa M r. Sm ith couldn'tanswerwith theA through B
                                                                                                                    .
   23 A .Yes.                                                      aa      Okay. W hatdoesClrefer1):? Itsays
   24 Q.So how many haveyouseen? Arethere50                        24 likeaprimeorC1       .




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     1 A.n atDfelstocreditimpaimd.                                1 andlfoundtheyhada$570,099loanandhehad
     a Q.Oh.okay.SothafgthegtuF wewere                            2 $700,000 inhis745tonsactions,and they
     3 talkingaboutearlier,ce it-impairedloans?                   3 weren'tlistedascontrw theywerejust-
     4     A . Yes.                                               4    A. lfspossible,because feescould
     s Q.Theycallthem PClloansin theannual                        s compound overtime.
     6 statement?                                                 6 Q.W e11,thatwouldbea1otof
     7     A. Yes.                                                7 compounding.Okay. So ifthey had a situation
     8     Q.So someoftheloansthatwereacquimd                     8 whereahurricanecamein and blew downthe
     : apparently wemn'tcreditimpaired.lt'snot                    9 garage and therewasno insurançe,would thatbe
    10 clear9om theannualreportwhethertheywere      10 handledasa745adjustment?
    l.:t included- youknowxtheymixedthem altogether 1.1.   M R.YOO:Objection.Improper
    *2 orwhat butl+111ktheydldnt                    12 hypoietical.lrrelevantto thesubjectmatter
    1.3        D id M r.Sm ith ask you ataIlaboutthe             13 ofthe law suitand notIikely to lead to the
    14 corporateadvanceadjusM tnts,theconka                      14 discoveryofadmissibleevidencm
    ls accounts? Doyou recallhim % king?                         Is    A .ldon'tknow how thatwould work andhow
    16      M R.
               .YOO:Objection.Vagueand                           16 itwouldberecorded.
    x't ambiguous.                                               z.v Q.1'm justlookingatthesehugeamotmts
    18         lfyou understand hisquestion,you can              18   ofm oney flow ing back and fortll. Okay.Ixt's
    19    respond.                                               19   seewhatelsewe have here.
    ac     A. Idon'tspecifk ally recallhim asking                20        Do you everwork - you don'   twork
    2:.   anything otherthsn whatthose reason codesm ean         21   dH ctly with any ofthe subsidiariesofChase,
    aa    asa CAM V,and then 1explained the contra.              ac   do you?
    :3 Q.Sohedidn'taskinmoredetail.                              23 A.No.
    24   lthinkImskedyoueadier,youdon'
                                     t                           ad Q.You'rejusttotally internal?
                                                       Bage :4                                                      Rage76

     1 dealw ith W ashington M utual,FSB Ioans?                   1    A. lnternal.
     a         M R.YOO:Askedandanswered.                          a Q.Soyou'veneverprocessedsomethingfor
     3     A . Idon'tbelieve so.                                  a W ashington M utualSecuritiesCorpomtion?
     4 Q.Yeah,probably not.                                       4 A.No.
     s   Onthese745transactions,they indicate                     s Q.W mshingtonM utualmsset'
                                                                                             ?
     6 thedirection ofthe flow ofmoney,whetherifs                 6   A .N o.
     7 vielnlorDal,right?                                         7 Q.DoyoueveruseLEZA?
     8 A.(Nods.)                                                  8 A.No.I'veneverheardofit.
     9 Q.ltcouldgoA toB orBtoA,right?                             : Q.Youdon'tneedit?
    lc     A . Yes.                                              1:   A .Huh-uh.
    11 Q.Okay.And haveyou seenalotofthese                        11 Q.n at'sanothersoftwareprogram.
    la very large745 lansactionsliketheonesyou                   12      Are you fam iliarwith GAAP.genem lly
    13 seeherewhere they'x 400,000 or546,000?                    13 accepted accounting principles?
    14 A .Yes.                                                   14 A .Yes.
    ls Q.Youhave?                                                ts Q.UnderGAAP,isitpermissibletowrito
    16     A. Yes.                                               16 up som ething aRerit'sbeen written down?
    17 Q.Okay.Andaretlwy- haveyouever                            17       M R.YOO:Objection.Callsfor
    l.a geenthem whex the- thesenumbexd                          a.a testimony--experttestimony,andcallsfor
    1.9 transactionsexceed the actualamountofthe                 19 testim ony that'scom pletely lrrelevantto the
    20 loan?                                                     ac subjectmatterofthelawsuitandnotIikelyto
    al     M R.
              .YOO:Objection.Vagueand                            az Iendtoanydiscovelyofanyadmissible
    aa am biguousaspllrased.                                     aa evidence.
    a3 A .N otthatlm call.                                       aa A . n atwould beoutside ofwhatIdo.so I
   24 Q.lwasreviewingsomeoneelse'sloanflle                       24 wouldn'tbefamiliarwiththosepoliciesor

   h/lin-t,.hicrljkt'
                    t!                  TOQREANO REN RTING AND Vm EO                                    (19)Pages73-76
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    1 procedllresllllderGAAP.                                    1 Q.Great.SOtheFFEC,Ofcourse,appeals
    a Q.Soyou'm notfamiliarwiththeGAAP?                          2 toberefeningtothatentity.Appa= tly,
    3    A. W ith thatportion ofthe GAAP.                        3 thisisl'
                                                                          atherhuge. lm ean,an institution
    4 Q.Okay.W hatpodionsoftheGAAP areyou                        4 nobody'severheard of M yunderqonding isit
    5 familiarwith?                                              5 saysbetweenthefedel'
                                                                                      alreserve,theOCQ the
    6    A .Anything thatwould berelated to                      6 FD IC,and thetreaslzly depnAm ent. So this
    7 co> rateadvanceM ording,accounts                           7 write-up refeD toareportrequiredbythe
    8 receivable,those type ofpolicies.                          a FFIEC. They do have areporting mechanism . So
    : Q.Ishouldhaveletyoureadthat.Okay.                          : wouldyoubewriting- isthatawrite-upor
   10      So ifIunderstood you corred ly,you                10 write-downthere?
   11 acm ally don'twork w ith IV LOCS?                      1i A. Based on tlle signagesh Iooksasif
   la A. Correct.                                            12 ifsa write-up.
   13 Q.Youdon'
              tworkwithivolteither?                          13 Q.Soit'sawrite-upgoingto- repoeinq
   14 Probably don'
                  tneed to?                                  14 awrite-up to the FFW C. lguessthe questlon
   ls A . No.                                                ls is,sincethey requireforeign reportingpwhat
   16 Q.DOy0uknow aboutit?                                   16 thathastodowithanything.S0almtber
   1.7 A.(Nods.)                                             *7 mystery.
   18 Q.Haveyou everlooked atit?                             a.: A.Yeah.
   a.9   A.Yes.                                              *9      Q.Okay.lsthereanygroupatChasethat
   2: Q.Okay.Arethe loan documentsdisplayod                  ae handlestlwseFFIEC write-upsorwrite-downsor
   al in color?                                              al whatever?
   aa A . ldon'trecall.                                      aa A. Itwould bethe sam egroup thatdoesthe
   23 Q.Smithg0tthat(me.Hesaidtheyare.                       23 write-downs,butldtm'
                                                                                   tknow whospecitkally
   a4 So...                                                  24 thatgroup is.

                                                   Page 78                                                      Page 80

    l       1mightaskyou,isthere- do youhave                     1 Q.SotheC150myou said itwas150days?
    2 anintemaldocumentguidelinesandprocedures,                  a   A.Uh-huh.
    3 businesspracticesforwhatyoudo,ordoyou                      3 Q.That'sanoddnumberofdays.Doyou
    4 jugtworkofl-oftheaccountmggtandardg?                       4 know anymoreaboutthatsod oftbing?
    s     MR.YOO:Objection.Vagueand                              s A.Idont
    6 ambiguousaspllrased.                                       6 Q.HaveyoueverseenC300or-
    7    A . 1f
              m notsure whatyou're asking there.              7      A. Ibelieve there'sa C360.
    8 Q.Doyouhaveabookthattheygiveyouof                          8 Q.Thatwouldbelikeannualorsomething,
    9 procedures,here'sw hatyou need to do,you can               s right?
   10 gorefertothatbook?                                     10         SoyouhaveaC1#0,C150?
   1:. A.Forsomethings,butnotall.                            11 A.Ithmkifsjustthosetwo
   1a Q.Pu ially?                                            ,.2 specilkally.
   13    A .Yeah.                                            ia         M R KELLEY :M aybewe can go oF the
                                                                            .

   :.4 Q.Now,oneotlwrthingweweretalking                      14 recordhereforasecond.
   ls about whichwedidn'tgo into inalotofdepth               is      (A discussion isheld ofl-therecord ).
   16 wasthe - thisFFIEC w rite-up thing. Itsays    16      M R . KELLEY !So willyou m ake that
   17 C 150,FFW C writo up.D o you know whatthatis? 17 representation again, M r.Yoo.
   18 A.Idon'tknow outsideofjustthe                          18         MR.
                                                                          .YOO:Sure.Oll-tlw Ivcord
   19 dtscriptionthatit'sa 150-day conka.Idon't              19 Mr.Kelley had askedthatChaseprM ucetohim a
                                                             .

   ao know w hatthe 150-day w ould indicate,from what ao FFIEC reportthatwas sentby Ch% eto som etype
   21 point.                                          21 ofgovernm entalagcncy som etim e in 2012. Itold
   22 Q.SOC150is150days?                                     2a him that1wouldlookintoitbutldidnot
   a3 A.Itdoesindicate150days,butI'm not                     aa promiseorguaranteehim thatwewouldproduce
   :4 sure 150 daysfrom whatpomt.                            24 such a reportifsuch a reportexists.

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      l          M R.KELLEY :Okay.And now you're                 l          M R.KELLEY:Thepurposeofthe
      a representing thatyou're going to look into it?           2 deposition isto determ ine the factsin the
      3      M R..YOO:I'm goingto look into it.                  3 c%e;itdoesn'tmatterifittnkesoneminute
      4 Butthat'salll'm representing to you.                     4 orfivem hmtes.
       5         M R.KELLEY:Okay.Andthatrefersto                 s      M R.YOO:Allright.So admitted by
      6 ChaseBatesnllm berdocum entJPM 002000.                   6 you.
      7     W hilewe're on tlw record with this                  7     M R.KELLEY .
                                                                                  'Okay.I'm done. Thank you
       8 stul Iwantto makenotethatnodocuments                    8 verymuch,Crystal.lappreciateit.
      9 w ere produced today. Docllm entswere requegted          9          THE W ITNESS:No problem .
     ln atthe deposition. n ey werenotproduced.                 10          M R.KELLEY :Yourresponseswere very
     1.*          M R.YOO!M s.Davisisappearing in her           1.* clear.
     la individualcapacity msan employee. She'snota             la       M R.YOO :Sheansw ered every question
     :.3 custodialrecord ofChase. She llasno                    :.3 she klww .
     14 obligation to produce any docum ents,especially         14             -=zO=
     a.s thedocdlm entthatwasrequested. n afsnotin              ls           n ereupom the testim ony ofAugustl3,
     16 herpossession. Shehmqno obligation to look              16 2014,wasconcluded at11:23 p.m .
     17 forthem .                                               av                   -c=()=-
     1: BY M R.KELLEY :                                         18
      z.s Q.Imightaskyow haveyou everrun                         a.:
     2n acrossthe initialsFNFS in thecomm entGelds              aô
     21 ofsome ofthese docum ents?                              al
     22        A . Idon'
                       trecallthatsno.                          aa
     23 Q.Youmightnotbecauseitgenemlly shows                     23
     24 up in LPS domlm ents.                                    a4

                                                      page82                                                            eaqes4
              ln connection with thepayee code 16 and             1                 Y TIPIG '
                                                                                            R
       2 14'the com m entGeld they have Cl. W hatdoes             2 STAV OF Omr     z ssz
       3 thatindicate?                                            3 œ uM OF OAM T.
                                                                                 IN :
       4          h41t.hr()():kksked andansyvered.                4    a
       5 #t.Credithnpahvd.                                        5    qn
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        lKURT M ARIN NEVER RECEIVED NOTICE O FSERVICE CO NCERNING

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                                                          V
                                             TN TRE CTRCJIT COURT OF TRE
                                             IITH JUDICIAL CIRCUIT IN AND
                                             FOR M IAMI-DADS COUNTY, FLORIDA

                                             CIVIL DIVISION

                                            CASE NO . 2007 CA 012402 02




            JpMorgan Chase Bank,
            National Asaociation,

                               Plaintiff,
                       V3.


            Ku.
              r t Marin ; et ai -w

                               Defendants.
                   .
                                             ;




                               TRAMSCRIPT OF PROCEEDINGS
                                       MOTIONS




                       Th1 above-entitied cauae came on for hearing

                before the Honorable BAARA-RA ARECES, Clrcuit Court $
                         ''
                                                                          (
               Judge, presiding at the Pa ami-Dade County Courthouse,

               73 West Flagier Street, Miami, Florida, on July 1 ,

               2015, commencing on or about 9 :15 atm .
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                                                                              2




                                       APPYAFAXCZS

             For the PlaLntiff:     EILEEN E . NAVARRO, ESQUIRE
                                    Law Offices of Eileen E. Navarro, P.A .
                                    8950 Southwest 74th Court
         4                          Suite 2201
                                    Minm cr Fiorida 33156
         5

         6   Eor the Defendants r   Pro Se
                                    KURT MARTN
         7                          MAURICE SYMONETTE
                                    CLYDE MCPHATTER
         8
        9    REPORTER r             Eisy M . lc tuve

    l0

    lZ



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Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 170 of 233




                                                * * * * *
         ej

                        (Thereupon, the following proceeasngs were had:)
        2

        3               TEE COURTZ First case is going to be --

        4               MS . NAVARRO : Numh-r one.
                        THE COURT : I don 't know what nxnmher one is - It 's

        6      JP Morgan v . Kurt Marin.

        J               TEE COURT REPORTER Z       Your Ronor , reporter.

        8              THE COURTC There 'a a reporter on this one?

        9              THE COURT REPORTER I       Yes .

    10                 THE COURT : Okay . I 'm going to need your

    ll         information pAease.

    12                 THE COUR: REPORTER: AbsoluteAy .

   13                  TSE COURT ; Thank you .

   14                  It 's JP Morgan v - Kurt Marin .

   15                 MS . NAVANKO Z Yesz your Rohor .         Eiieen Navarro on

   16         behazf of JP Morgan Chaae Bank .
                      THE COURT; I have a 2ot of people in front of mez

   18           don 't have any of their names. May I have your namep

   19         sir ?

   20.                M R - SYM ONETTE :   M auri ce Symon et te -

  21                  MR - M CPHATTER : Clyde Y cphatter -

  22                  MR - MARYN Z Kurt Marin .

  23                  THE BAILIFF : You have a court reporter e Judge, on

  24          this one.

  25                  THE COURT: I know. So just iet me get the names-
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 171 of 233
                 Kurt .tfarï.n is one of the defendanta - M d I.'m ..FoInS to

                 need the other names repeated because, unlïke t5e court
       .
           3     reporters that seem to get things that other peopie

           4
                 don 't understand, I'm a little slower -

           5          MR . SYMONETTE : l%aurice Slqaonette . M-A-U-R-I-C-E .
                      TEE COURT Z M-A-U-R-I-C-E, okay . Symonette?
           6
                      MR . SYMONETTE : Symonetter S-Y-M-O-N-E-T-T-E -

        8             THE COURT : And the gentleman next to you?

        9             MR. M CPSATTER Z Clyde M cphatter - C-L-Y-D-E .

    10                TEE COURT : Okay .
                     MR- MCPHATTER C Mcphatterz M-C-P-H-A-T-T-E-R -
    11

    12               THS COURT Z #m d we 're here on s I guess plalntiff 's

    13          motion --

   14                MS . NAVQUURO:   To ratify sale -

   15                TEE COURT : -- to ratify aale and defendant 's

   16           oblection . Actualiyz all I have is the oblection OZ
               ''Ba2G' '-Nothing ezse was suhm's'tted via e-kourtesy .

   18                MS . NAVARRO :     have a motlon --

   19                THE COURT : The only thing I received was the

   20          objection to sale.
  21                MS. NAVARRO Z I #m aorryp one of pages is --

  22                TSE CODRTZ        was just handed a copy of
  23           piaintiff 's motion to ratify flrst aale and to direct

  24           the clerk to issue the certificate of title .

  25                All rlght. And your objectlon to sale
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 172 of 233
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                                           .C :   Tb-ere was an nmended ob n'eet.
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                   before you         .
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                         TSE COURT : .
                                     T c1
                                        --1d see tn
                                                  'a'
                                                    c on the docket . So .-.
         5               MR- SYMOAE TTE : Yesz ma 'am . Judge Blake, last
         6        time we came herew promised us that we wouid get to

         7        hear our objection to sale before we went to the
        8         ratifyy and it appears as though they try to circumvent

        9         that by snhmitting a fraudulent document saying that we
       10         shouldn't get to go to the objectlon of sale because of
                  the way our objection to saie was written .
    12                 But the only problœm with that, p7e have the proof

    13           here, is that the -- what they wrote on there and what
    14           they said we wrote was not what we wrote - They

   15            actualiy changed the whoie docummnt and we got the
   16            document that 's in the clerk's office and we got the
   17            document that they submitted to the judge.
   18                 THl COURT: What docament are you referring to?
                      M R - SYM ON ETTE :         This on e here .   Can

  20                  Yes, ma 'am - Right herea XZ you read thïs here ,

  21            then you go

  22                 TEE COURTC You just handed me a copy of the
  23            amended objection to sale that's says'that JP Morgan
  24            has no standing -

  25                 MR . SYMONETTE D Yeah . But also in there -- is
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 173 of 233
                                                                                  6




            1         that the one -- ohr I 1m sorry .

         2                  THE COURTZ All right . Just so you know motion

                      calendars are five minutes total and it looks like it's
                      going to be a whiie, so you Tve got two minutes -
         5                 M R - SYM ONV TTE :   Yg& , m a lam -

                           THE COURT : Startlng now .

         7                 lfR. SUMONETTE Z Right there it explains that they

         8            did -- on there it explalns that what they did was they

        9         changed the document which is i22egal . Then khe next

    10            thing is that we 're not supposed to be to the ratify
    il            until after we at leaat get a chance to ask the Judge

    12            to reconsider if she goes agaïnst us, objectlon to
    13            aaler accordlng to the Fiorlda Rulea of Procedure . But

    14           they fre doing the ratify right now when we #re supposed

    15           to just be on tàe objection, like you said. That 's
   16            what supposed to be before the Court, an oblection to
   17            saie '
                      *d

   18                    THE COURT: lm at's the basis for the oblection to
   19           sale?

   20                    KR . SYMONETTE Z    The basis &s. in Brevard county --

   21           we just got a -- we got -- you know, here they obtained
  22            Uhls note'through operatlon of law . #m d in the State

  23            o.f   *he Michigan, the Supreme Court said that you can't
  24            obtain the note througla operation of law, only the FDIC

  25            can do that. And, Brevard Comntyz in Florida. Just
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                      saïd the pxact same thing . And, in factz JP Morgan

            9         said -- and we got it in writing here -- and a'
                                                                    ccording

            3         to the Judge 's order, that JP Morgan admf
                                                               'ts that they

         4            cannot Obtain the not from operation -- I meanz through

         5            a foreciosure through operation of Iaw -

         6                 In other words, the FDIC is the only one that can

         7            come in through operation of 2aw and take over

        8         Washington Mutuals and then iet -- and then as if
                  .




        9         they ere Washlngton Mutuaz . But JP Mozgan has to go

       10        through the whole thing of getting -- giving it to them

       11        in writingp and they have to go and put it into the

    12           Clerk of the Court LE khey bought the note from the

    13           FDIC . But they 're actàng aa if they are the FDIC and
    14           they#re just going right to foreclosures wlthout golng
    15           through the procedures of the Court that said you must

   16            get the deeds put it into the Clerk of the Courtsr &nd
   17            then you fiie foreclosure -
   18                    TEE COURT: Okay, good -

   19                    Response?

   20                    I/S . NA    r   Yesz your Honor .

   21                    THE COURT : Two minutea.
  22                    M3. NAVAaRO; This is a 2007 case. Flnal judgment
  23            was entered July of 2009 at a summary judgpent hearing-
  24            The basis for the objection ls stmnding, that vas
  25            reaolved at snmmary judgment- This is an extremely old
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 175 of 233
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               l       case, your Honor .
               7            They filed an appeal regarding a motion to quash,
            3          the Third DCA affirmed the trâal court 's orders. All

                       of the orders that were appealed, Just Aast month they
           5          were affirmed- There's no basisr thoy're not 'objocting
           6          to any -- to ahything concerning the actual sale which
           7          As th* oniy baaia that they wouid have for the

                      objection. Their soie objection ia standing.
        9                  MR. SYMONETTE : No, it 's not .
       10                  THf COURTJ Okay. Oblection 'a overruied and
                     denled at this point --
      12                  M R . JYM ONETTE :   Can I   can I

      13                  THE COURT : -- as untimely --
      14                  MR . SYHONETTE Z Can I respond to that?   Becauae lfe
      15            -- we responded . We asked them for the note all.



   16               throughout the tlmee they never gave us a chance -    And
   17               then when they held the papers in the Jkdge 's office

  18                for the last time, that 's why we had the Supreme Court
  19                on the other thlngs to newly found evldence .
  20                     So what I 'm saylng is that we objected and have
  21               been objecting- The peopie that deiayed the case is
  22               them . I have the proof here that every time we went to
 23                court they didn't show up twicer and then we asked the
 24                Judge that they ahouzd be dism issed because they didn 't
 QS                ahow up two times . lm d they 're the ones that made the
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 176 of 233
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             l       case delayed, and now they here claa
                                                        em4
                                                          'ng that we are
            2        the ones that delayed the case and now it's untimely.

            3       But we was askLng for it at the time . As long as you
            4       ask for it with- -- before a year was out -- we ask for
                                                              .



            5       it before a year was out - We have the proof right
            6      here z

                            What I wouid iike for the Judge tö dp is to glve
         8         time to read our objection. This one here so that you
         9         - -
                         before you overruze ït. and look at lt flrst, and

       10          let us come back to the court and look at it because --
       lJ-                 THE COURT : I did zook at

       12                 MR . SYMONETTE : You didn lt look at this one here .

    13                    THE COURT Z Yes, I did-    She asked me &f I saw ite
    14            and I sald, yes, I saw it on the docket, and I did read
    15                    Attached to it ia the document having to do wâth

    16            the operation of law --
   17                     MR. SYMONETTE : No, not the operation --

   18                     THE COURT Z -- it 's the third -- it 'a the third
   19            document

   20                    MR . SYMONETTE : I 'm not talklng about the '
   21            operation of law --
  22                     THE COURT Z -- attached to that .
  23                     I 'm saying I read itr I reviewed 1t .   At this
  24             point it's all untimely. The basis for the objection
  25
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                                                                              10




            1            MR. SXY OW TTE : Okay .

            2            THE COURT: -- ïs not legally sufficient --

            3            MR. SYMONETTE : Before we go through it --
            1            THE COURT : -- and I 'm sorry --

                        MR- SYMONETTE Z     -- we wouid azso --

         6              TEE COURT : Sir

         7              MR . SYMONETTE : -- golng to be in bankruptcy .
         8              TRV COURT : Sir
        9               MR. SYMONETTEZ We just -- we filed bankruptcyr
       10         and we put it in the court yesterday so you shouid have
       11         seen it . And we don 't want thi.s case to go --
    12                 THE COURT Z Okay - That was not on the docket so

    13
    14                 MR- SH /ONETTE C Okay . Thatz we already fiied
   IS            bankruptcy so we want Kqis case atopped because we have

   16            to go before the bnnkruptcy judge
                      MS . NAVARRO Z Your Hbnor --
   18                 M R . SYMONETTE ;   -- because a11 this is illegai .
  19                 Fm - NAVARROJ    -- my firm obtained rellef from stay
  20            in a 2012 bankruptcy to proceed with thia foreciosure -

  21            I don 't know that dom = ent --
  22                 MR. SYMONETTS; We just flled that barkruptcy-
  73                 MS - NAFARKO : -- hm has bgfore you .    But there has
  74            beln muitlpie bankruptcv
                                       - filings on this caae .
 25                 MR - SYMONETTE Z Two .
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                                                                             11




                       Ms. NAvARRo z Like I aaids it 's a 2007 case, final

          2      judqment entered in 2009, your Honorr and it's --
                       THE COURT:        mnderstand but they just handed me a
          4      document that appears to reflect that they fiied

         5       bdnkruptcy --
         6            M S . NAvAn Ro z   W ho is the d ebt or ?

         7            THE COURT : -- in Fort Lauderdale.

         8            I#m checklng. It's Ciyde Mcphatter .
                      MS. NAVXKK. z Your Honorz that is a non-party .

        10      That bankruptcy does not affect this foreclosure --

     11               KR. SYMONETTE : No, Judge Blake gave him the right

     12         to be ln thls -- ln this case .

     13              THE COURT: Clyde Mcphatter is a defendant?

    14               l%S . NAVARROI No, he ls not

    15               TSE COURT Z He 's not a defendant .

    16               MS . NAVARRO : He rs not . That does not affect this
               foreclosure .

    18              THE COURT ; Okay -

    19              MS . NAV-AARO: He 'a a nonparty .

    20              MR . SYMONETTE : He is          he 's a party 'cause Judge

              Bzake ordered that hi be a part of this case --

   22               MA . NAVARRO : M-Dm .

   23               MR. SYMONETTE : -- and that 's how even I got on

   24         herer Judge --

   25              TFœ COURTD     Is he not a defendant --
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                                                                                72




                          Ms . NAVANRO : No .

           2              THE COURT: -- is he not on the final judgment?
         3                MR. SYMONETTE : He 's on that piece of paper right

         4        there -
                          MS. NAVARRO : He 's not -- he 's not a defendant in

        O         this case, your Honor . I have specific instruction

                 from my office that Czyde Meph.atter is a nonparty - He

        8        filed --

       9                 MR- SYMONETTE : He's the one that --

      10                 MS . NAVARRO : -- for bankn xptcy
                         KR. SYMONETTE I    -- owns the house --
    12                   MS. NAVARAO : -- back in 2010 and the sale was

                incorrectiy canceled becauae he 's a nonparty - He
   14           became an owner to the property post complaint --
   15                   MR. SYMONETTE : And then Judge Biake gave us the

   16           right to be on the case and told me because we

                        TsE COURT Z Dïd he allow him to intervene?

  18                    MR . SYHDNRTTE Z   Yes, he did -
  19                   MA . NAVARRO :   Your Honor, T don 't have -- I dön 't

  20           have that --

  21                   > . syMoNzèTzz Two judges dld.
  22                   Ms- NAvAàaoz z don 't see it on the docket as
  23           aliowing him to interveme . I am goihg to check right
 24            nOW .

 25                    MR . SYMONETTE : We did an emergency hearing where
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 180 of 233
                                                                            13




                  the judge.allowed Clyde Mcphatter to lntervene and do a
                  thing that JP Morgan tricked us on again saying that we
            2
                  eere ail&ked to go in and modify the loanr and then at
            3

            4     the last minute they didn 't let it happen .

           5
                       THE COVRT:       when was he allowed to intervene?
                       MR . SYMONETTE Z At the last hearing, and the
           6
                 hearing before that where the Judge -- I got lt rlght

           8     here on the docket, where they -- where they allowed

           9     him to do à modificatlon .

       10             M s. NAV/G ROZ        Your Honorr there is no motion to

       11        intervene on the docket.

       12             M R . SYM ONE TTE Z    L knovz --

       13             HS - NAVARRO Z And my office is certainly not in

       14        possession of an order ailowing him to intervene .

      15         There wouid be no basis for an intervention .

      16              TEE COURT :       know - But sometimes .it 's aliowed

      17        mis'takeniy

      18             M5 . NAVZ=
                              RROZ     Okay -

      19             THE COURT :            so I'm checking -   don 't see one

      20        either .

      21             MR . SYMONETTE : At every hearlng the Judge haa
  '
      22        alloeed u'
                         s to come in and defend ourselves and

      23             THE COURT Z Okay - T 'm sorrs'r chià does not stay ,

      24        so my ruling stands- The objection is denied, and

/as             motion to ratify on this issue final .
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                                                                             14




                      Ms -+NA*-ARR0 : Thmnk you, your Honor -

                      MR. SYMONETTE': Thank you, ma'am .
          2
                       (Thereupon, other proceedings were held, after
                which the followlng proceedings contipued as fozlowsz)
         4
                      MR- SYMONETTE : Oh I got one other thing --
         5
                      THE COURT : No, I?m sorry --

                      THE BAILIFF : We lre done .
                      THE COURT : -- we 're beyond the five minutea -
         8
         9      There es a lot of hearings --
                     MR . '
                          A M HAT,L : We did a bankruptcy last time too
     10

     1i        with Maok Welxs.

     IQ               (Thereupon, the proceedings were concluded at

     13         9:33 a .m .)

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Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 182 of 233
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                                      COURT CERTIFICATE

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                                M . Aituve, Court Reporter and Notary
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                 Public for the Dtete of Fldtida at Large, certlfy that
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                   was authorlzed vto and did stenographically report the
      9
                 roregoing proceedinga and that the tranacript is a true
     10
                 and compiete record of my stenographic notes -

     12               DATED .this 9th day of Juzy 2015 -

     13

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              IN THE GIRGUIT CO QIRT O F THE ELEVENTH JUDICIA L CIRCUIT
                      IN AND FOR M IAMI-DADE COUNW ,F=ORIDA
       JP M O RGAN CHASE BANK,                    GIRCUIT CIVIL DIVISIO N

                     Plaint',                     CACE NO. 07-12402 CA (23)
       VS.                                           '

       KURT MARIN,etal                                                                                                  .. ''
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              THIS CAUSE cam e on to be heard on the Coud's own M otion forRecusal,
       and in orderto avoid the app:arance ofim propri
                                                     ety,itis hereby:

              ORDERED AND ADJUDGED thatthe undersigned YircuitCourtJudge
       hereby recuses herselffrom ïbrtherconsideration ofthis case.

              IT IS FURTHE: ORI)ERED AND ADJUDGED thatthis cause shallbe
       reassigned to anothœ sectibn of this Coud in accordance with established
       procedure.

              DONE AND ORDERED in M iam i-Dade Couhty.Florida this S
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                                                                                                            & day of
       February,2016.

                                                  B     A ARECES
                                                  CircuitCourtJudge


       Copies furnished to:
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     enanl also mustbe perlitted to stay in the residence untilthe end oftheirIeases,
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Expanded Procedu* s- protecting Tenants at
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         Life Tnplrnnce Co.v. Chadwick
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                                 (1990),.Pnrnellv.TnmlranceCo.-263N.C.445,448-49,139 S.E.2d
                                 723,725 (1965).:>See:KanePlazaasupraaatparagraph 28,etc.
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                                 may be negodated by delivery onlï upon lndorsement on the
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         repeatedly ignored my attempts to esublish that PlaintiF Bank is the bona fde
         holderin due course,the realparty in iaterest,and/ortlle trueycorrectand lawful
         holderofbenefcialinterestin the subjectnotesuG cienlto maintain artaction in
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         sim ply because Plsintif B mnk does aot possess the N ote for th: follow ing sim ple
         reason thatPlaintiff bank does rtothave an ownership orbenefcialinterestin the
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                   peuinentpart...
                            -'(a)motioa to dismissa complahtpursuant'to Rule 12@)(0
                             Tor R llure to xate a claim upon w h ch relief m ay be granted
                            œchallenges the leg? sue ciency of the pleading. n ne Plaza
                             Associates v. Chadwick 126 N.C. App. 661, 486 S.E.M 465
                            (199D .Dismigsz iswalrantedLt41)whenthefaceofthecomple t
                            revealsthntno 1&w mppoztsplnlntix s')claim;(2)whentheface
                            ofthe complaint reveals thnt some fact essentii to plainlio s'q
                            claim ismissing;or(3)when somefactdlsclosed inthecomplaint
                            defeatsplaintic s'lclnim.'*Peterl'n v.Coblmbus CeuatvBd.Of
                            Educ.. 126 N.C.App.826, 828, 486 S.E.2d 733. 735 (1997)
                            (emphntisomitted).Innzllngona'Rllle12(1946)motionto clismiss,
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                                 6a1 courtregards a11 fantllalG egadons ofthe comple t as
                            % e.KanePlazm l26N.C.App.At564,486 S.E.2d at467.

      7. Furler,inBarclavsBnnkPLC v.Johngom 499 S.
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                            455,467 (199X;N.C.Gen.Stat.j 1-57)N.C.R-Civ.P.17(a).''
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      8. And inyMusselwhitev.McNeil!-l54 N.C.APP.742,572 S.E.2d 874 (N.C.APP.
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                   and W alken and BarklavsBaX supl'w thal*t...1heparty seeking to enforce lhe
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        which AK RS wasthv moving party i.n a foreclosure actioovthe oo< on its own
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        casein thePinellasCounœ FloridaCircuitCcurtofJudgeW altLogmr.
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                    thetimeComplaint/orM ortgageForeclosureisEled.Theconcept
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                                 IN AN D FO R M IA M I-DA D E C O UN TY .F1.O R1I7A
                                                    CIVIL DIVISION

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         JpNlorgan ChaseBank,NxionalAssociation                                                                     =
                         Plaintiffm                              CIISe#:2007 CA 012402 02                           7%    'rJ
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                 ORDER RATIFYING CLERK 'S SALE AND DIRECTING ISSUANCE O-F
          CERTIFICATE OF TITLE AND IIENYING PEFENDANT'SW JK TI-
                                                              RN-TO SAI'E
                 THIS CAUSE havingcmneonto beheard uponPlaintiffsMotionloRaîify Clcrk'sSale
         and DireclIssuanccofCertitlcate ofTitle,and the Courtbeing fully advised in lheprcm ises.it



                 ORDERED AND ADJUDGED :
           l. Defcndant's,KurtMarinvObjectiontoSaleisdeaitd.
                 Thatthe foreclosurc sale held Febnmry l3.2014 iscontirmed and ratified-
           3. ThaltheClerk slmllissue theCerliticatcofTitle inJphlorganChase Bnnk,National

                 *Association forthwith.
                 DONE AND O RDER ED in Open CourlatM IAM I.M inm i-Dade County,Floridatàis
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                                                                    Barbara Areces
                                                                  CircuitCoud Judge
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         KuM Nfarin.c?o Nashid Sabir,Esqs18350 NW 2 Ave,Sle500.M iam i-FL 33169
         GzorgeL.Garcia,Sr.,520 WostAvenue (a
                                            .nh-werfiled),Apartment#1601G.M inmiBeach,FL
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           4l7t)
         Jefrrey l.evitin,AsTrustee,STANLEY DALE KLETT,JR:RUTHERFORD M UI,HALL.P.A.,
         3399 PGA BOULEVARD,SUITE 240.PALM BEACH GARDENS.FL 33410

         Sim a Isadad,11900 Bisçapw Blvd..Suite 809.N orth M iam iBeach.FL 3318l
         W exlbrd High Yield DebtFund 1.I-LC,333 %%'W ackerDr,Ste l600,Chicago.IL 60606

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          7N 792CIRCUITO URTOFD EELM NTHJUDICIALCIRCUITOFFLORIDA
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                OY EU ION TO SALEAND DEM AND FOR EVIDENTIARY HEARING

                              AND BYTRIALAND INSPEW ION



    Comesnow Maurlœ symonetteand KurtMarln byspecialappearanceandA testhefollowingin
    SupporeofthisopposM on to sale and transferoftitle.

1. Theplaintf isnotthetrueholderorowneroftheoriginalblueinkpromissow noteormoe                  and
   therefoœ havero rlghttoconduu thesubjed foreclosure     .



2. n eplaintf hasmlsœp-- nte thetrueessenceandnatureofthis'Ioantranx dlo' the original .


   PY m lssory Note lsand ..- o e onlyassetused to ;nd athe alleged Ioan. The plalnx falled to disclose
   ThlsG befoœ duringandaferthesubjed ''Ioan''closlnp andcontinuestoconsealthlsQ G w ento
   This day.

3. lthede ndantH esthatthefaœ containedhere areV ez corred ,œ mplete,:nd notmentto
 * M lsleadzto th: Y e ofëy know ledge Iam settlerz being alsothegrae rforl :credkAssodatedwith
  l eab- allegedNoanemadetotheinducedpao .                                     .
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 218 of 233




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                  onorabout07/14/2006,settler,posingasGrantor,beingalsoinfactthefirst
                  (fjactualIenderforvalue inthetransitionstofollow,wasfraudulentlyinduced
                  Byfailure orfulldisclosure byalleged Ienderto sign instrumentsextending a
                  Loanofcredit.

            5. The m isrepresentation involved does notm islead one asîo the paperhe signs
            butratherm isleadsas to thetrue facts ofa situation'. and the false im pression it
            causesisa basisofadecision to signorrenderajudglnent See .
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            608,610.Itrtndersanagreelnentsmidable.See174N .E.7d304.302..'iBarron's
            legalGuides)

           6.In lightofthesefacts- lconcludethattllePlaintilsandthedefendznts
            exchanged reciprocalcreditsinvolving money ofaccountand notmoney ofexch
                                                                                    ange:no
            lawfulmoney wasorprobably everwould bedisbursed by eithersidein the covered
            trnnqaclions.


                  7 Itisa facttNatundersigned knowsofno promissory notesigned by uridersignzd
                                                                                            '.and ncn
                    alteredestillinthepossession ofthe PlaintiE


            8. itisa factthatundersigned know sofno com pany thatwasthe sotlrce ofthe cl-eli:


                      A llegedly Ioaned to undel-signed.   '




            9 Itisafactthatundersigned knowsofno way thatpasent
                                                                   ercan collectfrom undersigned
             Whenpresentercmm otproducetheaforementionedpromi
                                                                  ssory Dote-source offunds
             otherthan thoseofthedefendant, and thereforehasno aulhority tocolleclany
             additionalfundsfwm undersigned.


             10.One instrum entofwhich was a prom issory note/obli
                                                                       gation promising to pay buî
                    notto repay.the otherinstrum ent.
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 219 of 233



    1l.The Prom itsory Note and CreditApplication m ay have nam ed Secondary Lender
       tbereinasabeneficiarydejure,butfailedtodiscloseand nameequallyofthe
        PrimaryLender(defendantnamehere)asabeneficiarydejure.withaIIreleu nt
       equalrightspreselved thereby,eventhough Prim ary Lenderwasa benefidaryin
       fad ,ora bene ciaryipso fad o.

    12.Through acourse ofdiscoverythereafter,Settlordeterm ined thatthere had been a
       num berofbreachesofgood faith by b0th PrimaryBorrowerand secondary
       tenderandachanglngorreversingoftheCostand Riskoftheoriginal
       Prom lssoœ Note and CredltAppllcation which required thatthe Prom issory Note
       and CreditAppllo tlon instrumentsbecalled fonvard forearlysettlement.
    13.M a partofSettlor'sdiscovew itwasfurtherdeterm ined thatthe tnstruments
      stated thatthe Trustoralso assigned interesttothe goods,services, orfundsto the
      criginalnam ed fiduciaw/trustee above,w ho githêrthe sam e orelse asasubstitute
      sduciaw/trusteeisadingasagentfortheSettlor#ortbepurposeofsettlingand/or
      dlscharglng the loan.

  14Setlcr,byitspowertodoso;andhavingauthorityoverFiduciary/Trusteeas
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    . rïm ary Lenderand as: co-beneficiaryto the Secondaw Loan,now m ovesto call
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    ionvard to cure and to setasidesuch breaches,and to Set0ffand to settle such
    obllo tlonsasrem ain on the partofSeccnda-/Bcrrokverand asAlleged
    Borrowerforthe purpose ofdischarg3 .nga ,
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    the furtherobll
                  ga'ionsofthe originalinstrum ents.tnerelo.

   15.W HEREFORE,Defendantdemandsa hearing to remedy said breacheseaused by
     Primary Borrowerand Secondary Lender.Settlorshallcom m ence three daysfrom
     the datethisDem anded CourtHearlng hasbeen scheduled and Notice isreceived
    by Prim ary Borrowerand SecondaryLender,proceed to file and record a new
    Prom issow Note in accordance to the agreem ents.im plied and in fad? contained
    therein andto providesuchnew PromissoryNotetoPrimaryBorm werand
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 220 of 233




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                       new PromissoryNotealsocured:


            !6.O rderthe Plaintiffto do orcause to bedonealIthingsnecessaiy 1,'cL.t'
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            breachesreferred to above atwhich time Setllorshallhavethe i'i
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            'cure- bywayofcommer
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             lK DefendantKurtMarinswaswithoutan attorneywllen defaultwa granted.

             l9.Defendnntwasnotservednoiceandwaswithoutknowle geofthatsaid request

              and theordergranting default

              20.Defende twu adingtemporaryinprly-x onw ithdrawlofcousel

             2l.th* tlleR aR issuesofthelaw t1:1 havenotbœ nM olve .

             22.* 1 thereisabonaGH causeofe onownee ip.

             23.1111 thecourtissue asaleofthepropertywithoutplaintiœ sansweringobjedions

                thatweR presented bytheDefendantqandthequalife w ritten requestfordisclosum

                inRrxmnhnctwi1 thtre e-
                                      qtxteSettltmentAct
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 221 of 233




                   24. lmdertheShidofthe 14'âAmendmenttothee$'#..q.itiswellsettledIaw th.

                      A p> seG fendantsts)motionshouldbetreatedIiberallyandnotdeM tedbuy

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                        ousobjedonwhereissueoflaw maychangetheoutcome.
                   25.n ePlaintiœ pleadsDefendant'sNULTIEL isi> levantbeo useaDefendant

              /'      HsR faile to appearshowevertheirpleadoesnotreach farenough to grantdefault
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                      Forsaleortoredquesttostikedeftndlne demandundtrtheIaw ofproofof

                      Ownership,

                   26.t111 tiltR ingofdefaulte chedthepIainti1 2.5million withoutaclearshowing

                       Alld prO fofownership.

                    27.the O urtinadvertently gave plaintie the licenseto stealwithoutplaintiffshowing its

                        Hnndsoverthedefendantqobjetiontosellthepropertywhichmotionthatwasnever
                        He>M .

                    2:.therefom,Qle œ ultshould s<y the saleand vacate default,untilsuch time asthefacts

                        fNnbep- -nte ,asitshouldbeknownbyboth plaintiFand Defendants.Andforone

                        of*epe estfoaverbtsilect.

                     wherefore,theDefendantKurtM arin.rm uesthiscourttoallow hisdemandupon

                     Plaintie tobehemwl,thecourtstaythesale,vacatethedefaultandsd adateto resolve

                     n ecloudedmcordassoonascanbeheard.

                     Fortheseandsuchoierfue erreliefaqthecourtmaydeem justandfairandproper.


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                     misleadinp andbœsedonthelaw andmyownfirst-handknowledgeoAhefactsinthis
                     matter.and doneunder111yowntlnlimitedcommercialliabilis'.(AsI am notlearned in
                     theIaw.corredionsofanyerrors.andcurativeinstructionishereby requested.,    '
Case 1:18-cv-20539-KMW Document 1 Entered on FLSD Docket 02/12/2018 Page 222 of 233




               Notice to agentisnotiee'to principal.Notice to principal,is notice to agent.



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           1- KurtMari

           ATrueandcorrectcopyoftheabôveandfbregoingobjection tosaleanïl
           Transfer oftitle bycertifiedmail.returamailrectiptrequestedto:wASHINGTON
           MUTUAL BANK /2210ENTERPRISE DRIVE FLORENCE.SC 2950ldocopsjlIS
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